Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further1 of 377. PageID #: 222173
                                                      Confidentiality      Review

     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION,                 )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
     7
     8                             __ __ __
     9                       Friday, April 26, 2019
                                   __ __ __
    10
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    11                  CONFIDENTIALITY REVIEW
                               __ __ __
    12
    13
    14
    15            Videotaped Deposition of DAVID S.
            EGILMAN, M.D., MPH, held at the Providence
    16      Marriott Downtown, 1 Orms Street, Providence,
            Rhode Island, commencing at 9:08 a.m., on the
    17      above date, before Debra A. Dibble, Certified
            Court Reporter, Registered Diplomate
    18      Reporter, Certified Realtime Captioner,
            Certified Realtime Reporter and Notary
    19      Public.
    20
                                     __ __ __
    21
    22
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   Golkow Litigation Services                                          Page 458
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further2 of 377. PageID #: 222174
                                                      Confidentiality      Review

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   Golkow Litigation Services                                          Page 459
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further3 of 377. PageID #: 222175
                                                      Confidentiality      Review

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   Golkow Litigation Services                                          Page 460
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further4 of 377. PageID #: 222176
                                                      Confidentiality      Review

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   Golkow Litigation Services                                          Page 461
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further5 of 377. PageID #: 222177
                                                      Confidentiality      Review

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   Golkow Litigation Services                                          Page 462
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further6 of 377. PageID #: 222178
                                                      Confidentiality      Review

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   Golkow Litigation Services                                          Page 463
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further7 of 377. PageID #: 222179
                                                      Confidentiality      Review

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    21                        __ __ __ __ __ __
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   Golkow Litigation Services                                          Page 464
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further8 of 377. PageID #: 222180
                                                      Confidentiality      Review

     1                      I        N D E X
     2      DAVID S. EGILMAN,        M.D., MPH                          PAGE
     3         EXAMINATION BY        MS. NEWMARK                        544
               EXAMINATION BY        MS. LUCAS                          608
     4         EXAMINATION BY        MS. NAKAMURA                       641
               EXAMINATION BY        MR. ERCOLE                         660
     5         EXAMINATION BY        MS. WELCH                          696
               EXAMINATION BY        MR. SWANSON                        710
     6         EXAMINATION BY        MR. HYNES                          753
               EXAMINATION BY        MS. MCENROE                        774
     7         EXAMINATION BY        MS. FUMERTON                       785
               EXAMINATION BY        MR. PODOLL                         796
     8         EXAMINATION BY        MS. FINGER                         811
               EXAMINATION BY        MS. SAULINO                        812
     9
    10                           E X H I B I T S
    11       No.                       Description                      Page




             Egilman 33       OTHER/OxyContin Tablets NDA               563
    16                        #20-553,
                              PDD1501603661-1501603669




    23
    24

   Golkow Litigation Services                                          Page 465
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1977-2 Filed:
                               Subject   to 07/24/19
                                             Further9 of 377. PageID #: 222181
                                                      Confidentiality      Review

     1       Egilman 35       FDA and Opioids: What's a                 607
                              Regulator to Do? Pain Care
     2                        Forum. Douglas C.
                              Throckmorton, MD
     3                        PowerPoint,
                              ENDO-Opioid_MDL-02791998
     4
             Egilman 36       Opinion-Around 1997,                      627
     5                        "Venture" members
                              Ortho-McNeil (Johnson &
     6                        Johnson) and Purdue began
                              co-promoting Ultram SR,
     7                        intended for the use of
                              more moderate pain
     8
             Egilman 37       Non-Malignant Pain                        630
     9                        Consensus Guidelines,
                              PKY181320029- 181320030




             Egilman 39       Exhibit B.77, David S.                    633
    13                        Egilman Report Opiate
                              Litigation
    14
             Egilman 40       Exhibit B.136, David S.                   652
    15                        Egilman Report Opiate
                              Litigation
    16
             Egilman 41       Opinion-ENDO was either too               654
    17                        cheap to add its opioid
                              labels to the 2014 PDR or
    18                        completely irresponsible
                              for this failure to warn
    19                        doctors of any data
                              concerning these dangerous
    20                        drugs
    21      Egilman 42        B1, B49, B50, B94, B310,                  669
                              B398, and B454
    22
            Egilman 43        B.6 Redweld                               697
    23
            Egilman 44        B.123 Redweld                             697
    24      Egilman 45        Tab 22, Exhibit 385                       697

   Golkow Litigation Services                                          Page 466
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 10 Confidentiality
                                                         of 377. PageID #: 222182
                                                                              Review

      1       Egilman 46        B.426 Redweld                              697
      2       Egilman 47        B.444 Redweld                              697
      3       Egilman 48        B.480 Redweld                              697
      4       Egilman 49        February 2010 e-mail chain.                698
                                Subj: RE: Call this
      5                         Afternoon with attachments,
                                Acquired_
      6                         Actavis_00367447-367452
                                plus 3 more pages
      7
              Egilman 50        B.487                                      777
      8
              Egilman 51        Opinion-Walmart helped                     789
      9                         Actavis Market Opioids
     10       Egilman 52        Opinion-Ohio Medicaid                      810
                                depended on the PBMs for
     11                         formulary drug
                                selection/handwritten
     12                         notations "had its own
                                committee"
     13
     14                          __ __ __ __ __ __
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   Golkow Litigation Services                                             Page 467
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 11 Confidentiality
                                                         of 377. PageID #: 222183
                                                                              Review

      1                                PROCEEDINGS
      2                         (April 26, 2019 at 9:08 a.m.)
      3                         THE VIDEOGRAPHER:          Good
      4              morning.       We are back on the record.
      5              Today's date is April 26, 2019, and
      6              the time is 9:08 a.m.
      7                         This is the continuation of the
      8              deposition of Dr. David Egilman.
      9              Counsel will be noted on the
     10              stenographic record.
     11                         Sir, I want to remind you you
     12              are still under oath.
     13                         Counsel, please proceed.
     14                   DAVID S. EGILMAN, M.D., MPH,
     15      having been previously duly sworn, was
     16      examined and testified as follows:
     17                         DIRECT EXAMINATION
     18      BY MR. BLANK:
     19              Q.         Good morning, Dr. Egilman.              I
     20      am Tim Blank with the law firm of Dechert.
     21      You recognize that you're still under oath.
     22      Yes?
     23              A.         Yes.
     24              Q.         Dr. Egilman, do you purport to

   Golkow Litigation Services                                               Page 468
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 12 Confidentiality
                                                         of 377. PageID #: 222184
                                                                              Review

      1      be an expert on compliance with suspicious
      2      order monitoring?
      3              A.         By the definition of expert
      4      that I gave yesterday?            Yes.
      5              Q.         By any other definition?
      6              A.         Give me another definition.
      7              Q.         So by your definition, you
      8      purport to be an expert in suspicious order
      9      monitoring?
     10              A.         By the definition that I gave
     11      yesterday, I'm an expert in suspicious order
     12      monitoring.        I'm not an expert in all aspects
     13      of suspicious order monitoring, but I'm
     14      familiar with any aspects of suspicious order
     15      monitoring.
     16              Q.         Are you familiar with any
     17      regulations that govern the obligations with
     18      respect to suspicious order monitoring?
     19              A.         The Controlled Substances Act
     20      and --
     21              Q.         Which section of the Controlled
     22      Substances Act?
     23              A.         I don't recall.         The Marino
     24      bill which modified the DEA's ability to

   Golkow Litigation Services                                             Page 469
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 13 Confidentiality
                                                         of 377. PageID #: 222185
                                                                              Review

      1      enforce suspicious order monitoring
      2      violations.
      3                         So I'm familiar with some of
      4      the enforcement actions with respect to
      5      suspicious order monitoring.
      6              Q.         And in your expert report, you
      7      criticize the performance of various
      8      defendants, manufacturers, distributors,
      9      others, with respect to their compliance with
     10      suspicious monitoring obligations --
     11      suspicious order monitoring obligations; is
     12      that right?
     13              A.         Yes.
     14              Q.         What is the regulation that
     15      governs suspicious order monitoring?
     16              A.         Do you mean under the
     17      Controlled Substances Act?
     18              Q.         In the Code of federal
     19      regulations.
     20              A.         I don't know the number.
     21              Q.         And do you consider yourself a
     22      Drug Enforcement Agency expert?
     23              A.         I know more than the layman
     24      about that.        I know a lot about the DEA's

   Golkow Litigation Services                                             Page 470
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 14 Confidentiality
                                                         of 377. PageID #: 222186
                                                                              Review

      1      actions or inactions in the -- with respect
      2      to the defendants in this case.
      3              Q.         Do you have any experience with
      4      respect to DEA law enforcement?
      5                         THE WITNESS:        Do you have
      6              the -- my LiveNote.
      7                         (Discussion off the record.)
      8              A.         Do you mean personal
      9      experience?
     10              Q.         Yes.
     11              A.         No.
     12              Q.         Do you know how the DEA applies
     13      its regulations concerning suspicious order
     14      monitoring?
     15              A.         I'm familiar with examples
     16      in -- that I've read in its relation to the
     17      companies involved in this case.
     18              Q.         Do you know what data inputs
     19      the DEA looks at and considers in applying
     20      the SOMs, suspicious order monitoring
     21      regulations?
     22              A.         Some of them.        They use the
     23      ARCOS database to look at sales and
     24      distribution.        They also control the amount

   Golkow Litigation Services                                             Page 471
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 15 Confidentiality
                                                         of 377. PageID #: 222187
                                                                              Review

      1      of basic raw materials that can come into the
      2      country.      Control the amount of sales which
      3      relates to eventually downstream, the number
      4      of narcotics that can be suspiciously
      5      ordered.
      6                         The -- so yes.         I can just say
      7      yes.
      8              Q.         How does the DEA assess the
      9      data inputs to determine whether an order is
     10      suspicious or not?
     11              A.         I think that's changed over
     12      time.
     13              Q.         How do they do it?
     14              A.         Well, they do it a variety of
     15      ways.     One way is they rely on reports from
     16      companies about suspicious order monitoring.
     17      Another is they can look at the database that
     18      they have of orders over time and location.
     19                         They also get reports from the
     20      field from a variety of law enforcement
     21      agencies, press reports, which then can
     22      trigger investigations about suspicious order
     23      monitoring.
     24              Q.         Are you aware of any -- any

   Golkow Litigation Services                                             Page 472
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 16 Confidentiality
                                                         of 377. PageID #: 222188
                                                                              Review

      1      calculations that the DEA performs to
      2      determine whether an order is suspicious?
      3                         MS. CONROY:       Objection.
      4                         THE WITNESS:        Well, I think
      5              they compare -- yes.
      6              Q.         (BY MR. BLANK)         And what are
      7      you aware of in that respect?
      8              A.         Well, they compare orders over
      9      time to different -- by different
     10      distributors to different locations.
     11              Q.         How do they do that?
     12              A.         It's different.         It's changed
     13      over time.
     14              Q.         How do they currently do it?
     15              A.         That, I don't know.
     16              Q.         When did it last change?
     17              A.         That, I don't know.
     18              Q.         How did they do it the last
     19      time you knew how they did it?
     20              A.         They set a base and they look
     21      for overage over that base by some standard
     22      increase over time.
     23              Q.         And do you know what that
     24      standard increase is?

   Golkow Litigation Services                                             Page 473
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 17 Confidentiality
                                                         of 377. PageID #: 222189
                                                                              Review

      1              A.         No.    It's changed over time.
      2              Q.         Are you familiar with the
      3      algorithm that is used to detect suspicious
      4      orders?
      5              A.         No.
      6                         MS. CONROY:       Objection.
      7              Q.         (BY MR. BLANK)         Do you know how
      8      any of the defendants in this case implement
      9      their suspicious order monitoring practices?
     10              A.         Yes.
     11              Q.         Have you spoken to any of the
     12      defendants in this regard?
     13              A.         No.    I didn't know I was
     14      allowed to.        But I would be glad to.
     15              Q.         Have you ever consulted for the
     16      Drug Enforcement Agency?
     17              A.         No.
     18              Q.         Have you ever worked for any
     19      entity in the capacity of reviewing standard
     20      suspicious order monitoring --
     21              A.         No.
     22              Q.         -- practices?
     23              A.         No.    Sorry.
     24              Q.         Have you ever assisted anybody

   Golkow Litigation Services                                             Page 474
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 18 Confidentiality
                                                         of 377. PageID #: 222190
                                                                              Review

      1      in developing a suspicious order monitoring
      2      system?
      3              A.         No.
      4              Q.         Have you ever assisted anybody
      5      in interpreting regulations relating to SOMs?
      6              A.         No.
      7              Q.         What are the U.S. Code sections
      8      that apply to SOMs?
      9              A.         I do not know.
     10              Q.         What are the specific
     11      requirements with respect to manufacturers?
     12              A.         Manufacturers are responsible
     13      to report suspicious orders.               There's no
     14      specific delineation, as I understand it, for
     15      how that's done.
     16              Q.         Have you reviewed DEA guidance
     17      on SOM policies?
     18              A.         Yes.
     19              Q.         When?
     20              A.         Over the last several months.
     21              Q.         Which ones?
     22              A.         I don't recall.
     23              Q.         Do you reference them in your
     24      report?

   Golkow Litigation Services                                             Page 475
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 19 Confidentiality
                                                         of 377. PageID #: 222191
                                                                              Review

      1              A.         I don't think so.
      2              Q.         By being --
      3              A.         Well, they are referenced in --
      4                         In the report, as you know, I
      5      summarize the -- and then I thought provided
      6      to the Department of Justice, violations of
      7      suspicious order monitoring rules by many of
      8      the companies, and some of that information
      9      was included in the DOJ decisions.
     10              Q.         Yeah, I'm talking about DEA
     11      guidance on SOM policies.
     12              A.         Right.
     13              Q.         Okay.     And then tell me once
     14      again, because I can't recall if you told me
     15      already.      What is the basis for your claim to
     16      be an expert on whether any of these
     17      defendants are complying with their SOM
     18      obligations?
     19              A.         I used the methodology
     20      explained in my report to review the
     21      documents, to look at that issue.                 And I
     22      examined, for example, the violations of SOM
     23      procedures, e-mails, other documents, and
     24      made conclusions about SOM violations based

   Golkow Litigation Services                                             Page 476
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 20 Confidentiality
                                                         of 377. PageID #: 222192
                                                                              Review

      1      on statements made by company officials in
      2      e-mails and memos, and in some cases,
      3      deposition testimony.            And the compliance
      4      enforcement actions of the DEA.
      5              Q.         But just because you did that
      6      doesn't make you an expert.               I want to know
      7      what makes you an expert.
      8                         MS. CONROY:       Objection.
      9                         THE WITNESS:        Okay.     I'm
     10              telling you that what I just said
     11              makes me an expert by my definition of
     12              an expert.        Very few people,
     13              independent of the companies, have
     14              been able to review the e-mails,
     15              communications, documents, and detail
     16              related to the company's lack of
     17              adequate enforcement of suspicious
     18              order monitoring rules, regulations,
     19              procedures.        So that means I know more
     20              about it than a layman.              And that
     21              means -- and I can explain it to a
     22              layman.
     23                         So by my definition of an
     24              expert, which may be different than

   Golkow Litigation Services                                             Page 477
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 21 Confidentiality
                                                         of 377. PageID #: 222193
                                                                              Review

      1              your definition of an expert, that is
      2              my expertise.
      3              Q.         (BY MR. BLANK)         Did anybody
      4      except the plaintiffs in this case ever ask
      5      you for your expert opinion on SOM
      6      compliance?
      7                         MS. CONROY:       Objection.
      8                         THE WITNESS:        No.
      9              Q.         (BY MR. BLANK)         Doctor Egilman,
     10      did you do anything to prepare for your
     11      deposition today?
     12              A.         Yes.
     13              Q.         And yesterday?
     14              A.         Yes.
     15              Q.         What did you do?          Specifically
     16      to prepare for the deposition.
     17              A.         I reread the report.           Took
     18      notes.     Made notes on them.
     19                         I spent a couple days with the
     20      plaintiff lawyers two days before the
     21      deposition.
     22              Q.         Which -- when did you meet with
     23      the plaintiffs' lawyers?
     24              A.         On Tuesday and Wednesday.

   Golkow Litigation Services                                             Page 478
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 22 Confidentiality
                                                         of 377. PageID #: 222194
                                                                              Review

      1              Q.         Full days?
      2              A.         Five, six hours each day.
      3              Q.         Where?
      4              A.         Here.
      5              Q.         Where exactly?         In this hotel?
      6              A.         In this hotel.
      7              Q.         Who was present?
      8              A.         Different people different
      9      days.     Ed Wallace the first day.              Jayne
     10      Conroy the second day.            Ellyn Hurd both days.
     11      Erin Dickinson the first day.                Dave Buchanan
     12      the second day.         Jonathan Jaffe.
     13              Q.         Were they all lawyers?
     14              A.         Mr. Jaffe is not a lawyer.
     15              Q.         So you met with five lawyers
     16      and Mr. Jaffe?
     17              A.         Yes.
     18              Q.         Anybody else?
     19              A.         That's all I can recall.             There
     20      may have been other lawyers whose names have
     21      escaped.
     22              Q.         Were lawyers also on the phone
     23      from time to time?
     24              A.         Not that I know of.

   Golkow Litigation Services                                             Page 479
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 23 Confidentiality
                                                         of 377. PageID #: 222195
                                                                              Review

      1              Q.         Were any of your staff or
      2      student research assistants present?
      3              A.         They were in and out for some
      4      part of the time, yes.
      5              Q.         They travel from your office to
      6      this hotel to meet?
      7              A.         Right.     Well, not -- they
      8      schlepped a lot of material here, so yes.
      9              Q.         Did you make any notes with --
     10      in connection with your preparation?
     11              A.         Yes.
     12              Q.         Have you shared those with us?
     13              A.         Yes.
     14              Q.         Are there any notes that you
     15      have not shared with us from your
     16      preparation?
     17              A.         I don't think so.
     18              Q.         When you were retained by the
     19      plaintiffs in November of 2018, what were you
     20      told about the litigation?
     21              A.         I don't recall specifically.
     22              Q.         How about generally?
     23              A.         Generally?       I was told of the
     24      lawsuits by cities and counties from around

   Golkow Litigation Services                                             Page 480
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 24 Confidentiality
                                                         of 377. PageID #: 222196
                                                                              Review

      1      the country.        And that they had sued
      2      manufacturers and distributors for two
      3      claims, the nuisance claim and the RICO
      4      claim.     And that the suit was based on the
      5      harms, the cost of the harms done to the
      6      plaintiffs in the case, costs of those harms.
      7      And that's basically it.             Generally.
      8              Q.         And who told you that?
      9              A.         Probably Ms. Conroy.
     10              Q.         Pardon?
     11              A.         Ms. Conroy.
     12              Q.         Anybody else?
     13              A.         Not in November.
     14              Q.         Which -- have you read the
     15      complaint in the action in which you are
     16      purporting to testify as an expert?
     17              A.         Yes.
     18              Q.         Which complaint have you read?
     19              A.         Read the complaint in this
     20      case.     I read the complaint in the
     21      Massachusetts case.           I read the complaint in
     22      the New York case.           I think I read some of
     23      the complaint in the Oklahoma case.
     24              Q.         Did you read the entire

   Golkow Litigation Services                                             Page 481
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 25 Confidentiality
                                                         of 377. PageID #: 222197
                                                                              Review

      1      complaint in this case?
      2              A.         Yes.
      3              Q.         Can you recall what it says in
      4      that complaint about MS Contin?
      5              A.         No.
      6              Q.         Do you recall if it says
      7      anything about MS Contin?
      8              A.         I think MS Contin was not
      9      mentioned in the complaint.
     10              Q.         And I believe yesterday you
     11      testified about many of the documents that
     12      you reviewed in preparing your expert report.
     13      Were you sent any documents specifically
     14      relating to Cuyahoga or Summit counties?
     15              A.         Yes.
     16              Q.         Which ones?
     17              A.         Well, I read the depositions
     18      through the Summit, Cuyahoga County people
     19      responsible for the health plans.                 And I read
     20      the deposition of the Medicaid person for the
     21      state of Ohio with respect to the
     22      formularies.
     23                         I gave you a Summit County --
     24      or there was a Summit County PowerPoint.

   Golkow Litigation Services                                             Page 482
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 26 Confidentiality
                                                         of 377. PageID #: 222198
                                                                              Review

      1      There were documents in the database that I
      2      had that weren't sent to me, but they were in
      3      the database.        One of those is a Summit
      4      County PowerPoint that I mentioned yesterday.
      5      So there were other Summit Cuyahoga County
      6      documents.       For example, there is an ROI
      7      squared document that deals with Cleveland
      8      Clinic and KOLs in Cuyahoga County.
      9                         And I've got documents related
     10      to physicians who've been accused of and
     11      sometimes convicted of overprescribing.                    So I
     12      had those documents.
     13              Q.         Were -- those physicians were
     14      from Summit or Cuyahoga counties?
     15              A.         I think so.
     16              Q.         Do you remember the names?
     17              A.         No, but they're in the --
     18      they're in my report.
     19              Q.         Did you --
     20              A.         Can I just finish my answer?
     21                         You asked me for all of the
     22      documents that I reviewed.
     23              Q.         Okay.     You can -- I'm satisfied
     24      with what you've said so far.                I'd like to

   Golkow Litigation Services                                             Page 483
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 27 Confidentiality
                                                         of 377. PageID #: 222199
                                                                              Review

      1      follow up on some of the things you've said.
      2              A.         That's great.        So my answer is
      3      incomplete.
      4              Q.         Well, when was -- have you ever
      5      been to Ohio?
      6              A.         Yes.
      7              Q.         When was the last time you
      8      went?
      9              A.         To Ohio?      Probably 2005, 2006
     10      time period.
     11              Q.         Have you -- and during that
     12      trip to Summit -- or Ohio, did you go to
     13      Summit or Cuyahoga County?
     14              A.         Not on that trip.
     15              Q.         Since you've been retained in
     16      this case, which was November of 2018, you
     17      have not been to Ohio; correct?
     18              A.         That's correct.
     19              Q.         Have you interviewed any
     20      prescribers from Summit or Cuyahoga counties
     21      in Ohio?
     22              A.         Not since -- not in the last
     23      several years.
     24              Q.         Pardon?

   Golkow Litigation Services                                             Page 484
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 28 Confidentiality
                                                         of 377. PageID #: 222200
                                                                              Review

      1              A.         Not in the last several years.
      2              Q.         Have you ever interviewed any
      3      prescribers from Summit or Cuyahoga counties
      4      in Ohio?
      5              A.         I believe so.
      6              Q.         When?
      7              A.         I can't recall the year, but I
      8      attended a conference in Cleveland and there
      9      were prescribers there and I spoke to them.
     10              Q.         Did you -- yeah, do you recall
     11      their names?
     12              A.         No.
     13              Q.         How long did you speak with
     14      them for?
     15              A.         I think it was a one-day
     16      conference, so that day.
     17              Q.         You spoke with them all day?
     18              A.         Well, I was speaking to lots of
     19      people from Cleveland at that time.                  They
     20      were mostly physicians.
     21              Q.         How many?
     22              A.         I don't recall.
     23              Q.         And did you -- did you discuss
     24      opioid prescriptions with them?

   Golkow Litigation Services                                             Page 485
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 29 Confidentiality
                                                         of 377. PageID #: 222201
                                                                              Review

      1              A.         I can't recall.
      2              Q.         Since you've been retained in
      3      this case, have you discussed with any
      4      prescriber from Cuyahoga or Summit County
      5      whether they saw any marketing messages by
      6      any defendants in this case that they say
      7      were misleading?
      8              A.         No.
      9              Q.         Have you ever had such a
     10      discussion with any such prescribers for
     11      Summit or Cuyahoga counties?
     12              A.         No.
     13              Q.         So I take it, then, you've
     14      never asked any of such prescribers from
     15      Cuyahoga or Summit County whether they've
     16      relied on any marketing messages by any of
     17      the defendants in this case in making
     18      prescriptions decisions; correct?
     19              A.         No.
     20              Q.         That's incorrect?
     21              A.         Correct.
     22              Q.         Have you ever asked or spoken
     23      with any prescribers from Cuyahoga or Summit
     24      counties whether they wrote any medically

   Golkow Litigation Services                                             Page 486
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 30 Confidentiality
                                                         of 377. PageID #: 222202
                                                                              Review

      1      unnecessary opioid prescriptions for anyone
      2      in either of those two counties based on
      3      misleading marketing messages?
      4                         MS. CONROY:       Objection.
      5                         THE WITNESS:        Do you mean
      6              personally asked?
      7              Q.         (BY MR. BLANK)         Correct.
      8              A.         No.
      9              Q.         Have you interviewed any
     10      patients who received opioid prescriptions in
     11      Cuyahoga or Summit County?
     12              A.         No.
     13              Q.         When you were retained in this
     14      case, did you receive any summaries of any
     15      type from plaintiffs' counsel?
     16              A.         Aside from the complaints?              No.
     17              Q.         Well, the complaint's not a
     18      summary.      I meant a summary where a -- the
     19      plaintiffs' lawyers have summarized issues or
     20      summarized deposition testimony or summarized
     21      documents for you.
     22              A.         Not that I can recall.
     23              Q.         Did you receive any medical
     24      literature from plaintiffs' counsel?

   Golkow Litigation Services                                             Page 487
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 31 Confidentiality
                                                         of 377. PageID #: 222203
                                                                              Review

      1              A.         No.
      2              Q.         Have you received any summaries
      3      of testimony from plaintiffs' counsel,
      4      whether those summaries are verbal or
      5      written?
      6              A.         We've discussed the testimony
      7      given in the case, yes.
      8              Q.         What's the -- you discussed the
      9      testimony you've given so far in this case?
     10              A.         Discussed the testimony?             Have
     11      I discussed the testimony that I gave
     12      yesterday?
     13              Q.         No.    Have you discussed with
     14      plaintiffs' counsel the testimony given by
     15      other witnesses in this case?
     16              A.         Yes.
     17              Q.         Which witnesses did you
     18      discuss?
     19              A.         I think Rosen, Sade,
     20      Kathe Sackler, Richard Sackler.
     21                         And some other testimony that I
     22      think I cited in the report.
     23              Q.         What were you told --
     24              A.         We probably discussed that.

   Golkow Litigation Services                                             Page 488
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 32 Confidentiality
                                                         of 377. PageID #: 222204
                                                                              Review

      1              Q.         What were you told about
      2      Rosen's testimony?
      3              A.         I don't recall.
      4              Q.         What were you told about Sade's
      5      testimony?
      6              A.         I don't recall.
      7              Q.         What were you told about
      8      Kathe Sackler's testimony?
      9              A.         I don't recall.
     10              Q.         What were you told about
     11      Richard Sackler's testimony?
     12              A.         I don't recall.
     13              Q.         Just to confirm, you were not
     14      given any written summaries of any of the
     15      testimonies?
     16              A.         I got full depositions.
     17              Q.         Full transcripts but not
     18      summaries from counsel?
     19              A.         Right.
     20              Q.         Dr. Egilman, are you familiar
     21      with 21 CFR -- that's the Code of Federal
     22      Procedure, Section 1301.74?
     23              A.         Not by number.
     24              Q.         So you don't know what that is?

   Golkow Litigation Services                                             Page 489
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 33 Confidentiality
                                                         of 377. PageID #: 222205
                                                                              Review

      1              A.         Not by number.
      2              Q.         That number doesn't ring a bell
      3      with you?
      4              A.         The number doesn't ring a bell
      5      to me.
      6              Q.         Dr. Egilman, would you agree
      7      that chronic pain is a serious medical
      8      condition?
      9                         MS. CONROY:       Objection.
     10                         THE WITNESS:        Yes and no.
     11              Q.         (BY MR. BLANK)         Would you agree
     12      that chronic pain affects millions of people
     13      in the United States?
     14              A.         Probably, but I'm not sure.
     15              Q.         Would you agree that chronic
     16      pain affects people in Summit County, Ohio?
     17              A.         Yes.
     18              Q.         Would you agree that chronic
     19      pain affects people in Cuyahoga County, Ohio?
     20              A.         Yes.
     21              Q.         Do you agree that there are
     22      risks associated with untreated chronic pain?
     23              A.         From the underlying disease
     24      that causes the pain, yes.

   Golkow Litigation Services                                             Page 490
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 34 Confidentiality
                                                         of 377. PageID #: 222206
                                                                              Review

      1              Q.         Do you agree that every patient
      2      should be treated individually?
      3              A.         No.
      4              Q.         Do you agree that there is no
      5      single treatment option that is appropriate
      6      for every chronic pain patient?
      7              A.         Yes.
      8              Q.         Do you agree that it is
      9      important for physicians to have a variety of
     10      treatment options to choose from when
     11      treating a medical condition?
     12              A.         I answered that one yesterday,
     13      and let me accept the same answer.                  But I can
     14      repeat --
     15              Q.         I do recall you did answer that
     16      yesterday.       I don't need to hear it again.
     17                         Do you agree that all
     18      treatments for chronic pain have risks?
     19              A.         No.
     20              Q.         Do you agree that's the role of
     21      the prescribing physician, to weigh risks and
     22      benefits of any pain medication when treating
     23      an individual patient?
     24              A.         When they can.

   Golkow Litigation Services                                             Page 491
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 35 Confidentiality
                                                         of 377. PageID #: 222207
                                                                              Review

      1              Q.         Do you agree that a physician
      2      should use his or her best judgment when
      3      deciding whether to prescribe a medication
      4      for pain?
      5              A.         I'm not sure.        It's too broad.
      6      It includes all physicians.               Physicians have
      7      different judgments.
      8              Q.         Do you think some physicians
      9      should not use their best judgment?
     10              A.         I think some physicians don't
     11      have good judgment.           I can't evaluate -- I
     12      can't answer that question without, you know,
     13      some physicians are addicted to opioids, for
     14      example.      When you're addicted to opioids,
     15      you lose good judgment.
     16              Q.         Okay.
     17              A.         You may use the best judgment
     18      that you have, but because you're addicted to
     19      opioids, your best judgment may not be
     20      adequate for treating the patient.                  So there
     21      are -- it's a more complicated question than
     22      just that answer would imply.
     23              Q.         Sir, would you -- understood.
     24      But you agree that a physician should use the

   Golkow Litigation Services                                             Page 492
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 36 Confidentiality
                                                         of 377. PageID #: 222208
                                                                              Review

      1      best judgment that he or she has when
      2      deciding whether to prescribe a medication
      3      for pain; correct?
      4              A.         No.    Same answer.
      5              Q.         Whatever the best judgment of
      6      that physician is, shouldn't that physician
      7      use that best judgment?
      8              A.         If you are an -- if you are an
      9      opioid addict physician, right, I don't think
     10      you should be using any judgment.                 I don't
     11      think you should be prescribing or
     12      practicing.        Okay?
     13                         So best judgment, medium
     14      judgment, low judgment doesn't matter.                    Some
     15      physicians are not -- because of their
     16      vocation, their personal problems, other
     17      medical issues, other issues, should not be
     18      using any judgment, should not be
     19      prescribing.
     20              Q.         So for -- let's carve out those
     21      physicians that you claim are incapable of
     22      having appropriate judgment.               And of the
     23      physicians that do have judgment, do you
     24      agree they should use their best judgment

   Golkow Litigation Services                                             Page 493
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 37 Confidentiality
                                                         of 377. PageID #: 222209
                                                                              Review

      1      when prescribing medicine for pain?
      2                         MS. CONROY:       Objection.
      3                         THE WITNESS:        I think it's too
      4              vague a question for me, because I
      5              don't know how to assess best judgment
      6              for all physicians.
      7              Q.         (BY MR. BLANK)         I'm not asking
      8      you to.      I'm just asking you whether you
      9      agree that the physicians who have judgment
     10      should use the best of that judgment when
     11      prescribing pain medications for their
     12      patients.
     13              A.         Sorry.
     14                         MS. CONROY:       Objection.
     15                         THE WITNESS:        It's a vague and
     16              ambiguous question.
     17                         I have good judgment, but you
     18              don't want me operating on your
     19              coronary arteries.           No matter what my
     20              judgment is, I shouldn't be doing
     21              that.
     22              Q.         (BY MR. BLANK)         You said
     23      yesterday that you prescribed opioids to one
     24      of your patients; correct?

   Golkow Litigation Services                                             Page 494
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 38 Confidentiality
                                                         of 377. PageID #: 222210
                                                                              Review

      1              A.         In part.
      2              Q.         You said yesterday, I believe,
      3      that you prescribed opioids to one of your
      4      patients who was an addict.               Correct?
      5              A.         That's what I believed at the
      6      time, yes.
      7              Q.         Okay.     And were you using your
      8      best judgment when you did that?
      9              A.         Yes.    I was trying to get him
     10      off the opioids.          I couldn't just stop them.
     11      Put him in withdrawal.
     12              Q.         Dr. Egilman, do you agree that
     13      students in medical school learn that opioids
     14      are addictive?
     15              A.         When?
     16              Q.         Ever.     In medical school.
     17                         MS. CONROY:       Objection.
     18                         THE WITNESS:        Do you mean
     19              medical school now?            Or medical school
     20              when I went to medical school?                 Or
     21              medical school when someone else went
     22              to medical school in 1960?
     23              Q.         (BY MR. BLANK)         Now.
     24              A.         I don't think all of them do.

   Golkow Litigation Services                                             Page 495
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 39 Confidentiality
                                                         of 377. PageID #: 222211
                                                                              Review

      1      I don't think it's a uniform part of the
      2      curriculum, per se.
      3              Q.         Did you?
      4              A.         I had no lecture on opioid
      5      addiction that I can recall in medical
      6      school.
      7              Q.         Did you learn it otherwise in
      8      medical school?
      9              A.         No.    I think I learned it
     10      otherwise, not in medical school.
     11              Q.         So you did not --
     12              A.         I did not in medical school.
     13              Q.         So you did not learn in medical
     14      school that opioids are addictive?
     15              A.         No.    I learned it was -- I knew
     16      opioids were addictive before I went to
     17      medical school.          I didn't have a lecture on
     18      opioid addiction in medical school that I can
     19      recall.
     20              Q.         Dr. Egilman, are you a pain
     21      management specialist?
     22              A.         I manage patients with pain.
     23      That's what I've done my whole life.
     24              Q.         Are you a pain management

   Golkow Litigation Services                                             Page 496
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 40 Confidentiality
                                                         of 377. PageID #: 222212
                                                                              Review

      1      specialist in your view?
      2              A.         I manage patients with pain all
      3      the time.
      4              Q.         Are you a specialist in that
      5      field?     "Yes" or "no"?         Or I don't know?
      6      Which of those?
      7              A.         Do you want a "yes" or "no"?
      8      Yes, I manage patients with pain all the
      9      time.
     10              Q.         Okay.     Listen to my question,
     11      then.     Are you a pain management specialist?
     12              A.         Yes.    I manage pain all the
     13      time in my practice.            When I was practicing.
     14              Q.         Are you an addiction expert?
     15              A.         Yes.
     16              Q.         On what basis?
     17              A.         I've taken -- I've learned
     18      about addiction in my residency and training.
     19      I've treated patients who were addicted.
     20      I've developed programs to treat addiction.
     21      I've treated a lot of patients with
     22      addiction.       I had to get them unaddicted.                On
     23      that basis.        And I've studied addiction and
     24      addiction issues relatively intensively since

   Golkow Litigation Services                                             Page 497
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 41 Confidentiality
                                                         of 377. PageID #: 222213
                                                                              Review

      1      the late 1990s.
      2              Q.         Are you board certified?
      3              A.         Yes.
      4              Q.         In addiction?
      5              A.         No.
      6              Q.         Are you board certified in pain
      7      management?
      8              A.         No.
      9              Q.         Are you a toxicologist?
     10              A.         I practice toxicology.            I
     11      evaluate toxicology as a part of occupational
     12      environmental medicine.
     13              Q.         Are you board certified?
     14              A.         In toxicology?         I don't -- no,
     15      I'm not.
     16              Q.         What are you board certified
     17      in?
     18              A.         Internal and occupational
     19      medicine.       In preventive occupational
     20      medicine, and I'm board eligible in
     21      preventive medicine.
     22              Q.         Are you a board-certified
     23      epidemiologist?
     24              A.         There is no board in

   Golkow Litigation Services                                             Page 498
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 42 Confidentiality
                                                         of 377. PageID #: 222214
                                                                              Review

      1      epidemiology.
      2              Q.         Do you consider yourself a
      3      regulatory expert?
      4              A.         Yes.
      5              Q.         On what basis?
      6              A.         Well, I took two courses at the
      7      Harvard Law School on regulations of
      8      occupational environmental health.                  That was
      9      one course taught by Nick Ashford,
     10      A-S-H-F-O-R-D.
     11                         And a second law school course
     12      taught by him on environmental law and
     13      regulation and all aspects of those.
     14                         I teach about FDA regulation in
     15      my course.       I've published about FDA
     16      regulation or lack thereof in published
     17      papers.
     18                         I've testified in front of FDA
     19      regulatory bodies.
     20              Q.         More than once?
     21              A.         Can I finish my answer before
     22      you interrupt?
     23                         You're a lawyer.          You can cut
     24      me off anytime you like, so -- according to

   Golkow Litigation Services                                             Page 499
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 43 Confidentiality
                                                         of 377. PageID #: 222215
                                                                              Review

      1      the judge's rule, but you can just say you've
      2      heard enough and I'll stop.
      3              Q.         Are you close to finishing?
      4              A.         I don't know.        Probably not.
      5              Q.         Okay.     Did you testify -- then
      6      I'll -- you -- I'll take what you've said so
      7      far.
      8              A.         Okay.     Then let me just put on
      9      the record that the answer is incomplete.
     10              Q.         How many times did you testify
     11      before the FDA?
     12              A.         I think two or three times.
     13              Q.         When was the last time?
     14              A.         The last time was 2013.
     15              Q.         How long did you testify for?
     16              A.         It was testimony by video, so
     17      if I remember all the video and PowerPoints,
     18      five or ten minutes.
     19              Q.         And you included the transcript
     20      in your report; correct?
     21              A.         Yes.    And the PowerPoint that
     22      went with it.
     23              Q.         And it looked to me like your
     24      testimony lasted maybe ten minutes?                  Does

   Golkow Litigation Services                                             Page 500
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 44 Confidentiality
                                                         of 377. PageID #: 222216
                                                                              Review

      1      that sound about right?
      2              A.         Could be.
      3              Q.         And I didn't see that you were
      4      asked any questions.
      5              A.         Well, I was in Grenada teaching
      6      an occupational health course.                I wasn't at
      7      the DFA meeting.          I sent them the testimony,
      8      and it was played on a video, so.
      9              Q.         It wasn't live?
     10              A.         It was on the video.           I was
     11      live in Grenada teaching at a medical school
     12      when the testimony went on.
     13              Q.         Was your testimony live or was
     14      it recorded and then delivered to the FDA?
     15              A.         I recorded it and submitted it
     16      and it was played at the FDA hearing.
     17              Q.         Are you currently employed?
     18              A.         Yes.
     19              Q.         By whom?
     20              A.         Never Again Consulting.
     21              Q.         Anybody else?
     22              A.         Well, I teach at Brown, so
     23      that's kind of -- that's an employment
     24      contract, I guess.

   Golkow Litigation Services                                             Page 501
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 45 Confidentiality
                                                         of 377. PageID #: 222217
                                                                              Review

      1              Q.         Who owns Never Again
      2      Consulting?
      3              A.         I do.
      4              Q.         Anybody else own it?
      5              A.         No.
      6              Q.         Do you have W-2 employees?
      7              A.         Do you mean do I issue W-2s to
      8      people who work for me?
      9              Q.         Yeah.
     10              A.         Yes.
     11              Q.         How many?
     12              A.         10.    12.
     13              Q.         And of any of the people that
     14      assisted you in the preparation of your
     15      report that you named yesterday, are those --
     16      any of those W-2 employees?
     17              A.         Yeah.     They get paid and we
     18      issue W-2s to them.
     19              Q.         Okay.     And how about the
     20      students who assisted you?              You paid them;
     21      correct?
     22              A.         Yes.
     23              Q.         Did you issue W-2s to them?
     24              A.         We haven't -- it's not time to

   Golkow Litigation Services                                             Page 502
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 46 Confidentiality
                                                         of 377. PageID #: 222218
                                                                              Review

      1      issue W-2s.        They were working in January and
      2      late December.         I don't think -- maybe -- I
      3      don't think they got paid in December, so it
      4      would have been next year.
      5              Q.         Next year do you expect to
      6      issue W-2s to them?
      7              A.         I don't know.        I assume so.
      8              Q.         Do they --
      9              A.         If they make less than 6 or
     10      $700, we don't have to issue W-2s.                  But if
     11      they make more than that, we do have to issue
     12      W-2s.     So it will depend how much money they
     13      made.
     14              Q.         Do you consider them to be your
     15      employees?
     16              A.         I consider them to be contract
     17      workers who are working for they.                 I'm not
     18      sure what the -- I direct what they do.                    I
     19      think they would be considered part-time
     20      employees while they're working for me, yes.
     21              Q.         Yesterday you testified about
     22      the hourly rates that you pay your employees
     23      and these -- some of the students that work
     24      for you.      Is the amount that you pay them the

   Golkow Litigation Services                                               Page 503
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 47 Confidentiality
                                                         of 377. PageID #: 222219
                                                                              Review

      1      same amount that you charge the plaintiffs?
      2              A.         No, I charge the plaintiffs
      3      much more than what I charge them because I
      4      bill for my time.
      5              Q.         No, but if you pay an employee
      6      $40 an hour, what do you bill the plaintiffs?
      7              A.         I don't know.        Something more
      8      than that.
      9              Q.         How much more?
     10              A.         I don't know.        60 or $70 an
     11      hour, something like that.
     12              Q.         So you have a 50 to 75 percent
     13      markup on hourly rates?
     14                         MS. CONROY:       Objection.
     15                         THE WITNESS:        No.
     16              Q.         (BY MR. BLANK)         What's --
     17                         So you do mark up the hourly
     18      rates.     That is, you charge the plaintiffs
     19      more for every hour that the students work
     20      that you pay them; correct?
     21                         MS. CONROY:       Objection.
     22                         THE WITNESS:        No.
     23              Q.         (BY MR. BLANK)         If you pay a
     24      student $40 an hour, what do you charge the

   Golkow Litigation Services                                             Page 504
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 48 Confidentiality
                                                         of 377. PageID #: 222220
                                                                              Review

      1      plaintiffs?
      2              A.         Students don't get paid $40 an
      3      hour.     Students get paid $20 an hour.                My
      4      full-time employees get paid about $40 an
      5      hour sometimes.
      6              Q.         Okay.     But you mark up both;
      7      correct?
      8              A.         No.    We haven't billed on the
      9      students yet, so I don't think --
     10                         We'll probably --
     11                         I wouldn't call it a markup.
     12      But do we charge exactly what they pay them
     13      in a W-2?       No because we pay benefits.               I
     14      give bonuses.        When they -- we do a fixed
     15      rate.     So if they're working time and a half
     16      or double time, then they're making 60, 70,
     17      $80 an hour, plus benefits, which is another
     18      20 percent.
     19                         Plus, for example, I take my
     20      entire staff on vacations.              That gets
     21      covered.      I pay bonuses to the staff.               So all
     22      in all, it's pretty much a wash.                 They're not
     23      a major profit center for me.
     24              Q.         What's your current title at

   Golkow Litigation Services                                              Page 505
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 49 Confidentiality
                                                         of 377. PageID #: 222221
                                                                              Review

      1      Brown?
      2              A.         Clinical professor, department
      3      of family medicine.
      4              Q.         And I can't remember if you
      5      testified to this.           Do you get paid by Brown?
      6              A.         I get a library card, which is
      7      probably worth about $50,000 to me.                  And when
      8      I'm teaching a course in the school of public
      9      health, they paid my parking.
     10              Q.         Do you get tax on that $50,000
     11      library card?
     12              A.         I do not.
     13              Q.         Do you currently have any
     14      practicing privileges at any hospitals?
     15              A.         No.
     16              Q.         Do you have admitting
     17      privileges at any hospitals?
     18              A.         No.
     19              Q.         Are you currently seeing any
     20      patients at any hospitals?
     21              A.         No.
     22              Q.         Are you currently seeing any
     23      patients anywhere?
     24              A.         Right.     We went over that

   Golkow Litigation Services                                             Page 506
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 50 Confidentiality
                                                         of 377. PageID #: 222222
                                                                              Review

      1      yesterday.       Do you want me to repeat that
      2      testimony?
      3              Q.         No.
      4                         What are the professional
      5      organizations in which you are currently a
      6      member?
      7              A.         AMA, APHA, AHRP, a couple of
      8      geological societies.            I have to look at my
      9      CV to remember them all.
     10              Q.         But that's where they're
     11      listed?
     12              A.         They're there.
     13                         I have my CV here someplace.
     14              Q.         I have it too.         It's okay.
     15      We'll get to that.
     16                         Do you consider yourself an
     17      expert in marketing?
     18              A.         Yes.
     19              Q.         And do you consider yourself
     20      specifically an expert in pharmaceutical
     21      marketing?
     22              A.         And device.       Medical marketing.
     23              Q.         Medical marketing.           That's
     24      pharmaceuticals and devices?

   Golkow Litigation Services                                             Page 507
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 51 Confidentiality
                                                         of 377. PageID #: 222223
                                                                              Review

      1              A.         Correct.
      2              Q.         And is that because you believe
      3      you know more than the layperson in those
      4      fields?
      5              A.         That would be a beginning.
      6      It's also because I've studied marketing
      7      practices.       I've published peer-reviewed
      8      papers on marketing practices.                I teach on
      9      marketing practices.            I give lectures on
     10      marketing practice at APHA and other
     11      universities.        I've written book chapters on
     12      marketing practices in I think two or three
     13      books.
     14                         So there's a lot of different
     15      bases for why I think I'm an expert on
     16      marketing practices of pharmaceutical
     17      companies.
     18              Q.         Do you consider yourself an
     19      expert in pharmaceutical labeling?
     20              A.         Yes.
     21              Q.         Do you consider yourself an
     22      expert in warnings on such labels?
     23              A.         Yes.
     24              Q.         On what basis?

   Golkow Litigation Services                                             Page 508
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 52 Confidentiality
                                                         of 377. PageID #: 222224
                                                                              Review

      1              A.         Well, I wrote two chapters in
      2      the book "Handbook of Warnings and Risk
      3      Communication."         And then all the other
      4      things that I just said, which I will be glad
      5      to repeat.       I've published in
      6      peer-reviewed --
      7              Q.         No need.
      8              A.         Okay.     My answer is incomplete.
      9      Go ahead.
     10              Q.         No, I said no need to repeat
     11      it, because you've referenced it.                 You
     12      referenced the two chapters.               Anything else
     13      besides what you've already testified about?
     14              A.         I've given talks on warnings
     15      and risk communication.
     16              Q.         Do you consider yourself an
     17      expert in the drug approval process?
     18              A.         Yes.
     19              Q.         Do you know which government
     20      agencies regulate drug approvals?
     21              A.         Yes.
     22              Q.         Which ones?
     23              A.         FDA.
     24              Q.         Any others?

   Golkow Litigation Services                                             Page 509
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 53 Confidentiality
                                                         of 377. PageID #: 222225
                                                                              Review

      1              A.         Well, for some -- some --
      2      depends what you consider drug, but Consumer
      3      Product Safety Commission might regulate some
      4      over-the -- some cosmetics, which can be
      5      advertised as having medical benefits.
      6      Generally they'd regulate them to say you
      7      can't say that, so they regulate that.
      8              Q.         Are you familiar with the new
      9      drug application process at the FDA?
     10              A.         Yes.
     11              Q.         We will refer to that as NDA.
     12      Is that all right?
     13              A.         Yes.
     14              Q.         Have you ever worked on a new
     15      drug application with the FDA?
     16              A.         No.
     17              Q.         Have you ever worked with the
     18      FDA on any drug approval?
     19              A.         No.
     20              Q.         Have you ever reviewed a new
     21      drug application?
     22              A.         For the FDA?
     23              Q.         Yes.
     24              A.         No.

   Golkow Litigation Services                                             Page 510
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 54 Confidentiality
                                                         of 377. PageID #: 222226
                                                                              Review

      1              Q.         Have you ever been involved in
      2      submitting an NDA?
      3              A.         No.
      4              Q.         Do you know what an NDA
      5      submission entails?
      6              A.         Yes.
      7              Q.         What is required?
      8              A.         Well, NDA submissions are
      9      hundreds of boxes of material.                So you -- you
     10      first of all, before the NDA process starts,
     11      the company has to negotiate with the FDA the
     12      kinds and quality and size of the studies
     13      that are going to be done to get the drug
     14      approved.       And that's a negotiated process.
     15                         Then there's usually three
     16      levels of -- three levels of studies that are
     17      done.     Some toxicity studies to start, then
     18      level two studies, which would involve small
     19      trials that might look for benefit, and then
     20      the third level would be randomized
     21      controlled trials, then you'd focus on
     22      benefits.
     23                         Generally the organization
     24      standards would say that those studies have

   Golkow Litigation Services                                             Page 511
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 55 Confidentiality
                                                         of 377. PageID #: 222227
                                                                              Review

      1      to include at least 2 to 300 patients.                    The
      2      FDA generally requires two RCTs that are --
      3      have a statistically significant result.                     And
      4      what's not required is that the company
      5      doesn't have to turn over all of the studies.
      6      The company may do 30 studies.                Of those
      7      studies produce two that were positive and
      8      just submit those two and not submit the
      9      others.
     10              Q.         I'm going to stop you here and
     11      I'll note for the record that your answer is
     12      not complete, because I want to move on to
     13      the next question.
     14                         Do you agree that the FDA has
     15      to approve the label for every drug?
     16              A.         The label is negotiated, and
     17      the approval is agreed to by the company and
     18      the FDA.
     19              Q.         But if the FDA doesn't approve
     20      the label, it does not go on the packaging;
     21      correct?
     22              A.         If the FDA doesn't finally --
     23      they generally -- the letter that --
     24              Q.         It's a yes-or-no question.

   Golkow Litigation Services                                             Page 512
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 56 Confidentiality
                                                         of 377. PageID #: 222228
                                                                              Review

      1                         MS. CONROY:       Objection.
      2              Q.         (BY MR. BLANK)         Can you answer
      3      it "yes" or "no"?
      4              A.         No.
      5              Q.         So there are labeled -- drug
      6      labels on drug packaging that have not been
      7      approved by the FDA in the United States?
      8      Prescription drugs?
      9              A.         There are prescription drugs
     10      that when packaged and given to the patient
     11      include information that's not been approved
     12      by the FDA.
     13                         A lot of pharmaceutical
     14      company -- a lot of pharmacies put their own
     15      short version instructions on the label -- on
     16      the packaging in the bag that the patient
     17      gets.     That's not, as far as I understand,
     18      approved by the FDA.
     19              Q.         But the manufacturer's label is
     20      approved by the FDA; correct?
     21              A.         That is correct.          That wasn't
     22      the question you asked.
     23              Q.         I just asked it.
     24              A.         That's correct.         I'm just

   Golkow Litigation Services                                             Page 513
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 57 Confidentiality
                                                         of 377. PageID #: 222229
                                                                              Review

      1      saying it wasn't the question you asked
      2      before.
      3              Q.         And you understand that the FDA
      4      regulates prescription drug promotion in this
      5      country?
      6              A.         Yes and no.
      7              Q.         Have you communicated with
      8      anyone at the FDA about Purdue?
      9                         MS. CONROY:       Objection.
     10                         THE WITNESS:        Aside from the
     11              FDA presentation I gave?              No.
     12              Q.         (BY MR. BLANK)         That was the
     13      videotaped recording?
     14              A.         Right.
     15              Q.         Are you aware whether the FDA
     16      has found that any manufacturer of any opioid
     17      has committed fraud on the FDA with respect
     18      to its labeling?
     19              A.         Do you mean a labeling that
     20      goes in the package?
     21              Q.         Correct.
     22              A.         No.
     23              Q.         Have you ever done any work for
     24      the Federal Trade Commission?

   Golkow Litigation Services                                             Page 514
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 58 Confidentiality
                                                         of 377. PageID #: 222230
                                                                              Review

      1              A.         No.
      2              Q.         Do you know what unbranded
      3      promotion is?
      4              A.         Yes.
      5              Q.         Do you know whether the Federal
      6      Trade Commission regulates unbranded
      7      promotion?
      8              A.         Do you mean of drugs?
      9              Q.         Yes.
     10              A.         Not that I can recall.
     11              Q.         Have you ever worked for or
     12      consulted with the Federal Trade Commission?
     13              A.         No.
     14              Q.         Have you ever been employed by
     15      a pharmaceutical company?
     16              A.         No.
     17              Q.         Have you ever consulted for a
     18      pharmaceutical company?
     19              A.         Kind of, sort of.
     20              Q.         Who?
     21              A.         Confidential.
     22              Q.         You can tell me.          We have a
     23      protective order.
     24              A.         It doesn't matter.           I don't

   Golkow Litigation Services                                             Page 515
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 59 Confidentiality
                                                         of 377. PageID #: 222231
                                                                              Review

      1      want to disclose it.
      2              Q.         Why not?
      3              A.         Because it's confidential.
      4              Q.         We have a protective order that
      5      governs this deposition.
      6              A.         Thank you.       Great.      I don't
      7      want to disclose it.
      8              Q.         What was the nature of the work
      9      that you did?
     10              A.         I don't want to discuss that
     11      either.
     12              Q.         Was it related to prescription
     13      drugs for pain?
     14              A.         No.
     15              Q.         Was it related to opioids at
     16      all?
     17              A.         No.
     18              Q.         When was it?
     19              A.         Maybe five, six years ago.
     20              Q.         How long did you consult for?
     21              A.         Not long.
     22              Q.         How long?
     23              A.         I think two or three
     24      conversations.

   Golkow Litigation Services                                             Page 516
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 60 Confidentiality
                                                         of 377. PageID #: 222232
                                                                              Review

      1              Q.         Did you get paid?
      2              A.         No.
      3              Q.         Did you choose to end the
      4      consultancy?
      5              A.         I would say that it wasn't a
      6      very formal consultancy, so.
      7                         There was an issue.           We
      8      discussed it.        The issue was -- that was it.
      9              Q.         Are you familiar with DDMAC?
     10              A.         Yes.
     11              Q.         What is or was DDMAC?
     12              A.         The -- they're in charge of but
     13      do not regulate in an effective manner
     14      advertising of pharmaceuticals.
     15              Q.         It's your opinion that they do
     16      not effectively regulate pharmaceutical
     17      advertising; is that right?
     18                         MS. CONROY:       Objection.
     19                         THE WITNESS:        That's certainly
     20              my opinion, yes.
     21              Q.         (BY MR. BLANK)         Did DDMAC
     22      change its name?
     23              A.         Well, the FDA changed its names
     24      many times.        I don't know all of the names of

   Golkow Litigation Services                                             Page 517
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 61 Confidentiality
                                                         of 377. PageID #: 222233
                                                                              Review

      1      that organization.
      2              Q.         Okay.     So do you know what the
      3      new name is?
      4              A.         No.
      5              Q.         Have you heard of the Office of
      6      Prescription Drug Promotion?
      7              A.         Yes.
      8              Q.         Have you ever worked for DDMAC
      9      or OPDP?
     10              A.         No.
     11              Q.         Have you ever spoken to anybody
     12      at DDMAC?
     13              A.         Yes.
     14              Q.         How many times?
     15              A.         That was what I discussed
     16      yesterday during the deposition.                 I went to a
     17      meeting --
     18              Q.         You don't need to repeat that.
     19      Anything besides what you discussed
     20      yesterday?
     21              A.         I think that's it.
     22              Q.         Have you reviewed any of
     23      Purdue's submissions to the FDA regarding
     24      pharmaceutical promotion?

   Golkow Litigation Services                                             Page 518
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 62 Confidentiality
                                                         of 377. PageID #: 222234
                                                                              Review

      1              A.         Yes.
      2              Q.         Which ones?
      3              A.         I can't recall specifically.
      4              Q.         Have you ever --
      5              A.         Certainly the approval label,
      6      and a variety of -- I mean, I have it in my
      7      report.
      8              Q.         Have you --
      9              A.         I have it in the report, the
     10      FDA letter sanctioning Purdue's marketing, so
     11      those examples.         I've certainly reviewed
     12      those.
     13              Q.         I was asking about Purdue's
     14      submissions.
     15              A.         Well, those were submitted, I
     16      think.     And then later on, the FDA read them
     17      and found them to be in violation of their
     18      rules and regulations.
     19              Q.         Have you reviewed any other
     20      manufacturer's submissions to the FDA
     21      regarding pharmaceutical promotion?
     22              A.         Yes.
     23              Q.         Which defendants?
     24                         I'm sorry, which manufacturing

   Golkow Litigation Services                                             Page 519
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 63 Confidentiality
                                                         of 377. PageID #: 222235
                                                                              Review

      1      defendants?
      2              A.         I think I've seen them for
      3      Endo, Insys, probably several others.
      4              Q.         Have you done any research into
      5      how DDMAC or OPDP reviews promotional
      6      materials?
      7              A.         Yes.
      8              Q.         And what did your research
      9      show?
     10              A.         That they don't review them.
     11      They -- the advertising promotion materials
     12      get sent to DDMAC, and DDMAC, you know,
     13      doesn't send them -- and we read this and
     14      then we okay it.          They just filed it.           And
     15      then they occasionally review.
     16                         But as they see things, for
     17      example, at that meeting I had that some of
     18      the DDMAC people commented in effect they
     19      were just watching TV, and they saw some ads
     20      that they thought were wrong and that
     21      triggered an investigation.
     22              Q.         Who was that?
     23              A.         I don't remember the name of
     24      the people, but I'm not done with my answer.

   Golkow Litigation Services                                              Page 520
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 64 Confidentiality
                                                         of 377. PageID #: 222236
                                                                              Review

      1      You interrupted my answer.
      2                         Do you want me to stop the
      3      answer?
      4              Q.         No.
      5              A.         Okay.     You just wanted to
      6      interrupt the answer?            No problem.
      7                         Sometimes I can't tell whether
      8      you just want to interrupt or whether you
      9      want to stop.
     10              Q.         I'll ask you to stop there and
     11      your answer is incomplete because you're
     12      taking way too long, and we don't have much
     13      time for your 489 opinions in this case.
     14                         MS. CONROY:       Objection.        It was
     15              a four-second stop.
     16              Q.         (BY MR. BLANK)         Can you
     17      describe the --
     18              A.         Was that a question?
     19                         Did you just ask me a question?
     20              Q.         I'm about to.
     21              A.         Oh, okay.      You were just making
     22      a gratuitous comment?            Go right ahead.
     23              Q.         Can you just -- are you
     24      familiar with the DDMAC review process of

   Golkow Litigation Services                                             Page 521
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 65 Confidentiality
                                                         of 377. PageID #: 222237
                                                                              Review

      1      promotional materials?
      2              A.         Yes.
      3              Q.         Do you believe that they review
      4      the promotional materials?
      5              A.         No.    Generally not, maybe
      6      occasionally.        They may take maybe a small
      7      sample, but they don't look at all the ones
      8      that get submitted.
      9              Q.         Do you believe that they're
     10      supposed to review the promotional materials?
     11                         MS. CONROY:       Objection.
     12                         THE WITNESS:        I don't think so.
     13              I think they're -- they're authorized
     14              to review them, but there's no
     15              requirement in the law that they read
     16              them all.
     17              Q.         (BY MR. BLANK)         So do you know
     18      for sure whether they're responsible for
     19      reviewing promotional materials?
     20              A.         Sure, they're responsible for
     21      reviewing them, but that's different from
     22      saying that they review them all.
     23              Q.         Understood.
     24                         Have you ever reported any

   Golkow Litigation Services                                             Page 522
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 66 Confidentiality
                                                         of 377. PageID #: 222238
                                                                              Review

      1      OxyContin promotional activities to the FDA
      2      through the FDA Bad Ad Program?
      3              A.         No.
      4              Q.         Have you reported any other
      5      opioid promotional activities to the FDA
      6      through the FDA's Bad Ad Program?
      7              A.         No.
      8              Q.         Have you reviewed FDA guidance
      9      on pharmaceutical promotion?
     10              A.         Yes.
     11              Q.         Which guidance?
     12              A.         Do you mean by document number?
     13              Q.         Yeah.
     14              A.         I don't recall.
     15              Q.         How about document type?
     16              A.         I'm not sure what you mean by
     17      that.
     18              Q.         When did you last review such
     19      guidance?
     20              A.         I don't know.        Probably in the
     21      last several months.
     22              Q.         Have you reviewed any FDA
     23      guidance on unbranded promotional materials?
     24              A.         Yes.

   Golkow Litigation Services                                             Page 523
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 67 Confidentiality
                                                         of 377. PageID #: 222239
                                                                              Review

      1              Q.         Which ones?
      2              A.         I don't recall.         That was
      3      longer ago.
      4              Q.         Prior to your engagement in
      5      this case?
      6              A.         Oh, yeah.
      7              Q.         What regulations apply to
      8      promotion of prescription drugs?
      9              A.         Do you mean by Code of Federal
     10      Regulations numbers?
     11              Q.         Correct.
     12              A.         I don't know.
     13              Q.         How about by name?
     14              A.         By name?
     15              Q.         Yeah.
     16              A.         I don't know what the current
     17      name is of those regulations.
     18              Q.         Are you familiar with the
     19      regulations that govern the distribution of
     20      branded materials?
     21              A.         I've read them in the past,
     22      yes.
     23              Q.         Okay.     Yeah.     Which -- which
     24      regulations?

   Golkow Litigation Services                                             Page 524
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 68 Confidentiality
                                                         of 377. PageID #: 222240
                                                                              Review

      1              A.         I don't recall.
      2              Q.         You don't --
      3              A.         I don't recall the number or
      4      the name.
      5              Q.         Are you familiar with the
      6      regulations governing non-branded materials?
      7              A.         Same thing.       I've read them.
      8              Q.         Can't --
      9              A.         I don't know the -- I don't
     10      know the name or the number.
     11              Q.         Are you familiar with how the
     12      FDA enforces those regulations?
     13              A.         Yes.
     14              Q.         How do they do it?
     15              A.         They generally don't do it.
     16              Q.         Pardon?
     17              A.         They generally don't do it.
     18                         Why don't we take a quick
     19      break.
     20                         MR. BLANK:       Okay.
     21                         THE VIDEOGRAPHER:          Going off
     22              the record at 10:21 a.m.
     23                         (Recess taken, 10:22 a.m. to
     24              10:41 a.m.)

   Golkow Litigation Services                                             Page 525
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 69 Confidentiality
                                                         of 377. PageID #: 222241
                                                                              Review

      1                         THE VIDEOGRAPHER:          We are back
      2              on the record at 10:42.
      3              Q.         (BY MR. BLANK)         Thank you.
      4      Dr. Egilman, I want to go back to an area we
      5      touched on earlier today, because one of the
      6      questions I asked I got -- I may have been --
      7      misunderstood your answer or you may have
      8      misunderstood my question, so I want to ask
      9      it again.
     10                         And it relates to the questions
     11      that I asked you about whether you had had
     12      any conversations with any prescribers in
     13      Cuyahoga or Summit County, Ohio.
     14                         And the question that I would
     15      like to ask you is whether you have ever
     16      spoken with any prescribers -- strike that.
     17                         Whether you ever asked any
     18      prescribers in Cuyahoga or Summit counties
     19      whether they wrote any medically
     20      unnecessary -- strike that.
     21                         Have you asked any prescribers
     22      from Cuyahoga or Summit County, whether
     23      they've relied on any marketing messages by
     24      any of the defendants in this case in making

   Golkow Litigation Services                                             Page 526
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 70 Confidentiality
                                                         of 377. PageID #: 222242
                                                                              Review

      1      prescription decisions?
      2              A.         No.
      3              Q.         Now, I looked at your CV, and
      4      you did not go to law school; is that
      5      correct?
      6              A.         I did not apply to law school.
      7      I went -- I took two law school courses.
      8              Q.         Do you consider yourself a
      9      legal expert?
     10              A.         Certain areas of the law, yes.
     11              Q.         Do you consider yourself a
     12      legal expert in spoliation?
     13              A.         I know what it is.
     14              Q.         Do you know what the legal
     15      elements of spoliation are?
     16              A.         It's different in different
     17      states.
     18              Q.         What is it in Ohio?
     19              A.         That, I don't know.
     20              Q.         What is it in Massachusetts?
     21              A.         I do not know.
     22              Q.         What is it in Rhode Island?
     23              A.         I do not know.
     24              Q.         Do you know what it is in any

   Golkow Litigation Services                                             Page 527
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 71 Confidentiality
                                                         of 377. PageID #: 222243
                                                                              Review

      1      state?
      2              A.         California.
      3              Q.         The legal elements of
      4      spoliation?
      5              A.         I think so.
      6              Q.         What are they?
      7              A.         That's destroying documents
      8      that should be preserved after you're on
      9      notice that there may be a legal action.
     10              Q.         So the notice is an important
     11      part of any claim of spoliation?
     12              A.         Well, in California, in some
     13      places if you reasonably anticipate
     14      litigation, whether or not there's been
     15      specific notice or not, if you destroy
     16      documents in anticipation of litigation, you
     17      wouldn't need specific notice.
     18                         But, for example, a lawsuit
     19      would be specific notice.
     20              Q.         And do you know whether you're
     21      being offered as a legal expert in this case?
     22              A.         No.
     23              Q.         To your knowledge, are you
     24      being offered as a legal expert in this case?

   Golkow Litigation Services                                             Page 528
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 72 Confidentiality
                                                         of 377. PageID #: 222244
                                                                              Review

      1              A.         No.
      2              Q.         In your report, Dr. Egilman,
      3      you accuse Purdue of destroying documents;
      4      correct?
      5              A.         Correct.
      6              Q.         And I noticed several opinions
      7      in exhibits.        Do you have access to those
      8      exhibits?
      9              A.         Yes.
     10              Q.         Can I ask -- I don't have all
     11      of the copies, but I know you have access.
     12                         MR. BLANK:       Can we pull
     13              Exhibits 88, 162, 278, and 466 and
     14              hand them to Dr. Egilman, please?
     15              Q.         (BY MR. BLANK)         While they're
     16      doing that, Dr. Egilman, have you done any
     17      forensic analysis to determine whether Purdue
     18      has done any spoliation of evidence?
     19                         MS. CONROY:       Objection.
     20                         THE WITNESS:        No.
     21              Q.         (BY MR. BLANK)         Have you done
     22      any forensic analysis to determine whether
     23      any defendant has spoliated evidence?
     24              A.         No.

   Golkow Litigation Services                                             Page 529
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 73 Confidentiality
                                                         of 377. PageID #: 222245
                                                                              Review

      1              Q.         Thank you very much.
      2                         Dr. Egilman, your assistant --
      3      somebody -- has handed you some of the
      4      exhibits I identified.            The first one I'd
      5      like you to look at is Exhibit B88.
      6              A.         I have it.




   Golkow Litigation Services                                             Page 530
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 74 Confidentiality
                                                         of 377. PageID #: 222246
                                                                              Review




   Golkow Litigation Services                                             Page 531
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 75 Confidentiality
                                                         of 377. PageID #: 222247
                                                                              Review




      8              Q.         Would you take a look at
      9      Exhibit 162?
     10              A.         Did you want to mark this or
     11      not?
     12              Q.         No.
     13              A.         Okay.




   Golkow Litigation Services                                             Page 532
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 76 Confidentiality
                                                         of 377. PageID #: 222248
                                                                              Review




   Golkow Litigation Services                                             Page 533
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 77 Confidentiality
                                                         of 377. PageID #: 222249
                                                                              Review




     12              Q.         Can you turn to Exhibit 278.
     13              A.         Okay.
     14              Q.         This is your opinion 278?
     15              A.         Right.
     16              Q.         Titled -- well, it doesn't say
     17      "Opinion" on the top of my page.                 Does it say
     18      "Opinion" on the top of your page?
     19              A.         No.
     20              Q.         Is this an opinion of yours?
     21              A.         Yes.
     22              Q.         So it's an opinion, not a fact?
     23              A.         I think it's both.
     24              Q.         Okay.     But it is your opinion?

   Golkow Litigation Services                                             Page 534
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 78 Confidentiality
                                                         of 377. PageID #: 222250
                                                                              Review

      1              A.         Yes.
      2              Q.         There was Purdue spoliation?
      3              A.         Yes.
      4              Q.         And this is an e-mail with some
      5      red arrows on it; correct?
      6              A.         Correct.
      7              Q.         Are those your red arrows?
      8              A.         Yes.
      9              Q.         And what are you pointing to?




   Golkow Litigation Services                                             Page 535
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 79 Confidentiality
                                                         of 377. PageID #: 222251
                                                                              Review




      4              Q.         And have you done any analysis
      5      of any of the hard drives of any Purdue
      6      employees to determine whether documents were
      7      permanently deleted?
      8              A.         No.    I asked the plaintiffs to
      9      get those hard drives, historically, since
     10      1995, and they didn't get them.
     11              Q.         And is there any other
     12      information produced in this litigation that
     13      would lead you to conclude that documents
     14      were destroyed?
     15              A.         Yes.
     16              Q.         What?
     17              A.         Well, I'm not sure if it was
     18      produced in the litigation, but you see under
     19      278, you have the self-destructing document
     20      e-mail messaging system patented by
     21      Purdue Pharma employees.
     22              Q.         Do you think that --
     23              A.         It seems like that would be a
     24      system that would be set up to routinely

   Golkow Litigation Services                                             Page 536
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 80 Confidentiality
                                                         of 377. PageID #: 222252
                                                                              Review

      1      destroy e-mails and documents.
      2              Q.         And do you believe there was
      3      sinister intent in deleting e-mails?
      4              A.         Well, this patent is in 2007.
      5      In 2007, this company had already pled guilty
      6      to several crimes and been investigated and
      7      been sued in civil litigation.                So I think
      8      there is an obligation for a company to
      9      preserve e-mails after they've been sued and
     10      after they've pled guilty to crimes.
     11              Q.         Well, you --
     12              A.         And so I would say that
     13      planning a system to destroy documents would
     14      not be good intent in that context.
     15              Q.         Have you ever destroyed a
     16      document?
     17              A.         Sure.
     18              Q.         Have you ever deleted an
     19      e-mail?
     20              A.         Sure.
     21              Q.         Have you broken the law by
     22      doing so?
     23              A.         No.
     24              Q.         I want to go back to your --

   Golkow Litigation Services                                             Page 537
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 81 Confidentiality
                                                         of 377. PageID #: 222253
                                                                              Review

      1      some of the questions we asked about your
      2      experience in pain management.
      3                         Have you ever assessed a
      4      patient for pain?
      5              A.         Yes.
      6              Q.         When was the last time?
      7              A.         This week.
      8              Q.         Who?
      9                         Never mind.       Were they a -- I
     10      don't want to know their name.
     11              A.         That's good.        I'm not going to
     12      give you that name.
     13              Q.         And how did you assess the
     14      pain?
     15              A.         I discussed it with them.
     16              Q.         Are you familiar with the pain
     17      scale?
     18              A.         Yes.
     19                         There are various pain scales,
     20      but yes.
     21              Q.         Well, the 1 to 10?
     22              A.         Yes.    There's also 1 to 4.            The
     23      Roth study was a 1 to 4.
     24              Q.         Have you treated patients with

   Golkow Litigation Services                                             Page 538
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 82 Confidentiality
                                                         of 377. PageID #: 222254
                                                                              Review

      1      cancer-related pain?
      2              A.         Yes.
      3              Q.         When was the last time?
      4              A.         Sometime in the probably 2000,
      5      2001 period.
      6              Q.         So roughly 18, 19 years ago?
      7              A.         Right.     I probably supervised
      8      patients who were treated for cancer pain
      9      when I was in family medicine as well.
     10              Q.         Have you --
     11              A.         That would have been in the
     12      last ten years -- last five to ten years.
     13              Q.         Have you treated patients with
     14      chronic non-cancer pain?
     15              A.         Yes.
     16              Q.         Do you currently?
     17              A.         No.
     18              Q.         When was the last time?
     19              A.         Probably regularly when I was
     20      at the clinic, 2001, 2002.
     21              Q.         So around 18 or 19 years ago?
     22              A.         Yes.
     23                         I supervised patients --
     24      supervised patient care when I was in family

   Golkow Litigation Services                                             Page 539
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 83 Confidentiality
                                                         of 377. PageID #: 222255
                                                                              Review

      1      medicine with chronic non-malignant pain
      2      treatments.        But that would have been in the
      3      last three years.
      4              Q.         Have you treated patients for
      5      any sort of addiction?
      6              A.         Yes.
      7              Q.         How many?
      8              A.         Hundreds.      Probably thousands.
      9                         Certainly hundreds.
     10              Q.         Were any of those patients
     11      addicted to opioids?
     12              A.         Some.
     13              Q.         How many?
     14              A.         Not many.      Probably less than a
     15      dozen.
     16              Q.         Sorry, less than a dozen?
     17              A.         Probably.
     18              Q.         And were those -- were those
     19      dozen patients or so addicted to prescription
     20      opioids?
     21              A.         Yes.
     22              Q.         All of them?
     23              A.         Yes.
     24              Q.         When was the last time you've

   Golkow Litigation Services                                             Page 540
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 84 Confidentiality
                                                         of 377. PageID #: 222256
                                                                              Review

      1      treated such a patient?
      2              A.         2001.
      3                         Aside from supervising some
      4      similar patients in family medicine.
      5                         That's supervising the care of,
      6      by supervising residents who were taking care
      7      of similar patients.
      8              Q.         Earlier I think you testified
      9      you had a patient who was addicted to
     10      OxyContin; correct?
     11              A.         Correct.
     12              Q.         Is this the -- was there only
     13      one?    Or was there more than one?
     14              A.         I can only recall one, but
     15      there may have been more.              They were -- it
     16      looks like from the IMS data, there may have
     17      been two, but I can only recall one.
     18              Q.         And was that patient that you
     19      can recall, was he or she taking OxyContin as
     20      prescribed?
     21              A.         I don't know.        I suspected not.
     22              Q.         Do you have any records
     23      relating to that patient?
     24              A.         All the ones I have are the

   Golkow Litigation Services                                             Page 541
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 85 Confidentiality
                                                         of 377. PageID #: 222257
                                                                              Review

      1      ones Purdue gave me.
      2              Q.         On the patient record?
      3              A.         On the IMS data that Purdue
      4      illegally used in my deposition.
      5              Q.         And you don't have any
      6      professional records of treating that
      7      patient?
      8              A.         Correct.
      9              Q.         Destroyed?
     10              A.         I don't know.        I don't work at
     11      the -- I sold the clinic 2002, and I don't
     12      know what happened to the records.
     13                         The records were part of the
     14      sale.
     15              Q.         What is iatrogenic addiction?
     16              A.         Caused by medical care.
     17              Q.         What is the risk of iatrogenic
     18      addiction resulting from prescription opioid
     19      use?
     20              A.         There's no single answer to
     21      that question.
     22              Q.         Can you quantify it?
     23              A.         Well, it's not quantifiable as
     24      asked.     There are a variety of situations and

   Golkow Litigation Services                                             Page 542
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 86 Confidentiality
                                                         of 377. PageID #: 222258
                                                                              Review

      1      settings where doctors prescribing drugs can
      2      result in addiction.
      3                         I can quantify it in different
      4      settings.       There's not good data for most --
      5      there's no long -- there's no epidemiologic
      6      studies that are of reasonable quality that
      7      look at that question under any settings, but
      8      there's a variety of reports -- mostly case
      9      reports, sometimes clinical series -- that
     10      look at that issue in various populations.
     11              Q.         Do you currently prescribe
     12      opioids to any patients?
     13              A.         No.
     14              Q.         Have you ever prescribed
     15      OxyContin?
     16              A.         Yes.    In your IMS data that you
     17      provided.
     18              Q.         And when was the last time?
     19              A.         Probably in that IMS data.
     20              Q.         From 2001?
     21              A.         Correct.
     22              Q.         Not since?
     23              A.         Not since.
     24                         And the 2002 data is not mine,

   Golkow Litigation Services                                             Page 543
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 87 Confidentiality
                                                         of 377. PageID #: 222259
                                                                              Review

      1      just to be clear.
      2                         MR. BLANK:       Dr. Egilman, my
      3              colleague Jenna Newmark is going to
      4              ask you some questions about your
      5              specific opinions.
      6                              EXAMINATION
      7      BY MS. NEWMARK:
      8              Q.         Hi, Dr. Egilman.          I'm
      9      Jenna Newmark from Dechert.               I am Tim's
     10      colleague on behalf of Purdue.                I'm going to
     11      ask you some questions about -- specifically
     12      let's start with your report.
     13                         Can you please turn to page 53
     14      of what's been marked as Exhibit 1F?
     15              A.         Okay.
     16              Q.         Okay.     And it says at the top
     17      there, "In 2004, I warned about the crisis; I
     18      was ignored."
     19                         Did I read that correctly?
     20              A.         You did.
     21              Q.         Is that one of your opinions
     22      that you intend to offer in this case?
     23              A.         Yes.
     24                         Well, it's -- excuse me.             It's

   Golkow Litigation Services                                             Page 544
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 88 Confidentiality
                                                         of 377. PageID #: 222260
                                                                              Review

      1      an opinion I have offered in this case.
      2              Q.         And you testified earlier that
      3      these are opinions that you gave in prior
      4      cases; right?
      5                         MS. CONROY:       Objection.
      6                         THE WITNESS:        Do you mean the
      7              following pages?          Yes.
      8              Q.         (BY MS. NEWMARK)          Yes.
      9              A.         That go with No. 6?           Yes.
     10              Q.         Would that be pages 53 to 61?
     11              A.         Right.
     12                         There's more too, but that's
     13      what I put in here.
     14              Q.         What do you mean "There's
     15      more"?
     16              A.         Well, I gave deposition
     17      testimony.       There were other reports.              I
     18      retyped this section of one of the early
     19      reports and put it in as this opinion,
     20      because there were other things that I told
     21      Purdue during that case -- during the three
     22      cases I consulted on with respect to their
     23      marketing practices with respect to
     24      OxyContin.

   Golkow Litigation Services                                             Page 545
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 89 Confidentiality
                                                         of 377. PageID #: 222261
                                                                              Review

      1              Q.         So what's on pages 53 to 61
      2      were in prior words that you submitted in
      3      prior cases involving Purdue; right?
      4              A.         Correct.
      5              Q.         Did those include the Taylor
      6      and the Freund cases?
      7              A.         I can't remember the case
      8      names.
      9              Q.         Okay.     But they're from 2004;
     10      right?
     11              A.         I think so.
     12              Q.         And these are all opinions that
     13      you formed in or before 2004?
     14              A.         Yes.
     15              Q.         And these are the exact
     16      opinions that you rendered in 2000 -- in or
     17      around 2004?
     18                         MS. CONROY:       Objection.
     19                         THE WITNESS:        This is some of
     20              the retyped version of the opinions
     21              that I'd offered in 2004.
     22                         I mean, this document actually
     23              is -- was produced by Purdue in the
     24              production.        In addition to this, I

   Golkow Litigation Services                                             Page 546
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 90 Confidentiality
                                                         of 377. PageID #: 222262
                                                                              Review

      1              have PowerPoints that were produced in
      2              production.        My deposition, Purdue
      3              produced in production.              So all these
      4              documents, and there are other reports
      5              from other cases that Purdue produced
      6              in production so they have them.
      7              Q.         (BY MS. NEWMARK)          What
      8      materials did you rely upon for the opinions
      9      that appear on pages 53 to 61?
     10              A.         I think they're all -- all the
     11      cites are in.
     12              Q.         So is it only what's in the
     13      footnotes?
     14              A.         No, it's probably more.             I
     15      reviewed many, many more things.                 But I think
     16      I have a cite here for more or less every
     17      sentence.       There may have been other
     18      supporting documents that also supported
     19      those facts that were the bases of my opinion
     20      in 2004.
     21              Q.         And what do you mean by, quote,
     22      in 2004, I warned about the crisis?
     23              A.         I mean, in 2000 --
     24                         Do you want to know what I

   Golkow Litigation Services                                             Page 547
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 91 Confidentiality
                                                         of 377. PageID #: 222263
                                                                              Review

      1      mean?
      2              Q.         Yes.
      3              A.         Okay.     That's not a yes-or-no
      4      question.       You're aware of that?
      5              Q.         What do you mean by "In 2004, I
      6      warned about the crisis"?
      7              A.         Okay.     Do you want the short
      8      answer or the long answer?
      9              Q.         I'd like you to please give me
     10      an answer in accordance with Special Master
     11      Cohen's directive yesterday.
     12                         MS. CONROY:       Objection.        Then
     13              you better state what that directive
     14              is, because I think we understand it,
     15              but I'm not sure you do.
     16              Q.         (BY MS. NEWMARK)          Dr. Egilman,
     17      what do you mean by "In 2004, I warned about
     18      the crisis"?
     19              A.         Okay.     My understanding, given
     20      your admonition of Special Master Cohen's
     21      ruling, was that you can cut me off anytime
     22      you want once I start answering a question.
     23                         So that's -- and that's how
     24      I'll answer the question.              But then I'm

   Golkow Litigation Services                                              Page 548
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 92 Confidentiality
                                                         of 377. PageID #: 222264
                                                                              Review

      1      otherwise allowed to answer --
      2              Q.         Dr. Egilman, I just asked you a
      3      question.       "In 2004, I warned about the
      4      crisis."      What do you mean by that?
      5              A.         Okay.     I mean that I told
      6      Purdue Pharma the following facts and
      7      opinions.
      8                         And the first paragraph, "The
      9      drug was originally marketed for managing
     10      severe pain; however, Purdue aggressively
     11      marketed OxyContin through an advertising
     12      campaign" --
     13              Q.         Okay, Dr. Egilman, we have the
     14      report in front of us, so I'm going to note
     15      that your answer is incomplete.
     16                         Is it fair to say that --
     17                         MS. CONROY:       I object to the
     18              way this questioning is going.                 Go
     19              right ahead, but that's not the way
     20              the Special Master intended
     21              interruptions to take place.
     22              Q.         (BY MS. NEWMARK)          What do you
     23      mean by "crisis"?
     24              A.         I mean that there were -- well,

   Golkow Litigation Services                                             Page 549
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 93 Confidentiality
                                                         of 377. PageID #: 222265
                                                                              Review

      1      yeah.     This is what I mean by crisis.
      2                         So you've got OxyContin
      3      prescriptions going up, and you have
      4      concomitantly addiction going up, and deaths
      5      going up.       And that that started when
      6      OxyContin's marketing entered.
      7                         In addition to that, you have
      8      the generation of a variety of pill mills
      9      that Purdue promoted and allowed to occur,
     10      resulting in the dispersion of OxyContin
     11      throughout the population with and without
     12      prescriptions.
     13                         And that as a result of
     14      Purdue's actions, OxyContin was overused by
     15      the medical community and people got addicted
     16      and died.       And that that became a crisis
     17      because the number of people who were
     18      addicted and died increased dramatically once
     19      Purdue began its marketing campaign.
     20              Q.         And, Dr. Egilman, you just
     21      pulled out a chart.           May I see the chart,
     22      please?
     23                         Is this a chart that you
     24      created?

   Golkow Litigation Services                                             Page 550
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 94 Confidentiality
                                                         of 377. PageID #: 222266
                                                                              Review

      1              A.         No.
      2              Q.         Is this a chart that you showed
      3      Purdue in 2004?
      4              A.         No.
      5              Q.         All of these opinions on page
      6      53 to 61 which you've testified were opinions
      7      that you rendered in 2004, did you give those
      8      opinions to the FDA?
      9              A.         No.    I was not allowed.           There
     10      was a confidentiality order in the case.
     11              Q.         Did you give those opinions to
     12      the DEA?
     13              A.         Same answer.        I was not
     14      allowed.      There was a confidentiality order
     15      in the case.        And I had already gotten in
     16      trouble for releasing documents under a
     17      confidentiality order at the time I came in
     18      possession of these documents.
     19              Q.         In 2004, did you have concerns
     20      about opioid prescribing generally?
     21              A.         Yes.
     22              Q.         Apart from things that you
     23      learned over the course of the cases that you
     24      worked on?

   Golkow Litigation Services                                             Page 551
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 95 Confidentiality
                                                         of 377. PageID #: 222267
                                                                              Review

      1              A.         Yes.
      2              Q.         And did you describe those
      3      concerns apart from the cases that you worked
      4      on to the FDA?
      5              A.         No.    Those concerns were based
      6      on publicly available information.
      7              Q.         Did you tell the FDA at all
      8      that you were concerned based on the publicly
      9      available information?
     10              A.         Not -- no.
     11              Q.         So you only expressed those
     12      concerns when you were retained by
     13      plaintiffs' counsel; correct?
     14              A.         No.
     15                         MS. CONROY:       Objection.
     16                         THE WITNESS:        I only expressed
     17              those concerns when I got the
     18              documents that indicated how Purdue
     19              was illegally marketing and promoting
     20              the use of its drugs and causing
     21              overuse of those drugs.
     22              Q.         (BY MS. NEWMARK)          Let's look at
     23      paragraph 1 on page 53.             The fifth line down
     24      begins a sentence almost toward -- after the

   Golkow Litigation Services                                             Page 552
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 96 Confidentiality
                                                         of 377. PageID #: 222268
                                                                              Review

      1      bolded part, reading "However, Purdue Pharma
      2      aggressively marketed OxyContin through an
      3      advertising campaign that misled health
      4      providers and the public about the dangers of
      5      OxyContin."
      6                         Did I read that right?
      7              A.         You did.
      8              Q.         And when you say "Purdue Pharma
      9      aggressively marketed OxyContin," what do you
     10      mean by "aggressive"?
     11              A.         Well, I think that probably a
     12      lot of that is in the next five or six pages
     13      here, but some things may not have been
     14      included here.
     15                         They had a very large sales
     16      force.     They encouraged the sales force to
     17      tell physicians that the addiction rates were
     18      low, less than 1%.           They encouraged the sales
     19      force to use the drug for chronic
     20      non-malignant pain which was not an
     21      indication in the label.
     22                         They encouraged the sales force
     23      to increase the dosing so that profits would
     24      increase.       So they wanted it as a specific

   Golkow Litigation Services                                             Page 553
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 97 Confidentiality
                                                         of 377. PageID #: 222269
                                                                              Review

      1      program to get people to switch to
      2      80 milligrams.
      3                         They aggressively misled the
      4      physician community about Q12 dosing.                   And
      5      that Q12 dosing by itself was an
      6      addiction-generating machine.
      7                         So those are -- those are some
      8      of the things that they did that were
      9      aggressive.
     10                         They also off-label marketed.
     11      They were cited for some of that off-label
     12      marketing by the FDA, and then pled guilty
     13      to -- well, actually, the non-functioning
     14      entity subsidiary pled guilty to criminal
     15      conduct for the acts of the parents, and that
     16      the pleadings indicated a variety of other
     17      specific aggressive marketing techniques that
     18      were used to mislead information and
     19      encourage prescribing.
     20                         They were aware of pill mills,
     21      and they didn't do anything to stop pill
     22      mills from prescribing.             They didn't have any
     23      suspicious order monitoring program.
     24                         For example, when Seid found

   Golkow Litigation Services                                              Page 554
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 98 Confidentiality
                                                         of 377. PageID #: 222270
                                                                              Review

      1      that ordering increased dramatically, he
      2      would review --
      3              Q.         Dr. Egilman, I asked you how
      4      you defined aggressive.             So I move to strike
      5      everything from 88:15 on.
      6                         And I'll note that your answer
      7      is incomplete.
      8                         How do you define "aggressive"?
      9              A.         In this case I defined it by
     10      the acts that I just started to try to
     11      describe.
     12              Q.         And you talked earlier about
     13      the size of Purdue's sales force.                 How big
     14      was Purdue's sales force at the launch of
     15      OxyContin?
     16              A.         I think I've got a sales force
     17      overtime document on that that I've seen.                     I
     18      think probably 2 or 300 at the beginning,
     19      something like that.
     20              Q.         Have you ever done any analysis
     21      of Purdue's sales force as compared to the
     22      sales forces of other manufacturers of
     23      Schedule II narcotics at around the same time
     24      period?

   Golkow Litigation Services                                             Page 555
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-2
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 99 Confidentiality
                                                         of 377. PageID #: 222271
                                                                              Review

      1              A.         No.
      2              Q.         Have you ever done any analysis
      3      comparing sales practices of OxyContin to
      4      sales practices and marketing practices of
      5      manufacturers of other opioids at around the
      6      same time period?
      7              A.         Yes.
      8              Q.         And what analysis was that?
      9              A.         Well, I reviewed the sales
     10      practices of a lot of the other companies
     11      involved in litigation.
     12                         For example, Roxane, which had
     13      a similar drug, kind of approved in 1998 but
     14      not sold, and then approved again and sold in
     15      2000, 2001.        And they didn't have, as I
     16      recall, a very aggressive marketing program.
     17      They didn't have any advertisements in JAMA
     18      that were illegal, for example, or in any
     19      other medical magazines I can recall.
     20                         The only narcotic
     21      advertisements that I can recall seeing
     22      during that time period were Purdue Pharma
     23      advertising in journals.             I don't recall any
     24      other pharmaceutical company with opioid

   Golkow Litigation Services                                             Page 556
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further100Confidentiality
                                                           of 377. PageID #: 222272
                                                                               Review

      1      marketing programs in the general medical
      2      journals that I subscribed to.
      3               Q.        Have you done any quantitative
      4      analysis comparing the sales practices,
      5      including the size of the sales force of
      6      Purdue, for OxyContin at the launch of
      7      OxyContin to other manufacturers of
      8      Schedule II narcotics at around the same
      9      time?
     10               A.        No, but that's difficult to do
     11      because Purdue is relatively unique in
     12      that --
     13               Q.        Dr. Egilman, I asked you a
     14      yes-or-no question, and you answered no.                      So
     15      we'll move on.
     16                         MS. CONROY:        Objection.
     17                         THE WITNESS:         Great.     Just note
     18               that my answer was incomplete.
     19                         MS. NEWMARK:         I'll note that
     20               your answer was incomplete.
     21               Q.        (BY MS. NEWMARK)           You also
     22      referred to, on page 53, paragraph 1, a
     23      marketing piece that Purdue developed called
     24      "Myths About Opioids"; correct?

    Golkow Litigation Services                                             Page 557
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further101Confidentiality
                                                           of 377. PageID #: 222273
                                                                               Review

      1               A.        Correct.
      2               Q.        And you criticized that piece,
      3      "Myths About Opioids"; correct?
      4               A.        Yes.
      5               Q.        And in general, I'm going to
      6      sum, in the interest of time, you think that
      7      it was misleading; correct?
      8               A.        I certainly agree that it was
      9      misleading, among other things.




    Golkow Litigation Services                                             Page 558
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further102Confidentiality
                                                           of 377. PageID #: 222274
                                                                               Review




     11               Q.        And is this a submission for
     12      the "Myths About Opioids" brochure to the FDA
     13      pursuant to 2253?
     14               A.        It is.
     15               Q.        So through the 2253 process,
     16      the FDA is to review these submissions;
     17      correct?
     18                         MS. CONROY:        Objection.
     19                         THE WITNESS:         No.
     20               Q.        (BY MS. NEWMARK)           What is your
     21      understanding of the 2253 process?
     22               A.        The companies have to submit
     23      them to the FDA.           The FDA looks at a
     24      teeny-weeny portion of them, and evaluates

    Golkow Litigation Services                                             Page 559
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further103Confidentiality
                                                           of 377. PageID #: 222275
                                                                               Review

      1      them.
      2                         Generally they only evaluate
      3      for critical review advertisements where one
      4      company squeals on another company and
      5      complains about its illegal marketing based
      6      on the -- based on the marketing campaign
      7      that results.
      8               Q.        Has the FDA ever issued any
      9      sort of official statement saying that it
     10      only reviews a small portion, or in your
     11      words a teeny-weeny portion, of the 2253
     12      submissions it receives?
     13               A.        I think Gottlieb said something
     14      like that in a public statement when he was
     15      talking about opioids.
     16                         That's all I can recall from
     17      the FDA per se.
     18               Q.        And that wasn't in -- that
     19      wasn't in 1996, was it?
     20               A.        No.




    Golkow Litigation Services                                             Page 560
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further104Confidentiality
                                                           of 377. PageID #: 222276
                                                                               Review




      3                         MS. CONROY:        Objection.
      4                         THE WITNESS:         Everybody in the
      5               business knows the FDA doesn't look at
      6               them.     It doesn't have the staff to
      7               look at them.         In 2004, they had six
      8               people to do all the reviews of 30 to
      9               50,000 submissions.
     10               Q.        (BY MS. NEWMARK)           Well, you
     11      don't know what the expectation was of Purdue
     12      or any pharmaceutical company with respect to
     13      what the FDA would or wouldn't do; right?
     14               A.        That's not true.
     15               Q.        Are you aware that the FDA can
     16      tell a pharmaceutical company not to use
     17      certain marketing materials if the FDA
     18      believes those marketing materials are
     19      misleading?
     20               A.        Yes.




    Golkow Litigation Services                                             Page 561
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further105Confidentiality
                                                           of 377. PageID #: 222277
                                                                               Review

      1               Q.        Let's move on to paragraph
      2      of -- on page 53 of Exhibit 1F.
      3                         You state in this paragraph
      4      that you reviewed the Physicians' Desk
      5      Reference; correct?
      6               A.        Correct.
      7               Q.        And that was for OxyContin?
      8               A.        Correct.
      9               Q.        What's a Physicians' Desk
     10      Reference?
     11               A.        It's a compilation of
     12      FDA-approved labels that are mailed to all
     13      practicing physicians in the country for
     14      free.
     15                         But in order to get into the
     16      PDR, the company has to pay for the space.
     17      So it doesn't include all labels.
     18               Q.        And in paragraph 3 you said
     19      that you reviewed the product labeling for
     20      OxyContin from 1999 to 2001; right?
     21               A.        Correct.
     22               Q.        Why did you review the labeling
     23      only from 1999 to 2001?
     24                         MS. CONROY:        Objection.

    Golkow Litigation Services                                             Page 562
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further106Confidentiality
                                                           of 377. PageID #: 222278
                                                                               Review

      1                         THE WITNESS:         Because that's
      2               when I started to consider using the
      3               drug.
      4               Q.        (BY MS. NEWMARK)           Have you ever
      5      seen the initial label for OxyContin?
      6               A.        In 1996?       Yes.
      7               Q.        Have you reviewed that label in
      8      detail?
      9               A.        Yes.
     10                         MS. NEWMARK:         I'm going to mark
     11               as Exhibit 33.
     12                         (Whereupon, Deposition Exhibit
     13               Egilman 33, OTHER/OxyContin Tablets
     14               NDA #20-553, PDD1501603661-1501603669,
     15               was marked for identification.)
     16               Q.        (BY MS. NEWMARK)           Dr. Egilman,
     17      do you recognize this document that's been
     18      marked as Exhibit 33?
     19               A.        Yes.
     20               Q.        And what is it?
     21               A.        It's the initial approved
     22      label --
     23               Q.        And you --
     24               A.        -- for OxyContin.

    Golkow Litigation Services                                             Page 563
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further107Confidentiality
                                                           of 377. PageID #: 222279
                                                                               Review

      1               Q.        And you said that you've
      2      reviewed this before; right?
      3               A.        Correct.
      4               Q.        Are you aware that the FDA must
      5      approve all labels for prescription drugs?
      6               A.        It's a negotiated process and
      7      final approval has to be done by the FDA.
      8               Q.        And the negotiated process can
      9      sometimes take a long time; right?
     10               A.        Yes.
     11               Q.        Do you know why the process
     12      takes a long time?
     13               A.        Yes.
     14               Q.        Why is that?
     15               A.        Because generally the companies
     16      want language that's favorable to them that
     17      minimizes side effects and enhances benefits,
     18      and the FDA doesn't agree and they have a
     19      struggle about that.            The company wants to be
     20      able to use a label as favorable to them as
     21      possible with respect to how much money they
     22      can make using the label to sell the
     23      products.
     24               Q.        And you testified yesterday

    Golkow Litigation Services                                             Page 564
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further108Confidentiality
                                                           of 377. PageID #: 222280
                                                                               Review

      1      that someone needs a prescription from a
      2      doctor to obtain prescription opioids;
      3      correct?
      4                         Legally; correct?
      5               A.        Legally, correct.
      6               Q.        And would you agree that the
      7      doctor serves as the learned intermediary, to
      8      use a legal term, between the drug company
      9      and the patient receiving the pharmaceutical?
     10                         MS. CONROY:        Objection.
     11                         THE WITNESS:         No.    Not in these
     12               cases.
     13               Q.        (BY MS. NEWMARK)           In general,
     14      do you agree --
     15                         MS. CONROY:        Objection.
     16               Q.        (BY MS. NEWMARK) -- that the
     17      doctor serves as the person who's supposed to
     18      use their judgment to decide whether a drug
     19      is beneficial for the patient receiving it?
     20                         MS. CONROY:        Objection.
     21                         THE WITNESS:         I wouldn't put it
     22               exactly that way, no.
     23               Q.        (BY MS. NEWMARK)           For any drug,
     24      would you agree that a doctor is supposed to

    Golkow Litigation Services                                             Page 565
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further109Confidentiality
                                                           of 377. PageID #: 222281
                                                                               Review

      1      know what is in the label for any drug that
      2      they're prescribing?
      3               A.        Can't happen.         It's not
      4      possible.       Not -- it's not possible.               It may
      5      be a supposed to, but it's not possible.
      6               Q.        Well, when you -- strike that.
      7                         You said that you've treated
      8      patients in the past; right?
      9               A.        Yes.
     10               Q.        And you've prescribed them
     11      drugs; right?
     12               A.        Yes.
     13               Q.        And for the drugs that you
     14      prescribed, did you know what was in the
     15      label for those drugs?
     16               A.        For -- in a general way?              Yes.
     17      Did I --
     18                         These labels are usually 6-type
     19      print and, you know, 15 to 20 pages.                    So I
     20      wouldn't know everything that was in them.
     21      When I was writing the prescription, I would
     22      generally refer, first, look at the black
     23      box.     Then you look at the dose.               Then you
     24      look at the indication.              And you look at the

    Golkow Litigation Services                                              Page 566
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further110Confidentiality
                                                           of 377. PageID #: 222282
                                                                               Review

      1      major -- the contraindications, warnings.
      2                         You certainly generally
      3      wouldn't look at the long list that used to
      4      be in the label of adverse events reported
      5      during the studies.            Most people ignore that
      6      section.       It's appropriate, probably, to
      7      ignore that section.
      8                         So, you know, you look at some
      9      parts of the label.
     10                         You know, it takes you more
     11      than 15 minutes to read this label.                   Maybe
     12      more than a half an hour to read it.                    And
     13      actually, probably take more than a half an
     14      hour to read this label.              Most physicians
     15      have 10 to 15 minutes per patient.                   Some
     16      patients may get -- most patients get more
     17      than one drug.          So you don't spend three
     18      hours with each patient reviewing the label
     19      every time you give them a drug.
     20               Q.        But you were saying you
     21      don't -- just because you don't review the
     22      full label doesn't mean doctors shouldn't
     23      review the full label; right?
     24               A.        I don't know any physician who

    Golkow Litigation Services                                             Page 567
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further111Confidentiality
                                                           of 377. PageID #: 222283
                                                                               Review

      1      I've ever spoken to who's has read the full
      2      label on every drug they've -- on any drug
      3      they've written when they write the drug.
      4      And you've got to remember, unless you do
      5      that, you're not necessarily reading the
      6      right label because these labels can change
      7      during the year.
      8                         So if I'm reading a PDR from
      9      this year, there may have been an update sent
     10      by mail for one or more of the drugs in there
     11      that I may be using.            There's no way to fit
     12      that in.
     13                         If it's not a drug I use often,
     14      I'm not going to read it, if it's a drug that
     15      I may use that drug during the year.                    So
     16      that's what the real practice of medicine is.
     17               Q.        Have you taken any surveys of
     18      any doctors in Cuyahoga or Summit County and
     19      asked them how much of a label they review?
     20               A.        No.
     21               Q.        Let's turn back to Exhibit 1F.
     22                         Let's turn to pages 53 and 54.
     23                         Starting on page -- on page 53,
     24      paragraph 3, and then continuing on to 54,

    Golkow Litigation Services                                             Page 568
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further112Confidentiality
                                                           of 377. PageID #: 222284
                                                                               Review

      1      you list a number of omissions and
      2      misrepresentations that you think that Purdue
      3      either omitted from or misrepresented from
      4      the label; right?
      5               A.        Correct.
      6               Q.        And what's the basis for your
      7      opinion -- strike that.
      8                         Let's start with the omissions,
      9      towards the top of page 54.
     10               A.        I'm there.
     11               Q.        You list four omissions, A, B,
     12      C, and D; right?
     13               A.        Correct.
     14               Q.        What is the basis for your
     15      opinion that A, B, C, and D should have been
     16      included in the label for OxyContin?
     17               A.        Prior drug addiction is a --
     18      should be listed as a contraindication.                     I
     19      think there's literature that shows a prior
     20      drug addiction is a contraindication to the
     21      use of opioids.
     22                         And so that's my basis for
     23      that.     I don't think that's very
     24      controversial.

    Golkow Litigation Services                                               Page 569
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further113Confidentiality
                                                           of 377. PageID #: 222285
                                                                               Review

      1                         Second one --
      2                         Did you just ask for the first
      3      one?
      4               Q.        Well, we --
      5               A.        I mean --
      6               Q.        Let's do --
      7               A.        Oh, you asked for all four.                So
      8      do you want to go to the next one now?
      9               Q.        Let's -- I'll take your answer
     10      for A.
     11                         Let's go to B, "Purdue failed
     12      to include the risk of addiction in the
     13      label's warning or precautions section."
     14                         Did I read that right?
     15               A.        You did.
     16               Q.        Let's turn back to the 1996
     17      label for OxyContin that I showed you as
     18      Exhibit 33.
     19               A.        Okay.
     20               Q.        And if you turn to the third
     21      page, PDD1501603663.            When you flip the page,
     22      it will be facing you.
     23               A.        Got it.
     24               Q.        And can you please read to me

    Golkow Litigation Services                                             Page 570
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further114Confidentiality
                                                           of 377. PageID #: 222286
                                                                               Review

      1      what it says, third line down from the very
      2      top?
      3               A.        "Cmax the extent of absorption
      4      AUC.     See table 1 below"?
      5               Q.        From the very, very top.
      6      Sorry.
      7                         Starting underneath the line.
      8      Then there's three lines of text?
      9               A.        Oh, okay.       It says "OxyContin
     10      10 milligrams, 20 milligrams, 40 milligrams.
     11      Oxycodone hydrochloride controlled release.
     12      Warning:       May be habit-forming."
     13               Q.        But you think there's no risk
     14      of addiction in the label itself that should
     15      have been in there?
     16               A.        Right.      I mean, "Warning:           May
     17      be habit-forming" goes with bubble gum.                     I
     18      have a big tub of bubble gum in my office,
     19      it's habit-forming.            It's not addicting, but
     20      it's habit-forming.            A habit is not an
     21      addiction.
     22               Q.        But that's your opinion?
     23               A.        That a habit is not an
     24      addiction?        I agree.      I have a habit of

    Golkow Litigation Services                                               Page 571
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further115Confidentiality
                                                           of 377. PageID #: 222287
                                                                               Review

      1      getting up in the morning and exercising.
      2      I'm not addicted to it, unfortunately.
      3               Q.        Let's --
      4               A.        I have a lot of other bad
      5      habits too.        Probably we can leave that one
      6      as an opinion not finished.
      7               Q.        Let's turn to page
      8      PDD1501603667.
      9               A.        667?
     10               Q.        Yes.
     11               A.        Okeydokey.
     12               Q.        Let's go to the middle of the
     13      page where it says "Drug abuse and
     14      dependence."
     15               A.        Right.
     16               Q.        What does it say in
     17      parentheses?
     18               A.        "Addiction."
     19               Q.        And then can you please read
     20      the first sentence?
     21               A.        "OxyContin is a mu agonist
     22      opioid with an abuse liability similar to
     23      morphine and is a Schedule II controlled
     24      substance."

    Golkow Litigation Services                                             Page 572
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further116Confidentiality
                                                           of 377. PageID #: 222288
                                                                               Review

      1               Q.        What's a Schedule II controlled
      2      substance?
      3               A.        It's a narcotic that's labeled
      4      Schedule II which means it has specific
      5      requirements for distribution from a
      6      manufacturer's standpoint.               It's got to be
      7      locked vaults, et cetera.               And at the
      8      patient-physician level, usually there's a --
      9      you have to do a specific -- now you'd have
     10      limitations on how many pills you can give
     11      and triple prescription writing and things
     12      like that.
     13               Q.        And --
     14               A.        But that wasn't true when I was
     15      practicing necessarily.              So in the initial
     16      time when I was practicing, you could write a
     17      Schedule II on a regular prescription.                     But
     18      that's because I'm an old person.
     19               Q.        Is it one of the features of a
     20      Schedule II drug that it does have abuse
     21      potential?
     22               A.        Sure.
     23               Q.        And what you just read, the
     24      sentence underneath "Drug abuse and

    Golkow Litigation Services                                             Page 573
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further117Confidentiality
                                                           of 377. PageID #: 222289
                                                                               Review

      1      dependence," isn't that a warning relating to
      2      addiction?
      3               A.        Doesn't say warning.
      4               Q.        Does it have to say warning to
      5      be a warning?
      6               A.        It's awful helpful to say
      7      warning when it's a warning.                And it's also
      8      substantively wrong.            It's misleading on its
      9      face.
     10                         And intentionally misleading on
     11      its face.
     12               Q.        Dr. Egilman, I'm going to move
     13      to strike that entire answer.                 I asked you a
     14      yes-or-no question.
     15                         Does it have to say warning to
     16      be a warning?
     17               A.        What's "it" refer to?
     18               Q.        Does what we read -- just read
     19      in the label have to be -- have to say
     20      warning to be a warning?
     21               A.        Yes, a warning has -- is
     22      specific language in the context of an FDA
     23      label.      It has a specific meaning, and it
     24      must be there to -- for that purpose.                    It's a

    Golkow Litigation Services                                             Page 574
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further118Confidentiality
                                                           of 377. PageID #: 222290
                                                                               Review

      1      specific requirement to put a warning in.
      2      It's a negotiated process, and it has to be
      3      there.
      4                         In this context, in order to be
      5      a warning, it must start with the word
      6      "warning."
      7               Q.        You -- on page 54, paragraph 3,
      8      Section D, you also state "Purdue failed to
      9      list any of the symptoms of opioid
     10      withdrawal."
     11                         Did I read that right?
     12               A.        Right.
     13               Q.        Let's turn to page -- and I'll
     14      shorten it -- 3665 in Exhibit 33.
     15               A.        Okay.
     16               Q.        Can you please read for me
     17      the -- starting from the very, very bottom of
     18      the second column.           Starting at "Physical
     19      dependence."
     20               A.        "Tolerance and physical
     21      dependence"?
     22               Q.        And please read for me the
     23      second-to-last line in that column for the
     24      record.

    Golkow Litigation Services                                             Page 575
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further119Confidentiality
                                                           of 377. PageID #: 222291
                                                                               Review

      1               A.        "Tolerance to the analgesic
      2      effect of opioid" --
      3               Q.        The -- the second-to-last
      4      sentence in that column at the bottom.
      5               A.        I was reading the -- I was
      6      reading second-to-the-last sentence.
      7               Q.        Starting --
      8               A.        The last sentence starts
      9      "Physical dependence."
     10               Q.        I'm sorry, "Physical
     11      dependence," the second-to-the-last line?
     12               A.        I was reading -- the
     13      second-to-the-last line starts with
     14      "Tolerance."
     15               Q.        Beneath that.
     16               A.        That's the last line.
     17               Q.        The last line.          "Physical
     18      dependence."
     19               A.        Okay.     "Physical dependence
     20      results" -- remember, I was challenged on my
     21      English reading ability.
     22               Q.        Okay.
     23               A.        "Physical dependence results in
     24      withdrawal symptoms in patients who abruptly

    Golkow Litigation Services                                             Page 576
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further120Confidentiality
                                                           of 377. PageID #: 222292
                                                                               Review

      1      discontinue a drug or may be prescribed
      2      through the administration of drugs with
      3      opioid antagonist activity, open parenthesis,
      4      see overdosage, all caps, closed parenthesis,
      5      period."
      6               Q.        Please keep reading.
      7               A.        "If OxyContin is abruptly
      8      discontinued in a physically dependent
      9      patient, an abstinence syndrome may occur.
     10      This is characterized by some or all of the
     11      following:        Restlessness, lacrimation,
     12      rhinorrhea, yawning, respiration [sic],
     13      chills, myalgia and mydriasis."
     14               Q.        Okay.
     15               A.        "Other symptoms may also
     16      develop including:           Irritability, anxiety,
     17      backache, joint pain, weakness, abdominal
     18      cramps, insomnia, nausea, anorexia, vomiting,
     19      diarrhea, or increased blood pressure,
     20      respiratory rate, or heart rate.                  If signs
     21      and symptoms of withdrawal occur, patients
     22      should be treated by reinstitution of opioid
     23      therapy followed by a gradual tapered dose
     24      reduction of OxyContin combined with

    Golkow Litigation Services                                             Page 577
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further121Confidentiality
                                                           of 377. PageID #: 222293
                                                                               Review

      1      symptomatic support, open parenthesis, see
      2      dosage administration in all caps, cessation
      3      of therapy, closed parenthesis."
      4               Q.        Okay.     Dr. Egilman, what you
      5      just read there, aren't those signs and
      6      symptoms of withdrawal?
      7               A.        They are.
      8               Q.        And yet on page 54, under
      9      omissions D, you say failed -- "Purdue failed
     10      to list any of the symptoms of opioid
     11      withdrawal"; right?
     12               A.        Correct.
     13               Q.        So is that statement D wrong?
     14               A.        Yes.
     15                         She went to Brown.           Very good.
     16      She didn't take my course.               She would have
     17      been better.
     18               Q.        Move to strike that.
     19                         Part of that.         The second part.
     20                         Okay.     On page 54, you also
     21      list in the middle of the page -- at page 54
     22      of Exhibit 1, you also list in the middle of
     23      the page "Misrepresentations"; right?
     24               A.        I do.

    Golkow Litigation Services                                             Page 578
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further122Confidentiality
                                                           of 377. PageID #: 222294
                                                                               Review

      1               Q.        And to -- in the interest of
      2      time I'm just going to paraphrase.                   One of
      3      the misrepresentations you claim are in the
      4      label relate to delayed absorption; right?
      5                         MS. CONROY:        Objection.
      6                         THE WITNESS:         Correct.
      7               Q.        (BY MS. NEWMARK)           And the --
      8      specifically the line "Delayed absorption as
      9      provided by OxyContin tablets is believed to
     10      reduce the abuse liability of the drug";
     11      right?
     12               A.        In combination with the
     13      previous question, yes.
     14               Q.        This -- this is what -- I'm
     15      going to refer to that line as delayed
     16      absorption language; is that okay?
     17               A.        Sure.
     18               Q.        This delayed absorption
     19      language within the label, right?
     20               A.        It's a quote from the label,
     21      and it's cited from the label.
     22               Q.        Are you aware that this label
     23      was fully considered and vetted by the FDA?
     24                         MS. CONROY:        Objection.

    Golkow Litigation Services                                             Page 579
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further123Confidentiality
                                                           of 377. PageID #: 222295
                                                                               Review

      1                         THE WITNESS:         No.
      2               Q.        (BY MS. NEWMARK)           Have you
      3      reviewed the package insert submission to the
      4      FDA from 1994?
      5               A.        Yes.
      6               Q.        And are you aware that there
      7      was correspondence between Purdue and the FDA
      8      on the delayed absorption language?
      9               A.        Yes.
     10               Q.        And ultimately this was the
     11      language that the FDA approved; correct?
     12               A.        They allowed it to go on the
     13      label, right.
     14               Q.        Do you disagree with the FDA's
     15      approval of this language?
     16               A.        Yes.
     17               Q.        And let's look at exhibit --
     18      the exhibit to your report B462.
     19                         And I can show you my copy.
     20                         Dr. Egilman, is that your
     21      version of Exhibit 462?
     22               A.        Yes.
     23               Q.        And do you have notes on that
     24      version?

    Golkow Litigation Services                                             Page 580
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further124Confidentiality
                                                           of 377. PageID #: 222296
                                                                               Review

      1               A.        I do.
      2               Q.        And what are those notes?
      3               A.        Do you want me to read them?
      4               Q.        Yes, please.
      5               A.        Dash MS Contin, dash Roxane,
      6      dash 160-milligram dose, dash EERW, dash
      7      Action, dash Impact, and more.
      8               Q.        What is Exhibit B462?
      9               A.        Do you mean do you want me to
     10      read the title?
     11               Q.        Sure.
     12               A.        "Opinion.       This is the timeline
     13      of FDA activity that FDA created of its
     14      activities related to opioid addiction.                     It
     15      omits regulatory capture."               And all those
     16      other things I put down in notes.
     17               Q.        Can you please turn to page 2
     18      of 38 of Exhibit B462?
     19               A.        Sure.
     20               Q.        And this is a document that you
     21      pulled from the website listed here; right?
     22               A.        I think so.
     23               Q.        On the first page?
     24                         Okay.     So this is on the FDA's

    Golkow Litigation Services                                             Page 581
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further125Confidentiality
                                                           of 377. PageID #: 222297
                                                                               Review

      1      website; right?
      2               A.        That's my understanding.
      3               Q.        Can you --
      4               A.        It was when I pulled it off.
      5               Q.        I'm going to represent to you
      6      that this is still on the FDA's website
      7      today.      Or as of when I last checked last
      8      week.     Okay?
      9               A.        No problem.        I wasn't
     10      challenging that.           I'm just trying to answer
     11      the questions.
     12               Q.        Okay.     Can you please read, on
     13      page 2 of 38, towards the bottom.                  There are
     14      two bullet points.           Can you please read the
     15      first bullet point, the first sentence of the
     16      first bullet point?
     17               A.        "At the time of approval, FDA
     18      believed the controlled release formulation
     19      of OxyContin would result in less abuse
     20      potential since the drug would be absorbed
     21      slowly and therefore would not be an
     22      immediate, open quote, rush, closed quote, or
     23      a high that would promote abuse."
     24               Q.        And this is on the FDA's

    Golkow Litigation Services                                             Page 582
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further126Confidentiality
                                                           of 377. PageID #: 222298
                                                                               Review

      1      website; right?
      2               A.        Correct.
      3               Q.        And you disagree with what the
      4      FDA has as -- currently has on its website?
      5               A.        Do you want to limit that to
      6      this paragraph and that sentence?                  They have
      7      a lot of things on their website.                  It's a
      8      very large website.
      9               Q.        I'll re-ask the question.
     10                         You said earlier that you
     11      disagree with the FDA's decision to approve
     12      the controlled release formulation part of
     13      the label; right?
     14               A.        Yes.
     15               Q.        And here, the FDA talks about
     16      how it believed the controlled release
     17      formulation would result in less abuse
     18      potential; right?
     19               A.        That's what they say they
     20      believed.
     21               Q.        Do you have any reason to
     22      disagree with that?
     23               A.        Yes.
     24               Q.        But the FDA still has this on

    Golkow Litigation Services                                             Page 583
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further127Confidentiality
                                                           of 377. PageID #: 222299
                                                                               Review

      1      its website?
      2               A.        Yes.
      3               Q.        Have you ever told the FDA that
      4      you disagree with what's on its website?
      5               A.        Not with what is on its
      6      website, but this specific item, yes.
      7               Q.        And when did you tell the FDA
      8      that you disagreed with that specific item?
      9               A.        In 2013 when I gave that
     10      presentation at the FDA hearing on opioids.
     11               Q.        Are you referring to the
     12      testimony before the FDA Center for Drug
     13      Evaluation and Research in 2013?
     14               A.        Yeah.     It's only one testimony
     15      made in that year, so if that's --
     16                         I don't remember what the name
     17      of the committee was, but yeah.
     18               Q.        And was that titled "Impact of
     19      approved drug labeling on chronic opioid
     20      therapy"?
     21               A.        Do you mean if that was the
     22      title of the hearing?             Yes.     I believe.
     23                         Something like that.            It was on
     24      labeling.

    Golkow Litigation Services                                             Page 584
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further128Confidentiality
                                                           of 377. PageID #: 222300
                                                                               Review

      1               Q.        And did the FDA take any action
      2      with respect to the -- with respect to your
      3      concerns about that part of the label after
      4      you testified before the FDA?
      5               A.        Nope.
      6               Q.        Let's turn to page 58 of
      7      Exhibit 1F.        And look at paragraphs 13 and
      8      14.
      9               A.        Okay.
     10               Q.        And I'm going to paraphrase
     11      here and you can tell me if I'm wrong.                     I'm
     12      just trying to save some time for my
     13      colleagues down the table.
     14                         These paragraphs relate to your
     15      disagreement with the use of OxyContin for
     16      Q12-hour dosing; right?
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         Paragraphs 13 and
     19               which one?        13 and 14?
     20               Q.        (BY MS. NEWMARK)           13 and 14.
     21               A.        Correct.
     22               Q.        Are you aware that the FDA
     23      approved OxyContin for Q12-hour dosing?
     24               A.        Yes.

    Golkow Litigation Services                                             Page 585
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further129Confidentiality
                                                           of 377. PageID #: 222301
                                                                               Review

      1               Q.        And let's turn to Exhibit 33,
      2      the page ending in 3668.
      3               A.        Okay.
      4               Q.        The first paragraph -- the
      5      first full paragraph on the left column, can
      6      you please read the second sentence?
      7               A.        The controlled release nature
      8      of the formulation allows it to be
      9      effectively administered every 12 hours.
     10      Open parenthesis, see clinical pharmacology,
     11      semicolon, pharmacokinetics and metabolism,
     12      period, closed parenthesis.
     13               Q.        And this is in the labeling
     14      that was approved by the FDA; right?
     15               A.        Yes.
     16               Q.        Do you disagree with that
     17      language?
     18               A.        Yes.
     19               Q.        I'm going to hand you what's
     20      going to be marked as Exhibit 34.




    Golkow Litigation Services                                             Page 586
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further130Confidentiality
                                                           of 377. PageID #: 222302
                                                                               Review




    Golkow Litigation Services                                             Page 587
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further131Confidentiality
                                                           of 377. PageID #: 222303
                                                                               Review




      5               Q.        Are you aware that the FDA has
      6      to approve promotional materials for a drug
      7      when the drug is launched?
      8               A.        The FDA has to -- promotional
      9      materials --
     10                         The answer is no.           They don't
     11      do that.
     12                         There's no approval -- there's
     13      no letter coming back from the FDA saying "We
     14      approve your promotional materials" that I've
     15      seen.




    Golkow Litigation Services                                             Page 588
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further132Confidentiality
                                                           of 377. PageID #: 222304
                                                                               Review




     12               Q.        Are you -- withdrawn.
     13                         You testified earlier that you
     14      know the FDA can tell a company not to -- not
     15      to use certain marketing materials if they
     16      believe them to be false or misleading;
     17      right?
     18               A.        They can do that.
     19               Q.        And the FDA certainly could
     20      have done that here; right?
     21               A.        They could have done that.
     22               Q.        Especially if it found the
     23      Q12-hour dosing language misleading; right?
     24               A.        They could have done that, if

    Golkow Litigation Services                                             Page 589
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further133Confidentiality
                                                           of 377. PageID #: 222305
                                                                               Review

      1      they --
      2               Q.        Did they --
      3               A.        If they read it, they could
      4      have done that.
      5               Q.        Did they tell Purdue not to use
      6      these promotional materials here?
      7               A.        They gave no comment on this
      8      submission.        They did not write a letter
      9      saying this is okay, and they did not write a
     10      letter saying this is not okay.
     11               Q.        So the FDA never told Purdue
     12      not to use these promotional materials?
     13               A.        They never told them it was
     14      okay, and they never told them it wasn't.
     15               Q.        You've made your opinions about
     16      12-hour dosing known to the FDA; right?
     17               A.        I did.
     18               Q.        And that was during the 2013
     19      testimony before the Center for Drug
     20      Evaluation and Research?
     21               A.        Correct.       It was delayed six
     22      years.
     23               Q.        Did the FDA instruct Purdue to
     24      change any of its labeling in light of your

    Golkow Litigation Services                                             Page 590
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further134Confidentiality
                                                           of 377. PageID #: 222306
                                                                               Review

      1      testimony?
      2               A.        No.
      3               Q.        Did you ever express any
      4      concerns to the FDA about MS Contin?
      5               A.        No.     Do you mean the fact that
      6      Purdue was selling it unapproved?                  Is that
      7      what you mean?
      8               Q.        I asked you if you expressed
      9      any concerns to the FDA about MS Contin?
     10               A.        No.
     11               Q.        One of your opinions relates
     12      to -- and I'm going to paraphrase again in
     13      the interest of time.             -- you think that the
     14      MS Contin label shows that the -- that
     15      OxyContin was underwarned; right?
     16               A.        I'm not sure what you're
     17      referring to.         I don't understand that
     18      question.
     19               Q.        I'll withdraw that in the
     20      interest of time.
     21                         On page 85 of your report,
     22      Exhibit B156.         You express the opinion that
     23      "Purdue misled physicians about the potency
     24      of OxyContin"; right?

    Golkow Litigation Services                                             Page 591
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further135Confidentiality
                                                           of 377. PageID #: 222307
                                                                               Review

      1               A.        Oh, you mean the mushroom
      2      document?       Yes.
      3               Q.        Is it your opinion that doctors
      4      were not aware of the potency of OxyContin?
      5               A.        Yes.
      6               Q.        What is the basis for this
      7      statement?




     21               Q.        Dr. Egilman?
     22               A.        "Since OxyContin" --
     23               Q.        Dr. Egilman, does that document
     24      have a Bates number on it?

    Golkow Litigation Services                                             Page 592
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further136Confidentiality
                                                           of 377. PageID #: 222308
                                                                               Review

      1               A.        Yeah.     Can I -- do you want
      2      to --
      3                         Here, let me try this.             You can
      4      tell me anytime you want you've heard enough
      5      of the answer and I'll stop.                Okay?
      6                         What I do not want you to do is
      7      interrupt my answer except to tell me you've
      8      heard enough of the answer.
      9               Q.        Okay.     Dr. Egilman --
     10               A.        I don't want to be interrupted.
     11               Q.        Dr. Egilman --
     12               A.        You can stop me, no problem,
     13      but you can't interrupt me with other
     14      questions because I can only answer one
     15      question at a time.            Otherwise, the record
     16      gets confused.
     17               Q.        Dr. Egilman, does that -- I'm
     18      going to note that your answer was
     19      incomplete.
     20                         Does that document have a Bates
     21      number?
     22               A.        It does.
     23               Q.        And does that appear in your
     24      report?

    Golkow Litigation Services                                             Page 593
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further137Confidentiality
                                                           of 377. PageID #: 222309
                                                                               Review

      1               A.        It does.
      2               Q.        What's the Bates number on that
      3      document?
      4               A.        PDD8801118262.
      5               Q.        May I see it, please?
      6               A.        Sure.
      7               Q.        Is this document the same
      8      document that appears at Exhibit B156 to your
      9      report?
     10               A.        I don't know.
     11                         (Witness was handed copies.)
     12               Q.        And what is your opinion at
     13      B156?
     14               A.        "Physicians had the
     15      misimpression that OxyContin was less potent
     16      than MS Contin.          Instead of correcting this,
     17      Purdue took advantage of this ignorance to
     18      encourage inappropriate use of opioids.                     And
     19      I might add in, from the label, Purdue gave
     20      the impression that more -- that MS Contin
     21      and OxyContin had equal potency."
     22               Q.        Is that a new opinion that you
     23      have in this case?
     24               A.        New basis for that same

    Golkow Litigation Services                                             Page 594
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further138Confidentiality
                                                           of 377. PageID #: 222310
                                                                               Review

      1      opinion.
      2                         I missed that before.             I just
      3      reread it when you gave me the label to read.
      4      So that was your contribution, and I
      5      appreciate it.
      6               Q.        You said that physicians have
      7      the misimpression that OxyContin was less
      8      potent than MS Contin; right?
      9               A.        Yes.     When it was actually more
     10      potent than MS Contin.
     11               Q.        Besides this one e-mail that
     12      you cite in Exhibit B156, do you have any
     13      other documents that form the basis for this
     14      opinion?
     15               A.        Yes.
     16               Q.        Are those included in your
     17      report?
     18               A.        I think so, and then some of
     19      them will be in this pile to my right.
     20               Q.        Are you referring to --
     21      withdrawn.
     22                         Did you do any surveys of any
     23      doctors to see if they had an impression that
     24      OxyContin and MS Contin had equal potency?

    Golkow Litigation Services                                             Page 595
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further139Confidentiality
                                                           of 377. PageID #: 222311
                                                                               Review

      1               A.        No.
      2               Q.        Did you see any marketing
      3      materials that said that OxyContin and
      4      MS Contin had equal potency?
      5               A.        Yes.
      6               Q.        Which marketing materials were
      7      those?
      8               A.        Let's start with the label.
      9      Right here.        Exhibit 33.
     10               Q.        I asked you about marketing
     11      materials.
     12                         MS. CONROY:        Objection.
     13               Q.        (BY MS. NEWMARK)           So let's
     14      start with marketing materials.
     15                         MS. CONROY:        Objection.
     16               Q.        (BY MS. NEWMARK)           Which
     17      marketing materials gave the impression that
     18      MS Contin and OxyContin had equal potency?
     19               A.        Sorry, the label is marketing
     20      materials.
     21               Q.        Besides the label, which
     22      marketing materials said that OxyContin and
     23      MS Contin had equal potency?
     24               A.        Oh, none that I'm aware of.

    Golkow Litigation Services                                             Page 596
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further140Confidentiality
                                                           of 377. PageID #: 222312
                                                                               Review

      1      Besides the label.
      2               Q.        Do you know of any physician
      3      who wrote a medically inappropriate or
      4      unnecessary prescription based on a
      5      misperception about the potency of OxyContin?
      6               A.        Personally?
      7               Q.        Yes.
      8               A.        No.
      9               Q.        Have you taken any surveys to
     10      determine whether any physicians wrote any
     11      medically unnecessary prescriptions based on
     12      a misperception about the potency of
     13      OxyContin?
     14               A.        No.
     15               Q.        Let's turn to the label.              Bates
     16      number ending in 3668.
     17               A.        How about before your next
     18      question, we just take a quick break.
     19               Q.        I'm almost done, Dr. Egilman,
     20      and then we'll have a lunch break.
     21               A.        Well, how much more have you
     22      got?
     23               Q.        I'm almost done.
     24               A.        How much more do you have?

    Golkow Litigation Services                                             Page 597
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further141Confidentiality
                                                           of 377. PageID #: 222313
                                                                               Review

      1               Q.        I'm almost done.
      2               A.        What does that mean?            In
      3      English?
      4               Q.        It depends on --
      5                         MS. CONROY:        How much time do
      6               you have left --
      7                         MS. NEWMARK:         -- how long your
      8               answers are.        I have about five
      9               minutes.
     10                         THE WITNESS:         How much?
     11                         MS. NEWMARK:         Five minutes.
     12                         THE WITNESS:         Well, why don't
     13               we take a quick break.             Because I
     14               don't think your five minutes will be
     15               good for five minutes.
     16                         THE VIDEOGRAPHER:           Off the
     17               record, 12:08.
     18                         (Recess taken, 12:11 p.m. to
     19               12:12 p.m.)
     20                         THE VIDEOGRAPHER:           We're back
     21               on the record at 12:13.
     22               Q.        (BY MS. NEWMARK)           Dr. Egilman,
     23      when we -- when we took a break, I asked you
     24      to look at the label again, the page ending

    Golkow Litigation Services                                             Page 598
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further142Confidentiality
                                                           of 377. PageID #: 222314
                                                                               Review

      1      in 3668.
      2               A.        Okay.
      3               Q.        Can you please look in the
      4      middle column about two-thirds of the way
      5      down where it says "Table 3"?
      6               A.        Right.
      7               Q.        Do you know what this table is?
      8               A.        Yeah.     It's a conversion table.
      9               Q.        What is it a conversion table
     10      of?
     11               A.        These are rough morphine
     12      equivalents for various opioids.
     13               Q.        Would you say here that it
     14      is -- this table compares the morphine
     15      equivalence of OxyContin -- withdrawn.
     16                         Would you say that this
     17      compares different opioids, including
     18      oxycodone?
     19               A.        In as mis -- yes, in as
     20      misleading a fashion as possible.
     21               Q.        What is the basis for saying
     22      "in as misleading fashion as possible"?
     23               A.        Because most people are going
     24      to look at this, look at -- do numbers in

    Golkow Litigation Services                                             Page 599
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further143Confidentiality
                                                           of 377. PageID #: 222315
                                                                               Review

      1      sequence from low to high or high to low.
      2                         And you see how the numbers
      3      here are more or less random?                 Based on the
      4      alphabetical order of the drug on the left,
      5      but the relevant question for a physician in
      6      looking at this is to know what's the
      7      relative morphine equivalent.                 And you want
      8      to know that first.            So this should be
      9      ordered by morphine equivalent dose.                    So I
     10      would start with the most potent and end with
     11      the least potent.
     12                         And if you did that, then you
     13      could more easily compare OxyContin --
     14      oxycodone to morphine sulfate, for example,
     15      than the others.
     16               Q.        Well, this is in the label that
     17      the FDA approved for OxyContin at its launch;
     18      right?
     19               A.        Correct.
     20               Q.        So that means the FDA also
     21      approved Table 3; right?
     22               A.        Correct.
     23               Q.        And do you disagree with the --
     24      with the FDA's approval of this table in the

    Golkow Litigation Services                                              Page 600
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further144Confidentiality
                                                           of 377. PageID #: 222316
                                                                               Review

      1      label?
      2               A.        Yes.
      3               Q.        But that's your opinion; right?
      4               A.        That's my opinion based on --
      5      and based on Sackler's e-mail, this one --
      6      one could -- one could infer that this was
      7      done this way, particularly with the language
      8      that I mentioned before, that you definitely
      9      pointed out earlier, that this was done on
     10      purpose with morphine at the bottom and
     11      oxycodone at the top, rather than just --
     12      you're talking here about two -- in the
     13      label, there's two drugs mentioned:                   Morphine
     14      and OxyContin.
     15                         So the relevant information
     16      from giving people information about risks
     17      and benefits is to compare those two drugs.
     18      So in the table, I would have started with a
     19      comparison of oxycodone and morphine,
     20      comparative potency.            And then it would have
     21      been obvious.         Oxycodone would have been a 1
     22      and morphine was a .5.
     23                         Part of the reason that the
     24      Purdue team -- not just Kathe Sackler, but

    Golkow Litigation Services                                             Page 601
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further145Confidentiality
                                                           of 377. PageID #: 222317
                                                                               Review

      1      the Purdue team believed that physicians were
      2      in the dark, as it were, is because this
      3      table was set up the way it was, making it
      4      hard for a physician to juxtapose oxycodone
      5      and morphine potency.
      6               Q.        Dr. Egilman, as you said
      7      earlier, though, that this was -- that the
      8      table was done in some misleading way is just
      9      an inference; right?
     10               A.        No.     We know the results where
     11      there was misleading.
     12                         MS. CONROY:        Objection.
     13                         THE WITNESS:         It's not an
     14               inference.        It's that this label, the
     15               text that you deftly pointed out
     16               before, and this table that you have
     17               now pointed out are part of the reason
     18               that physicians were kept in the dark,
     19               or entered the dark and kept in the
     20               dark with respect to the relative
     21               potency of oxycodone and morphine.
     22               Q.        (BY MS. NEWMARK) Dr. Egilman,
     23      have you done any surveys of physicians about
     24      their understanding of Table 3?

    Golkow Litigation Services                                             Page 602
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further146Confidentiality
                                                           of 377. PageID #: 222318
                                                                               Review

      1               A.        No.
      2               Q.        So you don't know what
      3      physicians' actual understanding of Table 3
      4      was, right?
      5               A.        No.     We only know what
      6      physicians' actual understanding of the
      7      relative potency of morphine and oxycodone
      8      was based on Purdue's information garnered
      9      from physicians.




     19               Q.        (BY MS. NEWMARK)           Dr. Egilman,
     20      during your testimony today, you've testified
     21      about a lot of things that you would change
     22      in the label.         Is that fair to say?
     23                         MS. CONROY:        Objection.
     24                         THE WITNESS:         I mean, I've

    Golkow Litigation Services                                             Page 603
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further147Confidentiality
                                                           of 377. PageID #: 222319
                                                                               Review

      1               testified about what I've testified
      2               about.      I don't know how to summarize
      3               that.
      4               Q.        (BY MS. NEWMARK)           You
      5      understand that there's a citizen's petition
      6      process by which anyone can petition the FDA
      7      to change a label for a pharmaceutical?
      8               A.        That's correct.
      9               Q.        Have you ever done that for
     10      OxyContin?
     11               A.        No.
     12               Q.        Did you ever do that for
     13      MS Contin?
     14               A.        No.
     15               Q.        Did you ever do that for any of
     16      the opioids manufactured by any of the
     17      defendants in this case?
     18               A.        No.
     19               Q.        Are you aware that a citizen's
     20      petition actually was filed with the FDA for
     21      OxyContin?
     22               A.        Yes.     Kolodny.
     23               Q.        Do you know what happened with
     24      that petition?

    Golkow Litigation Services                                             Page 604
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further148Confidentiality
                                                           of 377. PageID #: 222320
                                                                               Review

      1               A.        Yeah.     The FDA took the
      2      opportunity to petition to reinforce all
      3      the -- all of the wrong decisions that have
      4      been made over the years.
      5               Q.        So you think that the FDA has
      6      made a series of wrong decisions over the
      7      years?
      8               A.        Yes.
      9                         MS. NEWMARK:         Okay.     I have no
     10               further questions.
     11                         MR. BLANK:        Before we break, I
     12               would just want to make a statement
     13               for the record that Dr. Egilman's
     14               opinion and expert report contains 489
     15               numbered opinions plus pages of
     16               additional opinions, plus I think
     17               33,000 related documents in support of
     18               that.
     19                         We are all here to take
     20               Dr. Egilman's deposition.              Under the
     21               protocol, we have two days.
     22               Obviously, given the number of
     23               defendants and the number of opinions,
     24               it is impossible for any one defendant

    Golkow Litigation Services                                             Page 605
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further149Confidentiality
                                                           of 377. PageID #: 222321
                                                                               Review

      1               to ask Dr. Egilman about each of the
      2               opinions he purports to offer.                 We're
      3               doing the best that we can.               We've
      4               allotted time amongst the defendants
      5               to give each defendant some amount of
      6               time for Dr. Egilman, but on behalf of
      7               Purdue, we think this is inadequate by
      8               a long shot.
      9                         Even if we were the only
     10               examiners over the two days, we could
     11               not get through the opinions related
     12               specifically to Purdue, and I think
     13               the other defendants are in the same
     14               situation.
     15                         So with that, we'll take the
     16               lunch break now and resume with some
     17               of the other defendants.
     18                         THE WITNESS:         Let me just say
     19               I'll be glad to answer any questions
     20               that any of the defense have anytime
     21               they want to call me up or meet with
     22               me.    No problem.        I'm available.          You
     23               don't have to pay me for it.
     24                         MR. BLANK:        Excellent.

    Golkow Litigation Services                                             Page 606
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further150Confidentiality
                                                           of 377. PageID #: 222322
                                                                               Review

      1                         THE VIDEOGRAPHER:           Off the
      2               record at 12:22.
      3                         (Recess taken, 12:22 p.m. to
      4               1:19 p.m.)
      5                         THE VIDEOGRAPHER:           We are back
      6               on the record at 1:20.
      7                         THE WITNESS:         Before you start,
      8               I have another plaintiff time
      9               document.       So there's my plaintiff
     10               time document.
     11                         MS. LUCAS:        Thanks,
     12               Dr. Egilman.        Is this a document that
     13               we've not seen before?
     14                         THE WITNESS:         This is a
     15               document I've not brought before.
     16                         MS. LUCAS:        Can we please mark
     17               this document for the record as
     18               Exhibit 35.
     19                         (Whereupon, Deposition Exhibit
     20               Egilman 35, FDA and Opioids: What's a
     21               Regulator to Do?          Pain Care Forum.
     22               Douglas C. Throckmorton, MD
     23               PowerPoint, ENDO-Opioid_MDL-02791998,
     24               was marked for identification.)

    Golkow Litigation Services                                             Page 607
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further151Confidentiality
                                                           of 377. PageID #: 222323
                                                                               Review

      1                               EXAMINATION
      2      BY MS. LUCAS:
      3               Q.        Dr. Egilman, I have been
      4      granted very limited time to ask you
      5      questions even though I have a lot of
      6      questions for you, so I'm going to ask you a
      7      lot of yes-or-no questions and I would like a
      8      yes-or-no answer from you whenever possible.
      9                         Will you do that for me?
     10               A.        Sure.
     11               Q.        Thank you.        Were you asked to
     12      make any assumptions in forming your opinions
     13      in this case?
     14               A.        No.
     15               Q.        Did you make any assumptions in
     16      forming your opinions in this case?
     17               A.        I'm not sure I understand that
     18      question.
     19               Q.        Well, regardless if anyone
     20      asked you to make any assumptions, did you in
     21      fact make any assumptions in this case in
     22      forming your opinions?
     23               A.        Out of context, I'm not sure
     24      what that refers to.

    Golkow Litigation Services                                             Page 608
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further152Confidentiality
                                                           of 377. PageID #: 222324
                                                                               Review

      1               Q.        Did you assume that the
      2      plaintiffs will prove any particular facts in
      3      forming your opinions in this case?
      4               A.        No.
      5               Q.        Have you been retained by
      6      plaintiffs' counsel in any other opioids
      7      litigations other than the MDL?
      8               A.        Yes.
      9               Q.        How many?
     10               A.        The three that we talked about
     11      yesterday.
     12               Q.        And which three are those?
     13               A.        I don't remember the names of
     14      the cases.        They're 2004 cases.
     15               Q.        Have you been retained in any
     16      post 2004 opioids litigations?                 And I'm
     17      talking about opioids litigations in the last
     18      few years other than the MDL?
     19               A.        No.
     20               Q.        You've never spoken to any
     21      other counsel for any of the other plaintiffs
     22      who are not in the MDL; is that correct?
     23                         MS. CONROY:        Objection.
     24                         MS. LUCAS:        Let me rephrase.

    Golkow Litigation Services                                             Page 609
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further153Confidentiality
                                                           of 377. PageID #: 222325
                                                                               Review

      1               Q.        (BY MS. LUCAS)          "Yes" or "no,"
      2      have you spoken about any non-MDL opioids
      3      litigations going on in the last few years
      4      with counsel for any of the opioids
      5      plaintiffs other than the MDL counsel?
      6               A.        Yes.
      7                         MS. CONROY:        Objection.
      8               Q.        (BY MS. LUCAS)          How many
      9      counsel other than the MDL counsel have you
     10      spoken with?
     11                         MS. CONROY:        Objection.
     12               Q.        (BY MS. LUCAS)          I'll cut this
     13      short.      Have you spoken with any of the
     14      Oklahoma plaintiffs' counsel about the
     15      opioids litigation?
     16               A.        Yes.
     17               Q.        Which ones?
     18               A.        Which ones what?           What lawyer?
     19               Q.        Correct.
     20               A.        I don't remember his name.
     21               Q.        Have you spoken with Brad
     22      Beckworth?
     23               A.        No.
     24               Q.        Reggie Whitten?

    Golkow Litigation Services                                             Page 610
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further154Confidentiality
                                                           of 377. PageID #: 222326
                                                                               Review

      1               A.        No.
      2               Q.        Any other names that you can
      3      think of that's --
      4               A.        I can't remember the guy's
      5      name.
      6               Q.        And did they retain you?
      7               A.        No.
      8               Q.        Did you ever consult for them?
      9               A.        Consult.       I sent them material.
     10               Q.        What material did you send
     11      them?
     12               A.        The two boxes of Johnson &
     13      Johnson bad acts documents that I brought
     14      here.
     15               Q.        Oh, the bad acts documents that
     16      say "Johnson & Johnson bad acts"?
     17               A.        Yes.
     18               Q.        I saw those.         You sent that box
     19      to the Oklahoma plaintiffs' counsel?
     20               A.        It's two boxes.          I sent I think
     21      a digital version.
     22               Q.        Are any of the documents inside
     23      that box subject to a protective order?
     24               A.        I don't think so.

    Golkow Litigation Services                                             Page 611
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further155Confidentiality
                                                           of 377. PageID #: 222327
                                                                               Review

      1               Q.        Did you check?
      2               A.        As far as I know, they're not.
      3               Q.        You are of the opinion in this
      4      litigation, the MDL, that all the defendants
      5      in the opioids litigation, including their
      6      associated individuals and/or organizations,
      7      are in a venture where they're acting in a
      8      concerted fashion separately or together to
      9      effect a particular result; correct?
     10               A.        Correct.
     11               Q.        And although Purdue was the
     12      only member of that venture in 1984 in your
     13      opinion, others joined around 1996 or '97;
     14      correct?
     15               A.        No.     I left out Duragesic.
     16      That was also in the early '80s.                  That was a
     17      Janssen product.           I forgot them yesterday.
     18               Q.        Oh, you forgot them yesterday.
     19      The early what?
     20               A.        Early '80s.
     21               Q.        The early '80s.          And so would
     22      you like to amend your testimony from
     23      yesterday?
     24               A.        I just did.

    Golkow Litigation Services                                             Page 612
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further156Confidentiality
                                                           of 377. PageID #: 222328
                                                                               Review

      1               Q.        So your contention is that
      2      Janssen joined the venture in the early
      3      1980s; is that correct?
      4               A.        Janssen started to sell an
      5      opioid which led to the hockey stick in part
      6      beginning in the early '80s.
      7               Q.        And by "an opioid," you mean
      8      Duragesic; correct?
      9               A.        Correct.
     10               Q.        Was there an objective to the
     11      venture?
     12               A.        Yes.
     13               Q.        What was the objective of the
     14      venture in your opinion?
     15               A.        Make as much money as possible.
     16               Q.        Is that the only objective to
     17      the venture in your opinion?
     18               A.        Yes.
     19               Q.        Other than Janssen, you're also
     20      of the opinion that Johnson & Johnson was in
     21      the venture; correct?
     22               A.        Correct.
     23               Q.        What year did Johnson & Johnson
     24      join the venture, in your opinion?

    Golkow Litigation Services                                             Page 613
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further157Confidentiality
                                                           of 377. PageID #: 222329
                                                                               Review

      1               A.        Well, Johnson & Johnson's
      2      responsible for Janssen.              They own Janssen.
      3      So whatever Janssen did, Johnson & Johnson is
      4      now responsible for.
      5               Q.        Is it your opinion that Johnson
      6      & Johnson was in the venture in the early
      7      '80s as well?
      8               A.        Independently?
      9                         Johnson & Johnson had a joint
     10      marketing agreement with Ultram, or Ultram
     11      with Purdue, as I recall.               So whenever that
     12      dates, that would have been joining with
     13      other members of the venture to promote
     14      opioid sales.
     15               Q.        So you're of the opinion that
     16      J&J did not join the venture until there was
     17      a joint marketing agreement related to
     18      Ultram; is that correct?
     19               A.        No.
     20               Q.        Well you said, you told me
     21      independently Johnson & Johnson had a joint
     22      marketing agreement with Ultram.                  Or Ultram
     23      with Purdue, as I recall.
     24                         "So whenever that dates, that

    Golkow Litigation Services                                             Page 614
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further158Confidentiality
                                                           of 377. PageID #: 222330
                                                                               Review

      1      would have been joining with other members of
      2      the venture to promote opioid sales."
      3               A.        That's correct.
      4               Q.        Then what is the date that you
      5      contend Johnson & Johnson joined the venture?
      6               A.        Well, Duragesic was a Janssen
      7      product in the early '80s.               It would have
      8      been then, because Johnson & Johnson is
      9      responsible for Duragesic now.
     10               Q.        So you are of the opinion that
     11      J&J joined in the early '80s because of
     12      Janssen; correct?
     13               A.        They own Janssen.           Janssen
     14      participated in the early '80s.                 Johnson &
     15      Johnson is now Janssen.              Or Janssen is now
     16      Johnson & Johnson, yes.
     17               Q.        Yes.     That's a yes?
     18               A.        That's a yes.
     19               Q.        Thank you.
     20                         Do you believe that Janssen is
     21      still a member of the venture today, "yes" or
     22      "no"?
     23                         MS. CONROY:        Objection.
     24                         THE WITNESS:         Yes.

    Golkow Litigation Services                                             Page 615
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further159Confidentiality
                                                           of 377. PageID #: 222331
                                                                               Review

      1               Q.        (BY MS. LUCAS)          Do you believe
      2      that J&J is still a member of the venture
      3      today, "yes" or "no"?
      4               A.        Yes.
      5               Q.        Other than Duragesic, do you
      6      know what opioid medications Janssen has
      7      manufactured?
      8               A.        Well, they originally developed
      9      fentanyl.       That's --
     10               Q.        This is a "yes" or a "no"?
     11               A.        Oh, I'm sorry.
     12               Q.        That's all right.
     13               A.        Yes.     Some of them.
     14               Q.        You're a very experienced
     15      expert, Dr. Egilman.            And I don't have much
     16      time, so unfortunately I have to ask a lot of
     17      "yes" or "no" questions.
     18                         MS. CONROY:        Objection, move to
     19               strike.
     20               Q.        (BY MS. LUCAS)          So you do know
     21      what opioid medications Janssen has
     22      manufactured.         I would like a list of the
     23      opioid medications that Janssen has
     24      manufactured to your knowledge.

    Golkow Litigation Services                                             Page 616
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further160Confidentiality
                                                           of 377. PageID #: 222332
                                                                               Review

      1               A.        Janssen apart from J&J?
      2               Q.        Yes.
      3               A.        Let's see what the list says.
      4               Q.        I would like you to give me
      5      that list without reference to your notes,
      6      please.
      7               A.        Well, that's good, but let me
      8      look at my notes.
      9                         MS. LUCAS:        Then I'm going to
     10               put on the record that Dr. Egilman is
     11               incapable of telling me what Janssen's
     12               medications were without looking at
     13               his notes.
     14                         And for the record,
     15               Dr. Egilman's reading a green piece of
     16               paper that looks to be a list of some
     17               kind.
     18                         THE WITNESS:         It's a list of
     19               some kind.
     20                         So Janssen's got the fentanyl
     21               that I mentioned, and then Nucynta and
     22               Nucynta SR.
     23                         And then -- so that's the
     24               Janssen participants.

    Golkow Litigation Services                                             Page 617
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further161Confidentiality
                                                           of 377. PageID #: 222333
                                                                               Review

      1               Q.        (BY MS. LUCAS) What does "SR"
      2      stand for?
      3               A.        Slow release.
      4               Q.        Do you know when the Duragesic
      5      transdermal system was first approved for the
      6      market in the United States by the FDA?
      7               A.        No.
      8               Q.        Do you know if Janssen
      9      continues to market Duragesic in the
     10      United States today?
     11               A.        I believe they do.
     12               Q.        Do you know when Nucynta IR was
     13      first approved for market in the U.S. by the
     14      FDA?     And by "IR," I mean immediate release.
     15               A.        No.
     16               Q.        Do you know whether Janssen
     17      still markets Nucynta IR?
     18               A.        Did I say Nucynta ER?             SR?
     19               Q.        You said SR?
     20               A.        It's ER.
     21               Q.        Correct.
     22               A.        I'm sorry.        I made a mistake.
     23               Q.        That's all right.
     24               A.        It's extended release.

    Golkow Litigation Services                                             Page 618
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further162Confidentiality
                                                           of 377. PageID #: 222334
                                                                               Review

      1               Q.        I'll start again.
      2                         Do you know whether Janssen
      3      still continues to market Nucynta IR today in
      4      the United States?
      5               A.        I think so.
      6               Q.        Do you know whether Janssen
      7      still continues to market Nucynta ER in the
      8      United States today?
      9               A.        I think so.
     10               Q.        And do you know when Nucynta ER
     11      was first approved for market in the
     12      United States by the FDA?
     13               A.        No.
     14               Q.        Do you know Janssen's total
     15      market share for all three of those opioids
     16      Nucynta IR, Nucynta ER and Duragesic?
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         No.
     19               Q.        (BY MS. LUCAS)          Do you know
     20      Janssen's total market share of all opioid
     21      prescriptions in Summit County between 1997
     22      and 2017?
     23               A.        I need to look at the Summit
     24      County document to give you that.

    Golkow Litigation Services                                             Page 619
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further163Confidentiality
                                                           of 377. PageID #: 222335
                                                                               Review

      1               Q.        Well, unfortunately, we don't
      2      have time for you to look through your
      3      documents.        So without looking at documents,
      4      do you know Janssen's total market share of
      5      all opioid prescriptions in Summit County
      6      between '97 and 2017?
      7                         MS. CONROY:        Objection.        Like
      8               do a memory test?
      9                         MS. LUCAS:        Do you want to give
     10               me more time?
     11                         MS. CONROY:        The Court has
     12               granted the time here.
     13                         MS. LUCAS:        Then yes.
     14               Q.        (BY MS. LUCAS)          So without
     15      looking at your documents, do you know
     16      Janssen's total market share of all opioid
     17      prescriptions in Summit County between '97
     18      and 2017?
     19               A.        No.
     20               Q.        Without looking at your notes,
     21      do you know Janssen's total market share of
     22      all opioid prescriptions in Cuyahoga County
     23      between 1997 and 2017?
     24               A.        No.

    Golkow Litigation Services                                              Page 620
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further164Confidentiality
                                                           of 377. PageID #: 222336
                                                                               Review

      1               Q.        So you offered 800 -- 489
      2      separate opinions in Exhibits B1 through B489
      3      of your report, give or take; correct?
      4               A.        Take.     Correct.       There are a
      5      few that have a lot of duplicates in them.
      6               Q.        Okay.     So around 480 opinions
      7      are in Exhibits B1 through B489; correct?
      8               A.        I think there's more dups of
      9      that.     It's probably in the 470 range.
     10               Q.        I'll go with that.            So you
     11      offered around 470 separate opinions in
     12      Exhibits B1 through B489 of your report;
     13      correct?
     14               A.        No, there's -- some of them
     15      have more than one opinion.                No.
     16               Q.        So how many total opinions do
     17      you believe you've offered in those exhibits?
     18               A.        I don't know.
     19               Q.        Is it around 470, between 470
     20      and 480?
     21               A.        I don't know.
     22               Q.        Is it more than 500?
     23               A.        I do not know.
     24               Q.        You have no idea?

    Golkow Litigation Services                                             Page 621
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further165Confidentiality
                                                           of 377. PageID #: 222337
                                                                               Review

      1               A.        No, I don't have -- I have an
      2      idea.     It's between 470, probably, and 600, I
      3      would say on the high end.               But you're not
      4      including all of the opinions that are in the
      5      preliminary sections -- some of which we just
      6      went over with Purdue.
      7               Q.        Correct.
      8               A.        Which are not numbered.
      9               Q.        Correct.       I'm interested right
     10      now in only the exhibits.
     11                         So in B1 through B489, you've
     12      offered between 470 and 600 separate
     13      opinions; correct?
     14               A.        That's a rough estimate, yes.
     15      I could be wrong.
     16               Q.        Of those between 470 to 600
     17      opinions, around 14 of them specifically
     18      mentioned either Janssen or J&J in the title;
     19      correct?
     20               A.        I don't know.         I haven't
     21      counted them by company.
     22               Q.        Do you have any reason to
     23      dispute that 14 of those opinions mentioned
     24      Janssen or Johnson & Johnson?

    Golkow Litigation Services                                             Page 622
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further166Confidentiality
                                                           of 377. PageID #: 222338
                                                                               Review

      1               A.        I have no reason to agree or
      2      disagree because I haven't done that count.
      3               Q.        Is that a no?
      4               A.        No, that's not a no.
      5               Q.        Do you have any reason to
      6      dispute that there are 14 Janssen or Johnson
      7      & Johnson mentions in the opinions in
      8      Exhibits B1 through B489?
      9               A.        I have no reason to agree or
     10      disagree because I haven't done that count.
     11               Q.        Okay.     But you have no reason
     12      to say differently; correct?
     13               A.        I have no reason to agree or
     14      disagree because I have not done that count.
     15               Q.        Okay.
     16                         Now, by our count -- and I
     17      understand you haven't done the count --
     18      another 42 of those opinions in Exhibits B1
     19      through 489 cite Janssen documents.
     20                         Do you have any reason to
     21      disagree with that?
     22               A.        I have no reason to agree or
     23      disagree because I have not done that count.
     24               Q.        All right.        So even though you

    Golkow Litigation Services                                             Page 623
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further167Confidentiality
                                                           of 377. PageID #: 222339
                                                                               Review

      1      haven't counted, you don't have any reason to
      2      agree or disagree that there are 14 opinions
      3      that mention Janssen or J&J in the title and
      4      another 42 that cite documents from Janssen;
      5      correct?
      6               A.        No.
      7               Q.        Do you have any reason to
      8      dispute that a total of 56 of your opinions
      9      involve Janssen or Johnson & Johnson either
     10      by name or by document?
     11               A.        Yes.
     12               Q.        Why is that?
     13                         Strike that.
     14                         How many opinions in your
     15      report do you think mention J&J or Janssen by
     16      name, or cite their documents?
     17                         Your best estimate.
     18               A.        I do not know.
     19               Q.        You have no idea?
     20               A.        I have not done that count.
     21               Q.        Would you dispute it if I said
     22      56?     "Yes" or "no."
     23               A.        Same answer.         I have not done
     24      the count.        I have no reason to agree or

    Golkow Litigation Services                                             Page 624
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further168Confidentiality
                                                           of 377. PageID #: 222340
                                                                               Review

      1      disagree.
      2               Q.        So you're an expert.            Let's
      3      assume that there are 56 opinions that
      4      involve Janssen and Johnson & Johnson.
      5                         Can you do that?
      6               A.        Yes.     That's a different
      7      assumption from the last question.
      8               Q.        Correct.
      9               A.        You'll recall.
     10               Q.        So that's a yes?
     11               A.        That's correct.          I just want to
     12      make it clear that that's different from
     13      mentioning documents and opinions that
     14      mention the name "Janssen."
     15               Q.        Understood.
     16                         Of the 384 hours that you've
     17      spent on this case, do you know how much time
     18      you've spent reviewing Janssen and Johnson &
     19      Johnson evidence?           "Yes" or "no"?
     20               A.        No.
     21               Q.        Do you know how many Janssen
     22      and Johnson & Johnson documents you have read
     23      in the 384 hours you've spent on this case,
     24      "yes" or "no"?

    Golkow Litigation Services                                             Page 625
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further169Confidentiality
                                                           of 377. PageID #: 222341
                                                                               Review

      1               A.        No.
      2               Q.        Are you able to give an
      3      estimate of how many Janssen or J&J documents
      4      you've read in the 384 hours you've spent on
      5      this case?
      6               A.        No.
      7               Q.        Do you think you've reviewed
      8      over 100 documents?
      9               A.        Yes.
     10               Q.        Do you think you've reviewed
     11      over 100 Janssen and Johnson & Johnson
     12      documents?
     13               A.        Yes.
     14               Q.        Do you think you've reviewed
     15      over 1,000 Janssen and Johnson & Johnson
     16      documents?
     17               A.        Yes.
     18               Q.        Do you think you've reviewed
     19      over 10,000 Janssen and Johnson & Johnson
     20      documents?
     21               A.        Not individually, but by
     22      search, yes.
     23               Q.        So somewhere between 1,000 and
     24      10,000 are documents you've actually reviewed

    Golkow Litigation Services                                             Page 626
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further170Confidentiality
                                                           of 377. PageID #: 222342
                                                                               Review

      1      that were produced by Janssen and Johnson &
      2      Johnson; correct?
      3                         MS. CONROY:        Objection.
      4                         MS. LUCAS:        You can answer.
      5                         THE WITNESS:         Yes, as described
      6               above.
      7               Q.        (BY MS. LUCAS)          So let's talk
      8      about a couple of these opinions.                  And we do
      9      not have time to go through all 56 because my
     10      colleagues here would come after me with
     11      pitchforks.        So let's turn first to --
     12               A.        I'm sure they're not that mean.
     13               Q.        I don't know.         They have a lot
     14      of questions.
     15                         Let's turn to what I'm going to
     16      mark as Exhibit 36.
     17                         (Whereupon, Deposition Exhibit
     18               Egilman 36, Opinion-Around 1997,
     19               "Venture" members Ortho-McNeil
     20               (Johnson & Johnson) and Purdue began
     21               co-promoting Ultram SR, intended for
     22               the use of more moderate pain, was
     23               marked for identification.)
     24               Q.        (BY MS. LUCAS) This is opinion

    Golkow Litigation Services                                             Page 627
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further171Confidentiality
                                                           of 377. PageID #: 222343
                                                                               Review

      1      B397.     "Opinion.        Around 1997 Venture members
      2      Ortho-McNeil, parenthesis, Johnson & Johnson,
      3      and Purdue began co-promoting Ultram SR,
      4      intended for the use of more moderate pain."
      5                         Did I read that correctly?
      6               A.        Yes.
      7               Q.        And this is your opinion;
      8      correct?
      9               A.        Yes.
     10               Q.        Ultram is the brand name for
     11      tramadol; correct?
     12               A.        Yes.
     13               Q.        This opinion relates to Ultram;
     14      is that right?
     15               A.        In part.
     16               Q.        In part?
     17               A.        Yes.
     18               Q.        Do you know whether Ultram is
     19      at issue in this litigation?
     20               A.        I'm not sure I understand that
     21      question.       Do you mean is it one of the named
     22      drugs in the complaint?              Is that the
     23      question?
     24               Q.        No.     I want to know, do you

    Golkow Litigation Services                                             Page 628
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further172Confidentiality
                                                           of 377. PageID #: 222344
                                                                               Review

      1      know today whether the Court has ruled that
      2      Ultram is or is not at issue in this
      3      litigation?
      4               A.        I do not know.
      5                         MS. CONROY:        Objection.
      6               Q.        (BY MS. LUCAS) You do not know.
      7      If the Court had ruled that Ultram is not at
      8      issue in this litigation, would this change
      9      your opinion at all?
     10               A.        This opinion?         No.
     11               Q.        Not at all?        Even when
     12      confronted with evidence that something in
     13      your opinion is simply not at issue, you're
     14      not going to change the opinion?
     15               A.        Correct.
     16               Q.        Okay.     Now before we move on --
     17      keep that with you real quick.                 The two
     18      documents that you cite are two Purdue
     19      documents; correct?
     20               A.        That's correct.
     21               Q.        One is PKY181320029?
     22               A.        Yes.
     23               Q.        And the other is PKY183033731;
     24      correct?

    Golkow Litigation Services                                             Page 629
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further173Confidentiality
                                                           of 377. PageID #: 222345
                                                                               Review

      1               A.        Yes.
      2                         MS. LUCAS:        Mark those as 37
      3               and 38.
      4               Q.        (BY MS. LUCAS) Now, I don't
      5      want you to take all of your time reading
      6      these documents because we don't have time,
      7      but have you read these documents in coming
      8      to your opinions?
      9               A.        Yes.
     10                         (Whereupon, Deposition Exhibit
     11               Egilman 37, Non-Malignant Pain
     12               Consensus Guidelines, PKY181320029-
     13               181320030, was marked for
     14               identification.)




     20               Q.        (BY MS. LUCAS) Do you know
     21      whether either Exhibits 37 or 38 says
     22      anything about Ortho-McNeil?
     23               A.        Not without reading the
     24      documents.

    Golkow Litigation Services                                             Page 630
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further174Confidentiality
                                                           of 377. PageID #: 222346
                                                                               Review

      1               Q.        You would have to read the
      2      document to tell me?
      3               A.        Yes.
      4               Q.        And you can't tell me where in
      5      the document Johnson & Johnson is mentioned?
      6               A.        Correct -- without reading
      7      them?     Correct.
      8               Q.        I've read these documents, and
      9      I can't find Ortho-McNeil or Johnson &
     10      Johnson in either one of them.
     11                         Did you intend to base your
     12      opinion about Johnson & Johnson on a document
     13      that didn't mention J&J?              "Yes" or "no."
     14               A.        I need to read the documents to
     15      answer the question.
     16               Q.        Well, did you -- would you
     17      intend to base an opinion about J&J on a
     18      document that has nothing to do with J&J?
     19                         MS. CONROY:        Objection.
     20                         THE WITNESS:         Oh, no.
     21               Q.        (BY MS. LUCAS)          And would you
     22      intend --
     23               A.        Well, actually, nothing to do
     24      with J&J?       Correct.       No, I wouldn't do that.

    Golkow Litigation Services                                             Page 631
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further175Confidentiality
                                                           of 377. PageID #: 222347
                                                                               Review

      1               Q.        And would you intend to base
      2      your opinion on documents that don't mention
      3      Ultram if your opinion is about Ultram?
      4               A.        Depends on the context.
      5               Q.        Well, I've read these
      6      documents, and I can't find Ultram either.
      7                         So would you intend to base an
      8      opinion about Ultram on documents that don't
      9      mention it?
     10               A.        Depends on the context.
     11      Obviously in this case, yes.
     12               Q.        Yes.     Okay.
     13                         All right.        I want to mark as
     14      39, your opinion No. 77.              B77.
     15                         "Opinion.       Janssen targeted
     16      youth and athletes.            Johnson & Johnson was
     17      part of pain coalition with Janssen that
     18      targeted youth.          Pain is not a disease.
     19      Johnson & Johnson and Janssen engaged in
     20      actions targeted at directly influencing
     21      potential patients and children."
     22                         Is that your opinion,
     23      Dr. Egilman?
     24               A.        Yes.

    Golkow Litigation Services                                             Page 632
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further176Confidentiality
                                                           of 377. PageID #: 222348
                                                                               Review

      1                         (Whereupon, Deposition Exhibit
      2               Egilman 39, Exhibit B.77, David S.
      3               Egilman Report Opiate Litigation, was
      4               marked for identification.)
      5               Q.        (BY MS. LUCAS)          "Yes" or "no."
      6      Do you know what the pain coalition was?
      7               A.        Yes.
      8               Q.        And your opinion in No. 77,
      9      Exhibit 39, is based on this Janssen Bates
     10      number that's cited; correct?
     11               A.        Yes.
     12               Q.        "Yes" or "no," do you know
     13      which Janssen employees were involved in the
     14      pain coalition?
     15               A.        Not without looking at the
     16      documents.
     17               Q.        Did you read any depositions in
     18      forming this opinion?             "Yes" or "no"?
     19               A.        No.
     20               Q.        Do you know whether any of the
     21      programs mentioned in the pain coalition
     22      documents were actually launched to the
     23      public?
     24               A.        Yes.

    Golkow Litigation Services                                             Page 633
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further177Confidentiality
                                                           of 377. PageID #: 222349
                                                                               Review

      1               Q.        You do?      Do you know if any of
      2      the youth programs mentioned in the pain
      3      coalition documents were actually launched to
      4      the public?
      5               A.        Yes.
      6               Q.        Do you believe that they were
      7      launched?
      8               A.        Yes.
      9               Q.        What's the basis for that
     10      belief?
     11               A.        There's e-mails back and forth
     12      about a nurse who was conducting the training
     13      in elementary schools, getting more
     14      wristbands to promote the program with
     15      elementary school kids.
     16               Q.        Are you sure about that?
     17               A.        I think so.
     18               Q.        Why isn't that document cited
     19      here, Dr. Egilman?
     20               A.        I don't know.
     21               Q.        Strike that.
     22                         That document is not cited
     23      there, is it?
     24               A.        Correct.

    Golkow Litigation Services                                             Page 634
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further178Confidentiality
                                                           of 377. PageID #: 222350
                                                                               Review

      1               Q.        Do you know of any other youth
      2      programs that Janssen or Johnson & Johnson
      3      launched targeting youth?
      4               A.        Besides this one?           No.
      5               Q.        You're not aware of any other
      6      programs targeting youth that actually
      7      launched; correct?
      8                         MS. CONROY:        Objection.
      9                         THE WITNESS:         With respect to
     10               pain, you're talking?
     11               Q.        (BY MS. LUCAS)          With respect to
     12      prescription medication or opioids.
     13                         MS. CONROY:        Objection.
     14                         THE WITNESS:         That's correct.
     15               Q.        (BY MS. LUCAS)          Have you ever
     16      heard of Smart Moves, Smart Choices?
     17               A.        No.
     18               Q.        Never heard of it?
     19               A.        Correct.
     20               Q.        Are you aware that Janssen
     21      partnered with the National Association of
     22      School Nurses to launch a program called
     23      Smart Moves, Smart Choices?                "Yes" or "no"?
     24               A.        I know there were nurses giving

    Golkow Litigation Services                                             Page 635
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further179Confidentiality
                                                           of 377. PageID #: 222351
                                                                               Review

      1      talks.      Paid for by Janssen.            I don't
      2      remember the name of the program.
      3               Q.        Are you aware that Smart Moves,
      4      Smart Choices involved a program with nurses
      5      where the point was to warn kids about the
      6      dangers of opioids and other prescription
      7      drugs, "yes" or "no"?
      8               A.        No.
      9               Q.        Are you aware that that program
     10      was so popular with nurses, parents, and
     11      educators, and schools that it continued for
     12      six years and the website is still up today?
     13      "Yes" or "no"?
     14               A.        No.
     15               Q.        Now, of all of the opinions
     16      that you have that involve Janssen or Johnson
     17      & Johnson, we counted up the documents that
     18      you cited as the basis for your opinions.                      Do
     19      you know how many documents you cited as the
     20      basis for your opinions against Janssen and
     21      J&J?
     22               A.        No.
     23               Q.        We came up with 274 in
     24      Exhibits B1 through B489.

    Golkow Litigation Services                                             Page 636
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further180Confidentiality
                                                           of 377. PageID #: 222352
                                                                               Review

      1                         Does that sound like something
      2      you would dispute?
      3               A.        Yes.
      4               Q.        Do you think there was more?
      5      "Yes" or "no"?
      6               A.        Yes, I think there's more.
      7               Q.        How many more do you think
      8      there are?
      9               A.        I do not know.
     10               Q.        Do you think there's more than
     11      300?
     12               A.        Yes.
     13               Q.        Do you think there's more than
     14      a thousand?
     15               A.        Probably.
     16               Q.        In Exhibits B1 through B489;
     17      correct?
     18               A.        And the attached materials,
     19      yes.
     20               Q.        All right.        If I'm right, and
     21      there's only 274, you found those documents
     22      by running search terms listed in Exhibit D
     23      to your report; correct?
     24               A.        No.

    Golkow Litigation Services                                             Page 637
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further181Confidentiality
                                                           of 377. PageID #: 222353
                                                                               Review

      1               Q.        Let me rephrase that.
      2                         You found documents by running
      3      the search terms in Exhibit D and that you
      4      talked about yesterday across the documents
      5      listed in Exhibit D.
      6                         Oh, strike that.
      7                         You found documents by running
      8      search terms across the documents located and
      9      listed in Exhibit D; correct?
     10                         Exhibit D are the documents
     11      that you searched; right?
     12               A.        I don't think -- what's
     13      Exhibit D?
     14               Q.        The documents that you
     15      searched.
     16               A.        No, the documents I searched is
     17      the entire database.            I don't think that's --
     18               Q.        Oh, the entire -- so you
     19      searched the entire database.                 Everything;
     20      right?
     21               A.        That's what the searches were
     22      run on.
     23               Q.        Got it.
     24                         So if you've searched the

    Golkow Litigation Services                                             Page 638
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further182Confidentiality
                                                           of 377. PageID #: 222354
                                                                               Review

      1      entire Janssen production, that's over
      2      700,000 documents.           Do you have any reason to
      3      dispute that?
      4               A.        No.     I didn't do that count
      5      either.
      6               Q.        You wanted your searches to be
      7      accurate; correct?
      8                         MS. CONROY:        Objection.
      9                         THE WITNESS:         Correct.
     10               Q.        (BY MS. LUCAS)          You wanted your
     11      searches to be comprehensive; correct?
     12               A.        I wanted them to be relevant
     13      more than comprehensive.
     14               Q.        You wanted your searches to be
     15      relevant; correct?
     16               A.        Yes.
     17               Q.        You didn't want to cherry-pick
     18      anything for your opinions; correct?
     19               A.        Correct.
     20               Q.        So if you're citing 274
     21      documents out of over 700,000, are you aware
     22      that that's 0.048 percent of the documents in
     23      Janssen's database?
     24               A.        No.

    Golkow Litigation Services                                             Page 639
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further183Confidentiality
                                                           of 377. PageID #: 222355
                                                                               Review

      1               Q.        And are you aware that your
      2      opinions do not cite 99.9 percent of
      3      Janssen's documents?
      4               A.        No.
      5               Q.        And if given the chance, are
      6      you going to sit down in the witness chair
      7      and take an oath to tell the truth and tell
      8      the jury that you haven't taken anything out
      9      of context as to Janssen or Johnson &
     10      Johnson?       Is that what you will do?
     11               A.        I don't think I'm going to be
     12      answering that question unless you ask it.
     13                         And if you ask it, I had no
     14      intent to take anything out of context.
     15                         MS. LUCAS:        Thank you.       I have
     16      no more questions.
     17                         THE VIDEOGRAPHER:           Off the
     18               record at 1:52.
     19                         (Recess taken, 1:53 p.m. to
     20               1:53 p.m.)
     21                         THE VIDEOGRAPHER:           We are back
     22               on the record at 1:53 p.m.
     23                         *    *   *
     24                         *    *   *

    Golkow Litigation Services                                             Page 640
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further184Confidentiality
                                                           of 377. PageID #: 222356
                                                                               Review

      1                               EXAMINATION
      2      BY MS. NAKAMURA:
      3               Q.        Good afternoon, Dr. Egilman.
      4      My name is Angel Nakamura, and I represent
      5      the Endo and Parr defendants in this case.
      6                         In reviewing your opinions in
      7      detail, particularly over the last couple of
      8      days, I see that your report doesn't include
      9      any specific opinions regarding Parr
     10      Pharmaceuticals; is that right?
     11               A.        I think there's some Endo
     12      opinions.
     13               Q.        Correct.       There are no specific
     14      opinions to Parr; correct?
     15               A.        Not that I can recall.
     16               Q.        You don't cite any documents or
     17      refer to documents that are specific to the
     18      Parr defendant; correct?
     19               A.        Apart from the Endo documents,
     20      correct.
     21               Q.        And you're not offering any
     22      opinions regarding Parr Pharmaceuticals in
     23      this action; is that right?
     24                         MS. CONROY:        Objection.

    Golkow Litigation Services                                             Page 641
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further185Confidentiality
                                                           of 377. PageID #: 222357
                                                                               Review

      1                         THE WITNESS:         I think any
      2               opinions that relate to Endo relate to
      3               Parr.
      4               Q.        (BY MS. NAKAMURA)           You don't
      5      see Parr as a separate entity from Endo?
      6               A.        I'm not -- to the extent that
      7      Endo and --
      8                         I'm not making any
      9      determinations about who the proper defendant
     10      is.     So my opinions relate to the drug and
     11      what was done with the drug.                Somebody else
     12      is going to have to figure out who was
     13      responsible for that activity at different
     14      points of time.
     15               Q.        Does your opinion refer to any
     16      Parr Pharmaceutical documents?
     17               A.        Not that I recall.
     18               Q.        Your report and supporting
     19      documents reference the Endo products
     20      Opana ER and Percocet; is that right?
     21               A.        Correct.
     22               Q.        And your opinions don't relate
     23      to any other Endo opioid products?
     24               A.        Let's see.

    Golkow Litigation Services                                             Page 642
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further186Confidentiality
                                                           of 377. PageID #: 222358
                                                                               Review

      1               Q.        Let me just ask.
      2               A.        I think that's not correct.
      3               Q.        Do you intend to offer any
      4      opinions about any other Endo products other
      5      than Opana and Percocet?
      6               A.        The opinions that I have on --
      7      probably by inference, yes.
      8               Q.        What does that mean, "probably
      9      by inference"?
     10               A.        My mic just fell.
     11               Q.        Let me ask you a different
     12      question, Dr. Egilman.
     13                         Does your expert report include
     14      any opinions on products other than Opana and
     15      Percocet with respect to Endo?
     16               A.        Yes.     There are opinions with
     17      respect to --
     18                         Yes.     Sorry.
     19               Q.        And you were saying which
     20      other -- which other Endo opioid products are
     21      referenced in your expert report?
     22               A.        Well, there are references to
     23      hydromorphone, and oxycodone in the report.
     24               Q.        And do you have any expert

    Golkow Litigation Services                                             Page 643
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further187Confidentiality
                                                           of 377. PageID #: 222359
                                                                               Review

      1      opinions regarding hydromorphone and
      2      oxycodone?
      3               A.        Yes.     I think they're in the
      4      report.
      5               Q.        Have you ever prescribed
      6      Opana ER?
      7               A.        No.
      8               Q.        Have you ever prescribed
      9      Percocet?
     10               A.        Percocet?       Yes, I think I've
     11      used Percocet.
     12               Q.        Do you continue to prescribe
     13      Percocet?
     14               A.        No.
     15               Q.        Do you recall the last time you
     16      prescribed Percocet?
     17               A.        If you look at the IMS data, I
     18      think it's there.
     19               Q.        Sitting here today, do you
     20      recall the last time you prescribed Percocet?
     21               A.        No.     You'd have to go to the
     22      IMS sheets.
     23               Q.        And did you prescribe Percocet
     24      based on any marketing that you received from

    Golkow Litigation Services                                             Page 644
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further188Confidentiality
                                                           of 377. PageID #: 222360
                                                                               Review

      1      the Endo sales representatives?
      2               A.        Not from a representative, no.
      3               Q.        Have you ever been detailed by
      4      an Endo sales representative?
      5               A.        Not that I can recall.
      6               Q.        Do you recall ever speaking
      7      with any representative of Endo and telling
      8      them that their promotion or marketing
      9      practices were false and misleading?
     10               A.        No.
     11               Q.        You have not interviewed or
     12      surveyed prescribers to determine whether any
     13      doctor received or relied upon marketing
     14      materials by Endo regarding its opioid
     15      products; correct?
     16               A.        Correct.
     17               Q.        So you can't identify any
     18      specific prescriber who wrote an improper
     19      opioid prescription based on Endo's conduct?
     20               A.        No, that's not correct.
     21               Q.        Can you clarify that answer,
     22      please?
     23               A.        Sure.
     24               Q.        What do you mean?           Can you --

    Golkow Litigation Services                                             Page 645
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further189Confidentiality
                                                           of 377. PageID #: 222361
                                                                               Review

      1      are you able to identify any specific
      2      prescriber who wrote an improper opioid
      3      prescription based on Endo's conduct?
      4               A.        I think so.
      5               Q.        Who is that?
      6               A.        I don't have the name.
      7               Q.        You don't have a specific
      8      reference to a doctor?
      9               A.        I don't remember the name.               I'm
     10      not sure if I have a name.               I may have a
     11      reference to a physician, per se, in these
     12      counties.
     13               Q.        And what is the reference to
     14      the physician?
     15               A.        Well, that would be in the call
     16      notes.      If they were in call notes that
     17      relate to and describe that activity, then
     18      I'd have evidence.
     19                         And I have them somewhere in
     20      the call notes in that pile.
     21               Q.        Sitting here today, can you
     22      think of or recall a call note that gave you
     23      any indication that a physician adjusted his
     24      prescription practices based on Endo

    Golkow Litigation Services                                             Page 646
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further190Confidentiality
                                                           of 377. PageID #: 222362
                                                                               Review

      1      marketing?
      2               A.        No, I can't remember a
      3      particular instance as I sit here today.
      4               Q.        And you stated earlier you
      5      haven't interviewed or surveyed any patients
      6      to determine whether anyone has received a
      7      medically unnecessary opioid prescription as
      8      a result of Endo's conduct; correct?
      9                         MS. CONROY:        Objection.
     10                         THE WITNESS:         That's correct.
     11               Q.        (BY MS. NAKAMURA)           So you can't
     12      identify any specific patient who received an
     13      improper prescription based on Endo's
     14      conduct; correct?
     15               A.        No.     Not necessarily.
     16               Q.        And what does that mean?              Can
     17      you -- can you identify a specific patient
     18      who received an improper prescription based
     19      on Endo's conduct?
     20               A.        There's two questions there.
     21      Which one do you want answered?
     22               Q.        Are you able to identify any
     23      specific patient sitting here today who
     24      received an improper prescription based on

    Golkow Litigation Services                                              Page 647
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further191Confidentiality
                                                           of 377. PageID #: 222363
                                                                               Review

      1      Endo's conduct?
      2               A.        Not by name.
      3               Q.        Is that a "no"?
      4               A.        No, it's a "not by name."
      5                         THE VIDEOGRAPHER:           I apologize.
      6               Can we go off the record for a second?
      7                         Going off the record at
      8               2 o'clock p.m.
      9                         (Recess taken, 2:00 p.m. to
     10               2:01 p.m.)
     11                         THE VIDEOGRAPHER:           We are back
     12               on the record at 2:01 p.m.
     13               Q.        (BY MS. NAKAMURA)           Are you able
     14      to identify, Dr. Egilman, any specific
     15      patient who received an improper prescription
     16      based on Endo's comment?
     17               A.        No, not by name.
     18               Q.        You can't say that the opioid
     19      crisis in Summit and Cuyahoga counties would
     20      look any different if Endo had not marketed
     21      or sold opioids; correct?
     22               A.        No, not necessarily.
     23               Q.        What does that mean?
     24               A.        Well, that means if Endo had

    Golkow Litigation Services                                             Page 648
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further192Confidentiality
                                                           of 377. PageID #: 222364
                                                                               Review

      1      come out and said, "We're no longer going to
      2      sell oxycodone," for example, "or Opana ER
      3      because doctors are overprescribing, the
      4      drugs are being diverted, there's an opioid
      5      epidemic that our drugs are contributing to
      6      and that the whole industry's drugs are
      7      contributing to," then that would have
      8      impacted on the opioid epidemic in these two
      9      counties and in the United States.
     10               Q.        You can't say that a patient
     11      would not have received a prescription for
     12      another opioid medication if Endo had not
     13      manufactured or marketed its opioid, could
     14      you?
     15               A.        If they withdrew it for the
     16      reason I said, and said what I said, then
     17      some patients would not have gotten these
     18      opioids.
     19               Q.        And what's your opinion on how
     20      the crisis would look different if Endo had
     21      not marketed its opioid products?
     22               A.        If they had not marketed and
     23      explained the reason for not marketing the
     24      way I just described it, then that would have

    Golkow Litigation Services                                             Page 649
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further193Confidentiality
                                                           of 377. PageID #: 222365
                                                                               Review

      1      significantly decreased the number of
      2      prescriptions given, the amount of diverted
      3      prescriptions, and it would have cut the
      4      hockey stick off.
      5               Q.        Can you quantify what you mean
      6      by "significantly decreased"?
      7               A.        Depends how strong that they
      8      said what they said.            But if they said what I
      9      said and it was a statement against interest
     10      by an opioid manufacturer, it would have gone
     11      right back to where it was in 1996.
     12               Q.        If Endo had stopped marketing
     13      its opioid products?
     14               A.        Not just stopped marketing.                If
     15      they'd given the reason for stop marketing or
     16      the reason that I gave, it would have knocked
     17      the hockey stick off.
     18               Q.        Have you done any analysis to
     19      determine what portion of the epidemic was
     20      caused by Endo?
     21                         MS. CONROY:        Objection.
     22                         THE WITNESS:         Yes.
     23               Q.        (BY MS. NAKAMURA)           What have
     24      you done?

    Golkow Litigation Services                                             Page 650
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further194Confidentiality
                                                           of 377. PageID #: 222366
                                                                               Review

      1               A.        All of it.        Everybody's
      2      responsible for all of it.               Everybody's
      3      equally responsible.
      4               Q.        Everyone is equally
      5      responsible?         Is there any attribution to
      6      Endo that you would have -- excuse me, strike
      7      that.
      8                         Are you able to tell me what
      9      portion of the opioid crisis was caused by
     10      Endo?
     11               A.        Everybody is equally
     12      responsible.         It's the bank robbery.
     13      Somebody's outside watching for the cops.
     14      Somebody's inside with the gun.                 Everybody is
     15      equally responsible for the community being
     16      harmed.
     17               Q.        Would you mind turning to
     18      page 82 of your report and taking a look at
     19      opinion 7.136?
     20               A.        Got it.
     21               Q.        And that opinion states that
     22      "Endo sought to influence formulary decisions
     23      by finding people to influence"; correct?
     24               A.        Correct.

    Golkow Litigation Services                                             Page 651
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further195Confidentiality
                                                           of 377. PageID #: 222367
                                                                               Review

      1               Q.        And in support of your opinion,
      2      you rely on one cited document; is that
      3      right?
      4               A.        I need to look at 136 to answer
      5      that question.
      6                         (Whereupon, Deposition Exhibit
      7               Egilman 40, Exhibit B.136, David S.
      8               Egilman Report Opiate Litigation, was
      9               marked for identification.)
     10               Q.        (BY MS. NAKAMURA)           And in this
     11      e-mail -- or in this exhibit, I'm sorry, you
     12      pasted an internal Endo e-mail; correct?
     13               A.        Correct.
     14               Q.        And other than this e-mail, you
     15      cite to no other documents in support of this
     16      opinion; right?
     17               A.        Not in this opinion, that's
     18      correct.
     19               Q.        Do you cite to --
     20                         Okay.     Scratch that.
     21                         You don't list any interviews
     22      that support this opinion; right?
     23               A.        No.
     24               Q.        You don't cite any deposition

    Golkow Litigation Services                                             Page 652
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further196Confidentiality
                                                           of 377. PageID #: 222368
                                                                               Review

      1      testimony in support of this opinion?
      2               A.        Correct.
      3               Q.        And you don't set forth the
      4      original question that you sought to answer;
      5      right?
      6                         MS. CONROY:        Objection.
      7                         THE WITNESS:         Well, you can add
      8               a "did" to the beginning and that's
      9               the question.
     10               Q.        (BY MS. NAKAMURA)           Right.      But
     11      that isn't in -- anywhere in your expert
     12      report; correct?
     13               A.        There's no "did" in front of
     14      the opinion, that's correct.




    Golkow Litigation Services                                             Page 653
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further197Confidentiality
                                                           of 377. PageID #: 222369
                                                                               Review




     17               Q.        Let's take a look at
     18      opinion 7.137, please.
     19                         It's also still on page 82 of
     20      your report.
     21                         (Whereupon, Deposition Exhibit
     22               Egilman 41, Opinion-ENDO was either
     23               too cheap to add its opioid labels to
     24               the 2014 PDR or completely

    Golkow Litigation Services                                             Page 654
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further198Confidentiality
                                                           of 377. PageID #: 222370
                                                                               Review

      1               irresponsible for this failure to warn
      2               doctors of any data concerning these
      3               dangerous drugs, was marked for
      4               identification.)




    Golkow Litigation Services                                             Page 655
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further199Confidentiality
                                                           of 377. PageID #: 222371
                                                                               Review




     21                         MS. CONROY:        Objection.
     22               Q.        (BY MS. NAKAMURA)           Have you
     23      ever reviewed any internal Endo
     24      communications discussing whether Opana ER

    Golkow Litigation Services                                             Page 656
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further200Confidentiality
                                                           of 377. PageID #: 222372
                                                                               Review

      1      would be included in the 2014 PDR?
      2               A.        No.
      3               Q.        The PDR is a compendium of
      4      FDA-approved labels for pharmaceutical
      5      products; right?
      6               A.        Plus more, but yes.
      7               Q.        It contains --
      8               A.        It also includes pictures of
      9      the drugs and a variety of other information.
     10               Q.        Thank you.
     11                         So it contains copies of
     12      FDA-approved product labeling?
     13               A.        Correct.
     14               Q.        And those labels are actually
     15      found on the products themselves; correct?
     16               A.        Well, they're passed out to the
     17      patient when the patient gets the drug.
     18               Q.        Right.      As part of the package
     19      insert?
     20               A.        Right.      It's usually 4 to
     21      6-point type, yes.
     22               Q.        And the product labeling and
     23      the package insert is also available on the
     24      FDA's website; right?

    Golkow Litigation Services                                             Page 657
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further201Confidentiality
                                                           of 377. PageID #: 222373
                                                                               Review

      1               A.        It is now.        I'm not sure when
      2      it first became available on the FDA web
      3      site.
      4               Q.        And there's no requirement that
      5      a manufacturer submit its product label for
      6      inclusion in the PDR; correct?
      7               A.        A label requirement?
      8               Q.        An FDA requirement.
      9               A.        I don't think so.
     10               Q.        There's no legal requirement
     11      either that a manufacturer submit its label
     12      for inclusion in the PDR; correct?
     13               A.        Do you mean statutory?
     14               Q.        Yes.
     15               A.        Correct.       There's no statute
     16      that says you have to do that.
     17               Q.        Other than the PDR, a physician
     18      can obtain the product labeling through other
     19      sources; right?
     20                         MS. CONROY:        Objection.
     21                         THE WITNESS:         Not so easy.
     22               Q.        (BY MS. NAKAMURA)           It's
     23      available on the FDA website as you
     24      previously testified?

    Golkow Litigation Services                                             Page 658
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further202Confidentiality
                                                           of 377. PageID #: 222374
                                                                               Review

      1                         MS. CONROY:        Objection.
      2                         THE WITNESS:         I don't know when
      3               it went on.        They're on the website
      4               now.     I don't know if they were on the
      5               website in 2014 or not.
      6               Q.        (BY MS. NAKAMURA)           It's also on
      7      the product itself; correct?
      8               A.        Yeah.     The physician doesn't
      9      get the product.           The patient gets the
     10      product.
     11               Q.        It's also available on the
     12      manufacturer's website?
     13               A.        I don't know.         I didn't check
     14      the 2014 Endo website.             May or may not have
     15      been.
     16               Q.        And if it was on the Endo
     17      website, a physician would have access to it
     18      if he searched; correct?
     19               A.        If he or she searched the Endo
     20      website and if it was on there, he or she
     21      probably could have found it.
     22                         MS. NAKAMURA:         Thank you.
     23                         THE VIDEOGRAPHER:           Going off
     24               the record at 2:11.

    Golkow Litigation Services                                             Page 659
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further203Confidentiality
                                                           of 377. PageID #: 222375
                                                                               Review

      1                         (Recess taken, 2:10 p.m. to
      2               2:12 p.m.)
      3                         THE VIDEOGRAPHER:           We are going
      4               back on the record at 2:13 p.m.
      5                               EXAMINATION
      6      BY MR. ERCOLE:
      7               Q.        Doctor, again, given the
      8      shortness of time, I'd ask that you keep your
      9      answers to "yes" or "no" unless they call for
     10      a different answer.
     11                         Sir, "yes" or "no," can you
     12      identify for me -- strike that.
     13                         Sir, you are not giving an
     14      opinion about any marketing by Watson
     15      Laboratories, are you?
     16               A.        Correct.
     17                         MS. CONROY:        Can you identify
     18               yourself and who you represent.
     19                         MR. ERCOLE:        Bryan Ercole from
     20               Morgan Lewis.
     21                         MS. CONROY:        Who do you
     22               represent?
     23                         MR. ERCOLE:        You're taking up
     24               time.     Do you want to cut this off?

    Golkow Litigation Services                                             Page 660
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further204Confidentiality
                                                           of 377. PageID #: 222376
                                                                               Review

      1                         MS. CONROY:        I'll give you just
      2               a minute if you tell me who you
      3               represent.
      4                         MR. ERCOLE:        I represent the
      5               Actavis and Teva defendants.
      6                         MS. CONROY:        Thank you.
      7               Q.        (BY MR. ERCOLE)          Sir, are you
      8      giving any opinion about any marketing by
      9      Actavis LLC?
     10               A.        You know, with respect to both
     11      the previous opinion and this opinion, I'm
     12      giving opinions about the drugs and how they
     13      were marketed and not -- not who owned them
     14      at different points in time.
     15               Q.        Sir, "yes" or "no."            Are you
     16      giving an opinion about any marketing by
     17      Actavis LLC?
     18               A.        I don't know.
     19               Q.        Can you identify for me any
     20      marketing statement about opioids made by
     21      Actavis LLC in Cuyahoga County or Summit
     22      County?
     23               A.        I have to look.
     24               Q.        Sitting here right now, can you

    Golkow Litigation Services                                             Page 661
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further205Confidentiality
                                                           of 377. PageID #: 222377
                                                                               Review

      1      identify for me any marketing statement about
      2      opioids made by Actavis LLC in Cuyahoga
      3      County or Summit County?
      4                         MS. CONROY:        By memory?
      5                         THE WITNESS:         Sitting here
      6               right now, I have to look at the
      7               marketing materials that relate to the
      8               products that Teva was selling, Actiq
      9               and Fentora, which are ones that are
     10               included in the report and see exactly
     11               who authored them.           I don't remember
     12               who authored them at various points in
     13               time.     So to answer that question, I
     14               have to go back and look at the
     15               documents generally by looking at the
     16               Bates numbers.
     17               Q.        (BY MR. ERCOLE)          Sir, I was not
     18      asking any questions about Teva.                  My question
     19      was about Actavis LLC.             Do you know what
     20      opioid medicines, if any, they market?
     21               A.        Yes.
     22               Q.        Okay.     What medicines are they?
     23      Just a list of them.
     24               A.        Norco, which is hydrocodone

    Golkow Litigation Services                                             Page 662
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further206Confidentiality
                                                           of 377. PageID #: 222378
                                                                               Review

      1      bitartrate and Tylenol.
      2               Q.        And, sir, you're -- I'll cut
      3      you off and say that your answer is
      4      incomplete, but you're reading off of a list
      5      of drugs that you have; is that correct?
      6               A.        That's correct.
      7               Q.        Okay.     Thank you.
      8               A.        So you don't want any more?
      9               Q.        No, I do not want any more than
     10      that.
     11                         Do you have -- sitting here
     12      today -- well, do you have a Redweld
     13      concerning Actavis?
     14               A.        I think so.
     15               Q.        Okay.     Can you ask your team to
     16      provide that Redweld right now?
     17               A.        They're not my team.            They're
     18      the lawyers on the case.
     19               Q.        Fair enough.         Can you provide
     20      that Redweld for me?
     21               A.        I'm not in control of them.
     22      Okay?     So you can ask them.
     23                         MR. ERCOLE:        Can you provide
     24               the Redweld of Actavis documents?

    Golkow Litigation Services                                             Page 663
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further207Confidentiality
                                                           of 377. PageID #: 222379
                                                                               Review

      1                         MS. CONROY:        What do you
      2               actually mean by "Actavis"?               Do you
      3               want the opinions --
      4                         If you would like the opinion
      5               numbers, if you list the opinion
      6               numbers.
      7                         MR. ERCOLE:        Sure.     I don't
      8               want to object because we're taking up
      9               time, but you said you believe you
     10               have a Redweld Actavis document, and
     11               I'd like to see what that Redweld is.
     12               So can you please provide that Redweld
     13               to the extent one exists.
     14                         MS. CONROY:        And each Redweld
     15               corresponds to an opinion.               So you
     16               need to provide the opinion number so
     17               out of these boxes, we can identify it
     18               and give you the Redweld.
     19                         MR. ERCOLE:        Okay.     Well,
     20               you've done -- for other defendants
     21               you've provided entire boxes of all of
     22               the opinions there.
     23                         MS. CONROY:        When they have
     24               identified an opinion number.

    Golkow Litigation Services                                             Page 664
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further208Confidentiality
                                                           of 377. PageID #: 222380
                                                                               Review

      1                         MR. ERCOLE:        Okay.
      2                         Let me keep moving forward.
      3               Q.        (BY MR. ERCOLE)          Sir, sitting
      4      here today, can you identify any Summit or --
      5      Summit County or Cuyahoga County prescriber
      6      who wrote an opioid preparation because of a
      7      false or misleading statement by any Actavis
      8      entity?
      9                         MS. CONROY:        Objection.
     10                         THE WITNESS:         I don't know.
     11               I'd have to go check the call notes.
     12               I think I have call notes by Actavis.
     13               So the answer is probably yes.
     14               Q.        (BY MR. ERCOLE)          You believe
     15      you have call notes concerning Actavis; is
     16      that correct?
     17               A.        Correct.
     18               Q.        Okay.     Sitting here today, can
     19      you identify for me any -- the name of any
     20      prescriber?
     21               A.        I don't think the names are in
     22      there, but I feel I've got an opinion on
     23      this.     I think it's B7.           B7's going to list
     24      the documents which I think include Actavis

    Golkow Litigation Services                                             Page 665
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further209Confidentiality
                                                           of 377. PageID #: 222381
                                                                               Review

      1      documents that identify people who could be
      2      characterized the way you characterize them.
      3      That is, they were misled by Actavis
      4      advertising or marketing.               And you need to go
      5      through that opinion and find them.                   I think
      6      I have them broken down by company.
      7               Q.        Well, that's exactly what I've
      8      asked.      You said you've broken it down by
      9      company.
     10                         Sir, it's a yes-or-no answer.
     11      Sitting here right now, can you identify for
     12      me any prescriber who was in Cuyahoga or
     13      Summit County that was misled by any
     14      statement by Actavis?
     15               A.        Not without looking at the
     16      Actavis exhibits that are cited in B7.
     17               Q.        Okay.     Thank you.
     18                         Sitting here today, can you --
     19      sitting here right now, can you identify for
     20      me any prescriber in Cuyahoga or Summit
     21      County that was misled by any statement from
     22      Cephalon?
     23               A.        Same answer.         I have to go back
     24      to the call notes.           I think there's evidence

    Golkow Litigation Services                                             Page 666
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further210Confidentiality
                                                           of 377. PageID #: 222382
                                                                               Review

      1      of that in the call notes.               So I have to look
      2      at the call notes by Cephalon.
      3               Q.        Fair enough.         And would that
      4      same answer apply to Teva USA too?
      5               A.        Correct.
      6               Q.        Okay.     Sir, do you -- you are
      7      not giving an opinion on the TIRF REMS
      8      program; is that correct?
      9               A.        Except that they don't work.
     10               Q.        Okay.     That is not listed in --
     11      the TIRF REM -- do you know what a TIRF
     12      medicine is?
     13               A.        Yes.     It's the transdermal
     14      fentanyls.
     15               Q.        Are you aware, sir, that before
     16      a prescription can be written under the TIRF
     17      REMS program, a prescriber must sign an
     18      agreement with the patient stating that he or
     19      she has counseled the patient about the risk,
     20      benefits, and appropriate use of TIRF
     21      medicines?
     22               A.        That's what they're supposed to
     23      do, that's right.
     24               Q.        And are you aware that under

    Golkow Litigation Services                                             Page 667
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further211Confidentiality
                                                           of 377. PageID #: 222383
                                                                               Review

      1      the TIRF REMS program, prescribers must be
      2      aware of the risks of any TIRF REM -- TIRF
      3      medicine before they write a prescription for
      4      one of those medicines?
      5               A.        That's generally true under any
      6      program, yes.
      7               Q.        And are you aware under the
      8      TIRF REMS program, a doctor must agree to
      9      assess his or her patient for signs of misuse
     10      or abuse?
     11               A.        Yes.
     12               Q.        You do not list any specific
     13      opinions in your report about the TIRF REMS
     14      program, do you?
     15               A.        I think that's correct.
     16               Q.        Sir, do you have a Redweld for
     17      Teva that contains the opinions that you're
     18      giving about Teva in this case?
     19               A.        Well, I have -- I have Teva
     20      opinions, and they have them in Redwelds back
     21      there.
     22               Q.        Okay.     And are they grouped
     23      together?
     24               A.        I don't know.         I didn't do that

    Golkow Litigation Services                                             Page 668
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further212Confidentiality
                                                           of 377. PageID #: 222384
                                                                               Review

      1      part of the organizing.
      2               Q.        Fair enough.         I'm going to --
      3      why don't I give you a composite exhibit of
      4      documents here.
      5                         I will represent to you that
      6      they are documents B1, B49, B50, B94, B310,
      7      B398, and B454.
      8                         And by "documents," I mean the
      9      Exhibits B to your report.
     10                         (Whereupon, Deposition Exhibit
     11               Egilman 42, B1, B49, B50, B94, B310,
     12               B398, and B454, was marked for
     13               identification.)
     14                         MS. CONROY:        And you want
     15               counsel to pull those folders?
     16                         THE WITNESS:         I don't -- I
     17               mean, if they -- I'll represent to you
     18               those are the documents that were in a
     19               box over there marked "Teva," and
     20               these are the opinions that are
     21               reflected in that box over there.
     22                         So if you want to pull them,
     23               you can pull them.
     24                         MS. CONROY:        No, we're only

    Golkow Litigation Services                                             Page 669
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further213Confidentiality
                                                           of 377. PageID #: 222385
                                                                               Review

      1               going to pull them if you want them.
      2                         MR. ERCOLE:        I'm just going to
      3               move forward with my questions.
      4                         MS. CONROY:        Don't pull them,
      5               then.
      6                         THE WITNESS:         I'm going to want
      7               them.
      8                         MS. CONROY:        You want them?
      9               Then fine, we will pull them.
     10                         MR. ERCOLE:        If he needs them,
     11               I'd like to go off the record so we're
     12               not taking up time doing that.
     13                         MS. CONROY:        No, we're not
     14               going off the record.             These are
     15               opinions that were provided to you
     16               with the basis, and we have time -- we
     17               have ourselves brought them here, and
     18               if the doctor would like to refer to
     19               them.     You can tell him not to refer
     20               to them.
     21                         MR. ERCOLE:        They're right in
     22               front of him.
     23                         MS. CONROY:        No, that is not
     24               the full opinion.

    Golkow Litigation Services                                             Page 670
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further214Confidentiality
                                                           of 377. PageID #: 222386
                                                                               Review

      1                         MR. ERCOLE:        Sure.     Feel free
      2               to pull the exhibits for those.
      3               Q.        (BY MR. ERCOLE)          Sir, these are
      4      Exhibits B -- the composite exhibit I showed
      5      you reflect Exhibits B1, B49, B50, B94, B310,
      6      B398, and B45.
      7                         Excuse me, B454 of your report.
      8                         Do you see that?
      9               A.        You said 398 and 454?
     10               Q.        Yes, sir.
     11               A.        That's what I've got.
     12               Q.        Okay.
     13                         Looking at those documents --
     14      and you refer to Teva in those documents?
     15                         Do you see that?
     16               A.        I do.
     17               Q.        Okay.
     18                         What Teva entity are you
     19      referring to?
     20               A.        Well, for the first one, it
     21      would be the Teva that was subject to the CIA
     22      in 2010.
     23               Q.        Sir, and -- do you know that
     24      with respect to each of the exhibits that I

    Golkow Litigation Services                                             Page 671
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further215Confidentiality
                                                           of 377. PageID #: 222387
                                                                               Review

      1      provided to you, that Teva Pharmaceuticals
      2      USA is not referenced in any of these -- any
      3      of the documents that you have cut and pasted
      4      or quoted from in connection with those
      5      opinions?
      6               A.        Well, I don't think that's
      7      correct.
      8               Q.        Okay.     Do you know that all of
      9      the documents referenced therein refer to
     10      conduct by Cephalon as opposed to Teva
     11      Pharmaceuticals?
     12                         MS. CONROY:        Objection.
     13                         THE WITNESS:         No, not exactly.
     14               Q.        (BY MR. ERCOLE)          Do you know
     15      the relationship between Cephalon and Teva
     16      Pharmaceuticals USA?
     17               A.        I think Teva bought Cephalon.
     18               Q.        And that's your understanding?
     19               A.        They own them in some way.
     20      That's my understanding based on the fact
     21      that all these documents that we are
     22      discussing have Teva Bates numbers on them.
     23      They were produced by Teva, not Cephalon.
     24               Q.        With respect to the opinions

    Golkow Litigation Services                                             Page 672
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further216Confidentiality
                                                           of 377. PageID #: 222388
                                                                               Review

      1      that I've given you in that composite
      2      exhibit, there is no deposition testimony
      3      from this case to -- that is cited in those
      4      exhibits to support those opinions; correct?
      5               A.        Correct.
      6               Q.        And there are no interviews of
      7      prescribers or patients that have been
      8      provided to support those opinions; correct?
      9               A.        Do you mean by me?
     10               Q.        Yes.
     11               A.        Correct.
     12               Q.        There is no specific written
     13      narrative in connection in -- with these
     14      exhibits, the composite exhibit I gave you to
     15      support the opinions that you're giving;
     16      correct?
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         No.
     19               Q.        (BY MR. ERCOLE)          That's
     20      incorrect?
     21               A.        Correct.
     22               Q.        Okay.
     23                         You have not provided any
     24      independent analysis in connection with the

    Golkow Litigation Services                                             Page 673
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further217Confidentiality
                                                           of 377. PageID #: 222389
                                                                               Review

      1      opinions that I'm showing you linking any of
      2      the conduct that is described in these
      3      opinions to any prescriber in Ohio; correct?
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         Not necessarily.
      6               Q.        (BY MR. ERCOLE)          Sir, have you
      7      provided any written analyses, you
      8      independently writing something in connection
      9      with these opinions, that links any of the
     10      conduct described in these opinions to any
     11      opioid prescription in Ohio?
     12                         MS. CONROY:        Objection.
     13               Q.        (BY MR. ERCOLE)          I'm not asking
     14      whether or not they quote documents or not.
     15      Is there any narrative that you've offered
     16      for these opinions linking anything, any of
     17      the conduct described therein, to any opioid
     18      prescription in Ohio?
     19               A.        There's no narrative by me.
     20                         MS. CONROY:        Objection.
     21                         MR. ERCOLE:        Okay.
     22               Q.        (BY MR. ERCOLE)          And there's no
     23      narrative by you --
     24               A.        Hang on one second.            Are you

    Golkow Litigation Services                                             Page 674
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further218Confidentiality
                                                           of 377. PageID #: 222390
                                                                               Review

      1      doing all five opinions?
      2               Q.        Yes.
      3               A.        Okay.     Let's -- let me look at
      4      them all, then.
      5               Q.        Sir, I'll withdraw the
      6      question, because we just -- in all due
      7      respect -- with all due respect, we don't
      8      have enough time for you to complete that
      9      analysis.
     10                         Any --
     11                         MS. CONROY:        Objection, move to
     12               strike.
     13               Q.        (BY MR. ERCOLE)          Any opinion
     14      that you are giving -- strike that.
     15                         Any of these opinions say
     16      specifically that Cephalon or Teva USA caused
     17      the opioid crisis in Ohio?
     18                         MS. CONROY:        Objection.
     19                         THE WITNESS:         Yes.
     20               Q.        (BY MR. ERCOLE)          Sir, do any of
     21      the opinions I just showed you expressly
     22      state that Cephalon or Teva USA caused the
     23      opioid epidemic in Ohio?
     24                         MS. CONROY:        Objection.

    Golkow Litigation Services                                             Page 675
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further219Confidentiality
                                                           of 377. PageID #: 222391
                                                                               Review

      1                         THE WITNESS:         No.
      2               Q.        (BY MR. ERCOLE)          Okay.     Do any
      3      of the opinions I just showed you expressly
      4      state that Cephalon or Teva USA caused any
      5      prescriber in Ohio to write an improper
      6      opioid prescription?
      7               A.        No.
      8               Q.        Do any of the opinions I just
      9      showed you expressly state that Cephalon or
     10      Teva USA caused any patient to be harmed by
     11      any opioid prescription in Ohio?
     12               A.        Now I have to look at them.
     13               Q.        Sir, I'll withdraw the
     14      question.
     15                         The title of your -- none --
     16      none of the opinions that are titled say
     17      anything about Teva or Cephalon causing any
     18      patient to be harmed by any opioid
     19      prescription in Ohio; correct?
     20               A.        The titles?
     21               Q.        Yes.
     22               A.        Correct.       Well, let me look at
     23      the titles and answer.
     24               Q.        Sir, I'll withdraw the

    Golkow Litigation Services                                             Page 676
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further220Confidentiality
                                                           of 377. PageID #: 222392
                                                                               Review

      1      question.       The titles will speak for
      2      themselves.
      3                         With respect to -- let me ask
      4      this.
      5                         With respect to any of the
      6      Teva, Cephalon or Actavis opinions that
      7      you're giving in this case, is there anything
      8      that would prevent a juror from reading the
      9      documents that you cite in your opinions and
     10      then reaching the same opinion?
     11                         MS. CONROY:        Objection.
     12                         THE WITNESS:         Depends on the
     13               juror.
     14               Q.        (BY MR. ERCOLE)          There may be
     15      some that would be able to certainly reach
     16      the same opinion?
     17               A.        Certainly if there was someone
     18      with my training and expertise, they -- but
     19      they wouldn't have time to read them during
     20      the course of a short trial.                So they
     21      couldn't -- they couldn't -- it would be
     22      like -- I mean, what I --
     23                         They couldn't -- they wouldn't
     24      have time to read them all, and so that would

    Golkow Litigation Services                                             Page 677
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further221Confidentiality
                                                           of 377. PageID #: 222393
                                                                               Review

      1      not be possible during a trial.
      2                         I mean, if they were board
      3      certified in internal medicine with training
      4      in epidemiology and public health --
      5               Q.        Sir, it was a -- it was a
      6      "yes/no" question.
      7               A.        Okay.     Well, depends on the
      8      juror, then.
      9               Q.        Okay.     And --
     10               A.        And how much time they have
     11      during the trial.
     12               Q.        Do you -- sir, are you -- are
     13      you aware that with respect to the opinions
     14      that you are giving as to Teva, Cephalon, any
     15      Actavis entity, that the total number of
     16      documents that you've cited in connection
     17      with those opinions is less than 30?
     18               A.        I don't think that's correct.
     19               Q.        Okay.     So you're not aware of
     20      that, then?
     21               A.        I think it's wrong.
     22                         MR. ERCOLE:        Okay.     Great.
     23                         And I'll -- just continue to
     24               note on the record that to be honest

    Golkow Litigation Services                                             Page 678
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further222Confidentiality
                                                           of 377. PageID #: 222394
                                                                               Review

      1               with you, this is absolutely
      2               ridiculous that we're forced to have
      3               to ask questions in the way that I did
      4               concerning multiple entities.                So I
      5               appreciate your position on that, but
      6               I just want to make it clear on the
      7               record, we certainly object and
      8               believe our due process rights are
      9               being infringed upon.
     10                         Thank you.
     11                         THE VIDEOGRAPHER:           Off the
     12               record.      2:33.
     13                         (Recess taken, 2:32 p.m. to
     14               2:51 p.m.)
     15                         THE VIDEOGRAPHER:           We are back
     16               on the record at 2:52.
     17                               EXAMINATION
     18      BY MR. GOLDSTEIN:
     19               Q.        My name is Josh Goldstein.               I
     20      represent Mackenrodt LLC in this case.
     21               A.        Good afternoon.
     22               Q.        Now, you just testified to
     23      Mr. Ercole that your opinions relate to
     24      particular drugs and how they were marketed

    Golkow Litigation Services                                               Page 679
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further223Confidentiality
                                                           of 377. PageID #: 222395
                                                                               Review

      1      and not who owned those particular drugs.
      2                         Is that accurate?
      3               A.        No.
      4               Q.        Okay.     Would you like to
      5      correct your prior testimony?
      6               A.        I don't think that's my prior
      7      testimony.
      8               Q.        Does the definition that you
      9      provide of venture only apply to companies
     10      and not drugs?
     11               A.        No, it applies to the companies
     12      I mentioned and the opioid drugs that they
     13      manufacture.
     14               Q.        And if those drugs are
     15      manufactured by a non-defendant, they would
     16      not apply to the venture?
     17               A.        I don't know if they would or
     18      wouldn't.       I don't have documents on a
     19      company that's not in the litigation.
     20               Q.        Now, are you offering a legal
     21      opinion of whether the defendants in this
     22      litigation are engaged in a venture?
     23               A.        I don't know -- if I'm offering
     24      an opinion, it's not a legal opinion.                    I'm

    Golkow Litigation Services                                              Page 680
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further224Confidentiality
                                                           of 377. PageID #: 222396
                                                                               Review

      1      not a lawyer or a judge.
      2               Q.        Have you ever been provided
      3      with a legal definition of the word
      4      "venture"?
      5               A.        No.
      6               Q.        And what about a conspiracy?
      7      Are you offering a legal opinion about
      8      whether the defendants are engaged in a
      9      conspiracy?
     10               A.        No, I don't think -- I don't
     11      use the word "conspiracy" at all.
     12               Q.        And have you ever been provided
     13      in connection with your work in this case a
     14      legal definition of the word "conspiracy"?
     15               A.        No.
     16               Q.        Now, you testified earlier --
     17      I'm going to hand you what's been marked as
     18      Exhibit 5 to your deposition.
     19                         And that's your assignment in
     20      this case; correct?
     21               A.        Correct.
     22               Q.        And that assignment refers to,
     23      in part, analyzing whether defendants worked
     24      together and/or separately; do you see that?

    Golkow Litigation Services                                             Page 681
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further225Confidentiality
                                                           of 377. PageID #: 222397
                                                                               Review

      1               A.        Yes.
      2               Q.        Are there any defendants who
      3      worked only separately?              Did not work
      4      together as part of this venture?
      5               A.        No.
      6               Q.        So it would be fair to delete
      7      the -- where you see it says "together and/or
      8      separately," would it be accurate to delete
      9      the "or"?
     10               A.        No.
     11               Q.        Are there any defendants who
     12      were part of the venture but did not work in
     13      concert with other defendants?
     14               A.        At some point in time, no.
     15               Q.        Okay.
     16               A.        Let me -- I'm not sure if
     17      that's a clear answer to that question.
     18                         All of the members of the
     19      venture at one point in time or another were
     20      members of the same organization or
     21      organizations that met the definition for the
     22      venture.
     23                         Some of them acted
     24      independently.          That is, they did not -- some

    Golkow Litigation Services                                             Page 682
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further226Confidentiality
                                                           of 377. PageID #: 222398
                                                                               Review

      1      of the actions that the individual venture
      2      member did were done independently of the
      3      venture, and I have no evidence that the
      4      venture knew about what they did when they
      5      did it.
      6               Q.        Did you distinguish in your
      7      report between when a defendant was acting
      8      together versus when a defendant was acting
      9      separately in furtherance of the venture?
     10               A.        In some cases, it's -- I think
     11      it's almost always obvious, because I'm
     12      either talking about acting through
     13      organizations or KOLs, or I'm talking about
     14      specific things that only one company would
     15      know about.
     16               Q.        So that's the distinction you
     17      would draw between acting together and
     18      separately?
     19               A.        I didn't make a distinction.                I
     20      said "and/or."          That's not a distinction.
     21               Q.        No, your testimony that you
     22      just provided, that's the distinction you
     23      would draw?
     24                         Or strike that.

    Golkow Litigation Services                                             Page 683
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further227Confidentiality
                                                           of 377. PageID #: 222399
                                                                               Review

      1                         That's how you -- your
      2      testimony is that's how you determined or set
      3      forth in your report when a defendant was
      4      acting together and when a defendant was
      5      acting separately?
      6               A.        Well, what do you mean by
      7      "That's how"?
      8               Q.        I'll strike the question.
      9                         You're aware that there are
     10      manufacturers of opioids that are not
     11      defendants in this case?
     12               A.        Yes.
     13               Q.        Now, putting aside the fact
     14      that they're not defendants, but for that
     15      fact, are they participants in the venture?
     16               A.        I do not know.
     17               Q.        And why is that?
     18               A.        Because I haven't seen their
     19      documents.        I haven't seen or reviewed their
     20      materials.
     21                         I haven't reviewed their call
     22      notes.      I haven't done the things I've been
     23      able to do with participants in the
     24      litigation.

    Golkow Litigation Services                                             Page 684
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further228Confidentiality
                                                           of 377. PageID #: 222400
                                                                               Review

      1               Q.        So it's possible to be a
      2      manufacturer of prescription opioids and not
      3      be a member of the venture, putting aside the
      4      fact that your term is limited to defendants?
      5               A.        Anything is possible.
      6               Q.        But it just so happens that all
      7      of the defendants are also all members of the
      8      venture?
      9                         Is that right?
     10                         MS. CONROY:        Objection.
     11                         THE WITNESS:         No.
     12               Q.        (BY MR. GOLDSTEIN)           If you
     13      turn -- I'm going to hand you what's
     14      previously been marked as Exhibit 12.
     15                         And I want to refer you to
     16      subparagraph (2).           You say "They" -- they
     17      being the members of the venture -- is that
     18      right?
     19               A.        Yes.
     20               Q.        "Worked together to influence
     21      public perceptions of the class of narcotic
     22      drugs," and then you list "drug toxicity,
     23      untreated pain and encouraged use of
     24      narcotics instead of non-medication

    Golkow Litigation Services                                             Page 685
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further229Confidentiality
                                                           of 377. PageID #: 222401
                                                                               Review

      1      treatments or less addictive drugs."
      2                         Do you see all of that?
      3               A.        Yes.
      4               Q.        Did all of the members of the
      5      venture work together to influence public
      6      perceptions of the class of narcotic drugs
      7      with respect to the drug toxicity?
      8               A.        All of the members of the
      9      venture worked in organizations or separately
     10      to minimize drug toxicity.
     11               Q.        That wasn't my question.              My
     12      question was whether they all worked together
     13      to influence public perceptions of the class
     14      of narcotic drugs with respect to the drug's
     15      toxicity?
     16               A.        All of the members of the
     17      venture worked in organizations or separately
     18      to influence public perceptions of the class
     19      of narcotic drugs with respect to the drug's
     20      toxicity.
     21               Q.        And is that true with respect
     22      to untreated pain?
     23                         MS. CONROY:        Objection.
     24                         THE WITNESS:         Yes.

    Golkow Litigation Services                                             Page 686
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further230Confidentiality
                                                           of 377. PageID #: 222402
                                                                               Review

      1               Q.        (BY MR. GOLDSTEIN)           And same
      2      for subparagraph (c)?
      3               A.        Yes.
      4               Q.        And is it your testimony that
      5      your report sets forth the ways in which each
      6      defendant did each of these three things?
      7      2(a), (b), and (c) of Exhibit 12?
      8               A.        In the way that I described
      9      before, yes.
     10                         And by that, I mean my
     11      definition of "together and separately."
     12               Q.        Understood.
     13                         Now, you would agree with me
     14      that there's no written explanation in your
     15      report for when -- that defines when each
     16      manufacturer that's a member of the venture
     17      became a member of the venture.
     18               A.        It exists for some, probably
     19      not for all.
     20               Q.        So just by reading your report,
     21      each member of the venture could not look at
     22      the report and determine when they became a
     23      member of the venture?
     24               A.        No, they could know when they

    Golkow Litigation Services                                             Page 687
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further231Confidentiality
                                                           of 377. PageID #: 222403
                                                                               Review

      1      were a member of the venture.                 But when they
      2      first became a member of the venture, that --
      3      I didn't have data on that for all the
      4      companies.
      5               Q.        You --
      6               A.        So in other words, when they
      7      joined the American Pain Foundation, that
      8      would be a joining of the venture.                   Or when
      9      they joined the Pain Care Forum, that would
     10      be joining an activity of the venture.                     Or
     11      when they joined an activity --
     12               Q.        I think I understand your
     13      testimony.
     14               A.        -- of JACHO --
     15               Q.        I think I understand your
     16      testimony.
     17               A.        So the answer is incomplete.
     18      No problem.
     19               Q.        So my question -- so you said
     20      you didn't have the data for each company on
     21      when they became a member of the venture;
     22      right?
     23               A.        I didn't include the data for
     24      membership.

    Golkow Litigation Services                                               Page 688
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further232Confidentiality
                                                           of 377. PageID #: 222404
                                                                               Review

      1               Q.        Oh.     So --
      2               A.        It wasn't like the Communist
      3      Party.      They didn't give out cards.
      4               Q.        So you have the data; you just
      5      didn't include it in your report?
      6               A.        For some, I may have the data,
      7      and for some, I don't have the data.
      8               Q.        So for some, even you have no
      9      idea when the defendant became a member of
     10      the venture?
     11                         MS. CONROY:        Objection.
     12                         THE WITNESS:         I don't know, for
     13               example, when -- and I don't know if I
     14               have this or not -- when Purdue first
     15               became a member of the Pain Care
     16               Forum, or when Endo first joined HDMA.
     17               Q.        (BY MR. GOLDSTEIN)           That's not
     18      my question.
     19               A.        I don't have that data.
     20               Q.        That's not my question.              My
     21      question is even you do not know when each
     22      defendant that's a member of the venture
     23      became a member of the venture.
     24                         MS. CONROY:        Objection.

    Golkow Litigation Services                                             Page 689
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further233Confidentiality
                                                           of 377. PageID #: 222405
                                                                               Review

      1                         THE WITNESS:         Well, I think I
      2               have -- most of that information is in
      3               the documents, but I certainly didn't
      4               put it in the report by date.
      5               Q.        (BY MR. GOLDSTEIN)           Okay.      Do
      6      you have an understanding that manufacturers
      7      of prescription opioids manufacture different
      8      types of prescription opioids; right?
      9               A.        Yes.
     10               Q.        And those prescription opioids
     11      have different benefits and risks associated
     12      with them?
     13               A.        No, not necessarily.
     14               Q.        Do they have different
     15      benefits?
     16               A.        Some do, some don't.            Some have
     17      the same benefits.           After all, you have some
     18      generics.       They all are addictive, so that's
     19      the same risk.
     20               Q.        So the ones --
     21               A.        They all work for short-term
     22      pain, for some short-term pain.                 So there's a
     23      wide range of overlap between different
     24      opioids.

    Golkow Litigation Services                                               Page 690
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further234Confidentiality
                                                           of 377. PageID #: 222406
                                                                               Review

      1               Q.        Is it fair to say that
      2      manufacturers of prescription opioids found
      3      in certain cases compete against each other
      4      in manufacturing different products that they
      5      bring to the market?
      6               A.        Yes.
      7               Q.        And if a manufacturer -- strike
      8      that.
      9                         Are you -- you're aware that
     10      some prescription opioids are not intended to
     11      be used by patients who are not already
     12      taking a prescription opioid?
     13               A.        Who have not developed
     14      tolerance to prescription opioids.                   That
     15      would be the TIRF REMS thing, for example.
     16               Q.        In an instance where a
     17      manufacturer manufactures an opioid that's
     18      intended to be used by a patient who's
     19      already taking a different opioid, would you
     20      agree that the -- that that manufacturer is
     21      not manufacturing the opioid to be used by a
     22      patient who's not already taking an opioid?
     23                         MS. CONROY:        Objection.
     24                         THE WITNESS:         No.

    Golkow Litigation Services                                             Page 691
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further235Confidentiality
                                                           of 377. PageID #: 222407
                                                                               Review

      1               Q.        (BY MR. GOLDSTEIN)           Now,
      2      you've --
      3               A.        No, look at Insys.
      4               Q.        You previously testified that
      5      you prescribed opioids.
      6                         Do you recall that testimony?
      7               A.        Yes.
      8               Q.        Before prescribing opioids, do
      9      you agree that prescribers should always
     10      ensure that the benefits outweigh the risks?
     11               A.        When possible.
     12                         It's not possible in all
     13      situations.
     14               Q.        Is that what you did when you
     15      prescribed opioids?            You always evaluated
     16      whether the benefits outweighed the risks?
     17               A.        No.     I relied on the
     18      information available to me to do that.
     19                         I could not -- I could not
     20      evaluate risks and benefits because the
     21      companies misrepresented risks and
     22      benefits --
     23               Q.        I'm saying based on the
     24      information --

    Golkow Litigation Services                                             Page 692
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further236Confidentiality
                                                           of 377. PageID #: 222408
                                                                               Review

      1               A.        Excuse me.        Let me finish my
      2      answer.
      3               Q.        I'll strike the question.
      4                         Based on the information that
      5      was available to you at the time you
      6      prescribed opioids, did you always ensure
      7      that the benefits outweighed the risks as you
      8      understood them?
      9               A.        I tried to do that.
     10               Q.        And in trying to do that, you
     11      relied on your medical training and
     12      experience; correct?
     13               A.        In part.
     14               Q.        And on medical research and
     15      scientific studies?
     16               A.        In part.
     17               Q.        On CMEs?
     18               A.        I don't think I had any CMEs on
     19      opioids when I was prescribing.
     20               Q.        Are you aware that other
     21      prescribers rely on CMEs?
     22                         MS. CONROY:        Objection.
     23               Q.        (BY MR. GOLDSTEIN)           I'll strike
     24      the question.

    Golkow Litigation Services                                             Page 693
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further237Confidentiality
                                                           of 377. PageID #: 222409
                                                                               Review

      1                         You relied on the contents of
      2      the FDA-approved label when you prescribed
      3      opioids?
      4               A.        Yes.
      5               Q.        And when you considered the
      6      risks, you considered the patient's medical
      7      history?
      8               A.        Yes.
      9               Q.        And you considered -- strike --
     10      and when you considered the risks and
     11      benefits, you considered the patient's
     12      presentation based on your examination and
     13      interview with that patient?
     14               A.        Yes.
     15               Q.        And you considered whether the
     16      patient -- strike that.
     17                         Are you aware that particular
     18      patients have a disproportionate risk of
     19      developing an opioid-related substance abuse
     20      or dependence?
     21                         Are some patients more likely
     22      to develop a substance abuse dependence than
     23      others?
     24                         MS. CONROY:        Objection.

    Golkow Litigation Services                                             Page 694
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further238Confidentiality
                                                           of 377. PageID #: 222410
                                                                               Review

      1                         THE WITNESS:         Certainly those
      2               with a previous history of substance
      3               abuse, yes.
      4               Q.        (BY MR. GOLDSTEIN)           And is that
      5      something you consider when prescribing
      6      opioids?
      7                         MS. CONROY:        Objection.
      8                         THE WITNESS:         Well, I tried to
      9               consider that.         That's something
     10               patients often don't tell the truth
     11               about.
     12               Q.        (BY MR. GOLDSTEIN)           What are
     13      the factors that you would look to to
     14      determine whether a patient was a particular
     15      risk of developing a substance abuse disorder
     16      or dependence?
     17               A.        Basically whether they said
     18      they'd had a substance abuse disorder in the
     19      past.     You asked that question.              You asked
     20      about the history of a use of opioids.
     21                         MR. GOLDSTEIN:          We can go off.
     22                         THE VIDEOGRAPHER:           Off the
     23               record at 3:09.
     24                         (Recess taken, 3:08 p.m. to

    Golkow Litigation Services                                             Page 695
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further239Confidentiality
                                                           of 377. PageID #: 222411
                                                                               Review

      1               3:10 p.m.)
      2                         THE VIDEOGRAPHER:           We are back
      3               on the record at 3:11.
      4                               EXAMINATION
      5      BY MS. WELCH:
      6               Q.        Good afternoon, Dr. Egilman.
      7      My name is Donna Welch.              I represent the
      8      Allergan defendants.
      9               A.        Good afternoon.
     10               Q.        Thank you.
     11                         The first thing I want to try
     12      to do is fairly efficiently make sure that I
     13      have a record for my client of all of the
     14      documents and other material that forms the
     15      bases for your opinions as they specifically
     16      relate to Actavis or Allergan.
     17                         I have identified opinions 6,
     18      123, 385, 426, 444 and 480, as specifically
     19      referring to Actavis and/or Allergan.                    And
     20      I've had counsel pull the support materials
     21      for those opinions.
     22                         Am I correct, Dr. Egilman, that
     23      the materials included in those exhibits,
     24      which we've marked as Egilman 43 through

    Golkow Litigation Services                                              Page 696
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further240Confidentiality
                                                           of 377. PageID #: 222412
                                                                               Review

      1      Egilman 48, as well as any documents that are
      2      contained in the colored folders that were
      3      marked as Group Exhibit 26 yesterday, contain
      4      all of the bases for your opinions 6, 123,
      5      385, 426, 444, and 480?
      6                         (Whereupon, Deposition Exhibit
      7               Egilman 43, B.6 Redweld, was marked
      8               for identification.)
      9                         (Whereupon, Deposition Exhibit
     10               Egilman 44, B.123 Redweld, was marked
     11               for identification.)
     12                         (Whereupon, Deposition Exhibit
     13               Egilman 45, Tab 22, Exhibit 385, was
     14               marked for identification.)
     15                         (Whereupon, Deposition Exhibit
     16               Egilman 46, B.426 Redweld, was marked
     17               for identification.)
     18                         (Whereupon, Deposition Exhibit
     19               Egilman 47, B.444 Redweld, was marked
     20               for identification.)
     21                         (Whereupon, Deposition Exhibit
     22               Egilman 48, B.480 Redweld, was marked
     23               for identification.)
     24                         THE WITNESS:         Yeah.     I think

    Golkow Litigation Services                                             Page 697
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further241Confidentiality
                                                           of 377. PageID #: 222413
                                                                               Review

      1               that's correct, but I think if you're
      2               delineating it by your initial
      3               prologue, it would also include B7 and
      4               the Perry appendices that I mentioned
      5               yesterday that I brought today.
      6               Q.        (BY MS. WELCH)          Thank you for
      7      that.
      8                         Including, then, B7 and the
      9      Perry appendices that you referenced, do the
     10      materials marked in Egilman 4 through 48 and
     11      Egilman 26 together contain all of the bases
     12      for the opinions that I just identified?
     13               A.        I believe so.
     14               Q.        Thank you.
     15                         I am also going to hand you
     16      what I've marked as Exhibit 49.
     17                         Jayne, I'm going to read the
     18      Bates numbers and then hand you the other
     19      copy.
     20                         (Whereupon, Deposition Exhibit
     21               Egilman 49, February 2010 email chain.
     22               Subj: RE: Call this Afternoon with
     23               attachments, Acquired_
     24               Actavis_00367447-367452 plus 3 more

    Golkow Litigation Services                                             Page 698
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further242Confidentiality
                                                           of 377. PageID #: 222414
                                                                               Review

      1               pages, was marked for identification.)
      2               Q.        (BY MS. WELCH)          This is an
      3      e-mail dated 2-17-2010 that bears the Bates
      4      label 7447, and it has two attachments.
      5                         Egilman 49, Dr. Egilman, I will
      6      represent was one of the documents that you
      7      identified yesterday as being contained in
      8      Group Exhibit 26.
      9                         These documents reference a
     10      Kadian speaker's program; correct?
     11               A.        Correct.
     12               Q.        Did you do anything, one way or
     13      another, to determine if a Kadian speaker's
     14      program was ever implemented by Actavis or
     15      Allergan?
     16               A.        Apart from these documents?
     17      No.
     18               Q.        So you do not know, one way or
     19      another, whether a Kadian speaker's program
     20      was implemented; correct?
     21               A.        No.     I'd have to look at the
     22      documents.
     23                         My recollection is it was one,
     24      but I'd need to look to be sure.

    Golkow Litigation Services                                             Page 699
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further243Confidentiality
                                                           of 377. PageID #: 222415
                                                                               Review

      1               Q.        I'll represent to you,
      2      Dr. Egilman, that these refer to a proposed
      3      Kadian speaker's program and a proposed
      4      budget.       I just want to make sure that I
      5      understand correctly that other than these
      6      documents, you have no information to support
      7      an opinion that a Kadian speaker's program
      8      was actually ever implemented; correct?
      9      Other than these documents.
     10               A.        I don't think that's correct.
     11      I have the KOL opinion, with -- which
     12      included some funding from Kadian, which --
     13      some of which, I think, went for speakers.
     14      Now, whether those speakers were under this
     15      program or another program, I don't recall.
     16               Q.        I'm going to have you turn to
     17      page 129 in your report.              And I want to ask
     18      you about opinion 444.             7.444.
     19               A.        What page?
     20               Q.        129.
     21               A.        Okay.
     22               Q.        Opinion 444 says "Allergan did
     23      many bad things, such as lying about
     24      addiction, expanding the opioid market,

    Golkow Litigation Services                                             Page 700
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further244Confidentiality
                                                           of 377. PageID #: 222416
                                                                               Review

      1      claimed pain was a disease, and entered into
      2      settlements and guilty pleas."
      3                         Do you see that?
      4               A.        I do.
      5               Q.        You used the term "many bad
      6      things."
      7                         Is that a term of art in your
      8      areas of expertise?
      9               A.        No.
     10               Q.        Is there some technical
     11      definition or meaning to "bad things" that
     12      you can explain for me?
     13               A.        Sure.     It would be defined by
     14      the specific examples listed in the documents
     15      that were listed below.
     16               Q.        Would you agree with me that
     17      your report that has been marked by -- as an
     18      exhibit in a case does not contain any
     19      written analysis describing how you came to
     20      that opinion?
     21                         MS. CONROY:        Objection.
     22                         THE WITNESS:         Do you mean by
     23               me?
     24               Q.        (BY MS. WELCH)          Correct.

    Golkow Litigation Services                                             Page 701
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further245Confidentiality
                                                           of 377. PageID #: 222417
                                                                               Review

      1               A.        I think that's correct.
      2               Q.        Would you agree with me that
      3      your report does not contain any written
      4      analysis by you explaining how the referenced
      5      or cited documents support the opinion that
      6      Allergan did many bad things?
      7               A.        Correct.
      8               Q.        Would you agree with me that
      9      your report does not contain any written
     10      explanation by you why you believe that those
     11      documents constitute the best evidence
     12      regarding your opinion 7.444?
     13               A.        Correct.
     14               Q.        What was the answerable
     15      question that was the underpinning for
     16      opinion 7.444?
     17               A.        The same issue, the general --
     18      my general assignment.
     19               Q.        What was the specific
     20      uncertainty that you translated to the
     21      answerable question for purposes of coming to
     22      your expert opinion 7.444?
     23               A.        It's my assignment in the case.
     24               Q.        The specific uncertainty and

    Golkow Litigation Services                                             Page 702
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further246Confidentiality
                                                           of 377. PageID #: 222418
                                                                               Review

      1      the answerable question that underpin
      2      opinion 7.444 are the assignment in the case
      3      that you read yesterday from a piece of paper
      4      and which was marked as an exhibit?
      5               A.        Correct.
      6               Q.        Exhibit -- I'm sorry,
      7      opinion 7.444 lists four specific things:
      8      "Lying about addiction, expanding the opioid
      9      market, claiming pain was a disease, and
     10      entering into settlement and guilty pleas."
     11                         Are there any other specific
     12      things that you claim Allergan did that you
     13      contend were bad things that you intend to
     14      offer an opinion on?
     15               A.        Sure.     Because that phrase
     16      starts with "such as."             So there are just
     17      four examples.
     18               Q.        I have a limited amount of
     19      time, Dr. Egilman, so I'd like you to list as
     20      succinctly as you can the other bad things
     21      you claim Allergan did that you intend to
     22      offer an opinion on in this case?
     23               A.        Well, they're going to be in
     24      these documents attached.

    Golkow Litigation Services                                             Page 703
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further247Confidentiality
                                                           of 377. PageID #: 222419
                                                                               Review

      1               Q.        Can you list for me,
      2      Dr. Egilman, the other bad things that you
      3      contend Allergan did that you intend to offer
      4      as opinions in this case?
      5               A.        I can certainly list some of
      6      them by going through the documents.
      7               Q.        Can you tell me what they are?
      8               A.        Sure.
      9                         Actavis offered a rebate
     10      program to Kroger for encouraging the sale --
     11               Q.        I don't need more details about
     12      the rebate program.
     13                         Other than the four things
     14      identified and offering a rebate program to
     15      Kroger, can you list any other allegedly bad
     16      things done by Allergan on which you intend
     17      to offer an opinion?
     18               A.        Sure.     I can go through them.
     19               Q.        And, Dr. Egilman, in the very
     20      limited time I have available, I don't have
     21      time, unfortunately, for you to go through
     22      the documents.
     23                         Without going through the
     24      documents, can you identify any other bad

    Golkow Litigation Services                                             Page 704
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further248Confidentiality
                                                           of 377. PageID #: 222420
                                                                               Review

      1      things that Allergan -- you claim Allergan
      2      did on which you intend to offer an opinion?
      3               A.        Without looking at the
      4      documents?        No, I can't do that.
      5               Q.        Okay.
      6                         You cite to two settlement
      7      agreements in your reference materials.                     Both
      8      are dated 2010, and I will reference and
      9      represent to you that neither of them related
     10      to opioids.
     11                         Are you aware of any other
     12      Actavis or Allergan settlement agreements
     13      that relate to opioids?
     14               A.        No.
     15               Q.        Are you aware of any Allergan
     16      or Actavis guilty pleas?
     17               A.        No.
     18               Q.        During what specific time
     19      period is it your opinion that the opioid
     20      market was expanded?
     21               A.        That's the hockey stick.              So
     22      that goes from 1996 to about 2016, with a
     23      drop-off in 2016 because certain Class II
     24      drugs were made Class III drugs.

    Golkow Litigation Services                                             Page 705
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further249Confidentiality
                                                           of 377. PageID #: 222421
                                                                               Review

      1               Q.        So it's your expert opinion
      2      that market expansion for opioids continued
      3      through 2016; is that correct?
      4               A.        Well, they may have continued
      5      after, but there's a -- there's a
      6      complication in the data because Class III
      7      drugs -- Vicodin, Vicodin was changed from a
      8      Class III to Class II, so it's hard --
      9               Q.        Dr. Egilman, I hate to
     10      interrupt, but you've actually answered my
     11      question with respect to time period.                    I
     12      appreciate that.
     13               A.        No problem.
     14               Q.        Do you intend to offer an
     15      opinion on the specific amount by which you
     16      believe Allergan expanded the opioids market?
     17               A.        Per se, Allergan?
     18               Q.        Yes.
     19               A.        No.     My opinion is that, again,
     20      everybody's 100 percent responsible.
     21               Q.        You cite a number of Kadian
     22      marketing materials as the basis for your
     23      opinions.       Do you know for any those
     24      materials whether Actavis or Allergan or its

    Golkow Litigation Services                                             Page 706
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further250Confidentiality
                                                           of 377. PageID #: 222422
                                                                               Review

      1      outside sales force ever used those marketing
      2      materials after they acquired Kadian in
      3      December 2008?
      4               A.        That would be in the call notes
      5      somewhere, so I would have to look at them by
      6      date.
      7               Q.        Did you review call notes
      8      summaries for Actavis or Allergan that
      9      included references to specific use of
     10      marketing materials?
     11               A.        I think so, but I don't recall
     12      specifically.
     13               Q.        Am I correct that you have not
     14      attempted to determine whether any prescriber
     15      in Ohio relied on any of the marketing
     16      materials you reference in writing a
     17      prescription for an opioid?
     18               A.        No.
     19               Q.        You have attempted to determine
     20      whether a prescriber in Ohio relied on any of
     21      those marketing materials in writing a
     22      prescription for opioids?
     23               A.        Yes.
     24               Q.        What did you do to determine

    Golkow Litigation Services                                             Page 707
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further251Confidentiality
                                                           of 377. PageID #: 222423
                                                                               Review

      1      whether a specific prescriber relied on those
      2      specific marketing materials in writing a
      3      prescription?
      4               A.        Read the call notes where there
      5      are references to that or if there are some
      6      e-mails where sales representatives are
      7      congratulated for getting a particular
      8      prescriber --
      9               Q.        Other than referencing a call
     10      note or an e-mail, did you do anything to
     11      determine whether a prescriber in Ohio relied
     12      on the materials in writing a prescription?
     13               A.        A particular prescriber?
     14               Q.        Yes.
     15               A.        No.
     16               Q.        You also cite to a
     17      February 2010 warning letter from the FDA to
     18      Allergan; correct?
     19               A.        Yes.
     20               Q.        You don't cite to any of the
     21      corrective action plan -- you do not cite to
     22      the corrective action plan approved by the
     23      FDA and implemented by Allergan; correct?
     24               A.        Well, the first part is

    Golkow Litigation Services                                             Page 708
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further252Confidentiality
                                                           of 377. PageID #: 222424
                                                                               Review

      1      correct.       The second part, I don't know if
      2      that happened.
      3               Q.        You'll agree with me that you
      4      didn't cite to the corrective action plan;
      5      correct?
      6               A.        Correct.
      7               Q.        And you didn't review the
      8      corrective action plan?
      9               A.        I think I may have reviewed it.
     10               Q.        Can you explain how your
     11      systematic retrieval of the best evidence
     12      available regarding my client didn't include
     13      a citation to evidence relating to the
     14      corrective action plan?
     15               A.        I had no evidence that the
     16      corrective action plan was ever implemented.
     17                         MS. WELCH:        Dr. Egilman, I want
     18               to make a statement for the record.
     19               There are 220 Allergan documents
     20               referenced in your report by my review
     21               of the record.         Nowhere in your report
     22               do you explain how those documents
     23               were retrieved, how they constitute
     24               the best evidence, or how they support

    Golkow Litigation Services                                             Page 709
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further253Confidentiality
                                                           of 377. PageID #: 222425
                                                                               Review

      1               your opinion.
      2                         I don't have time to question
      3               you about any of your other opinions
      4               at this time.         I reserve all rights to
      5               seek additional time from the Court to
      6               question you about the basis for those
      7               opinions.
      8                         MS. CONROY:        Objection, move to
      9               strike.
     10                         THE VIDEOGRAPHER:           Off the
     11               record at 3:26.
     12                         (Recess taken, 3:25 p.m. to
     13               3:28 p.m.)
     14                         THE VIDEOGRAPHER:           We are back
     15               on the record at 3:29 p.m.
     16                               EXAMINATION
     17      BY MR. SWANSON:
     18               Q.        Good afternoon, Dr. Egilman.
     19      My name is Brian Swanson, and I represent
     20      Walgreens.
     21               A.        Good afternoon.
     22               Q.        Good afternoon.
     23                         As Ms. Welch said, I wanted to
     24      just begin with a housekeeping matter, but I

    Golkow Litigation Services                                             Page 710
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further254Confidentiality
                                                           of 377. PageID #: 222426
                                                                               Review

      1      think, given the scope of your opinions, the
      2      Walgreens house is a little bit bigger.                     So
      3      I'm going to have to do this a little bit
      4      differently, I think.
      5                         By my count, you have roughly
      6      50 opinions cited in your report and appendix
      7      that relate directly to Walgreens and
      8      Walgreens' conduct.            Does that sound
      9      generally accurate to you, sir?
     10               A.        I haven't done any counts.
     11               Q.        No counts.        Okay.     Now, have
     12      your team endeavored to put together a
     13      Redweld to the opinions that relate
     14      specifically to Walgreens?
     15               A.        They're not my team.            Those are
     16      plaintiff lawyers in the case.
     17               Q.        Okay.     Have the plaintiffs'
     18      lawyers endeavored to put together a Redweld
     19      of the opinions that you have provided that
     20      are specific to Walgreens?
     21               A.        I don't know.
     22               Q.        Am I correct, sir, that all of
     23      the evidence that you rely on as the bases
     24      for your opinions directed specifically to

    Golkow Litigation Services                                             Page 711
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further255Confidentiality
                                                           of 377. PageID #: 222427
                                                                               Review

      1      Walgreens are included in Exhibits B1 to B489
      2      of your report?
      3               A.        I don't know.
      4               Q.        Does your report and the
      5      attached appendices include all of the bases
      6      for your opinions that are directed
      7      specifically to Walgreens?
      8               A.        That I have in this litigation?
      9      Yes.
     10               Q.        Yes, sir.
     11                         Now, in arriving at those
     12      opinions that you have directed specifically
     13      to Walgreens, can you tell me how many
     14      documents you personally reviewed that were
     15      produced by Walgreens?
     16               A.        No.
     17               Q.        Was it more than 100?
     18               A.        I don't know.
     19               Q.        Was it more than a thousand?
     20               A.        I don't know.
     21               Q.        What is your best estimate
     22      within 500 documents?
     23               A.        I don't have one.
     24               Q.        Can you tell me how many pages

    Golkow Litigation Services                                             Page 712
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further256Confidentiality
                                                           of 377. PageID #: 222428
                                                                               Review

      1      of Walgreens materials you reviewed?
      2               A.        No.
      3               Q.        Did you personally review every
      4      Walgreens document that you included in your
      5      report as support for your opinions directed
      6      to Walgreens?
      7               A.        Yes.
      8               Q.        Did you personally review the
      9      entire document?
     10               A.        To the extent that I had the
     11      entire document, yes.             I'm not sure I had the
     12      entire document in all cases, though.                    I
     13      think there may have been some documents that
     14      were redacted, et cetera.
     15               Q.        Okay.     And the reason I ask is
     16      that some of your appendices include excerpts
     17      from Walgreens documents.               You're aware of
     18      that, correct, sir?
     19                         MS. CONROY:        Objection.
     20                         THE WITNESS:         That's correct.
     21               Q.        (BY MR. SWANSON)           And for those
     22      exhibits where you've only included an
     23      excerpt from a document, did you review the
     24      entire document in arriving at your opinion?

    Golkow Litigation Services                                             Page 713
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further257Confidentiality
                                                           of 377. PageID #: 222429
                                                                               Review

      1               A.        Yes.
      2               Q.        Your report says, at page 38,
      3      that you reviewed depositions taken in the
      4      case.     Is that a true statement?
      5               A.        Yes.
      6               Q.        If you relied, sir, on
      7      deposition testimony of any Walgreens
      8      employee as a basis for any of your opinions
      9      on Walgreens' account, you cited that
     10      deposition testimony somewhere in your
     11      report; correct?
     12               A.        Correct.
     13               Q.        Can you testify today that you
     14      personally read any deposition from any
     15      Walgreens employee current or former?
     16               A.        I don't have any specific
     17      recollection of reading any Walgreens
     18      depositions.
     19               Q.        Did you have any discussions
     20      with any plaintiffs' lawyers about the
     21      testimony of any Walgreens employees?
     22               A.        I may have.
     23               Q.        What do you recall
     24      specifically, if anything, about that

    Golkow Litigation Services                                             Page 714
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further258Confidentiality
                                                           of 377. PageID #: 222430
                                                                               Review

      1      conversation?
      2               A.        Nothing.
      3               Q.        Do you recall which witness
      4      testimony you may have discussed with
      5      plaintiffs' lawyers?
      6               A.        No.
      7               Q.        Did you review any discovery
      8      responses that were provided by Walgreens?
      9               A.        I've read responses to the
     10      complaint.        I can't recall if I read
     11      Walgreens' responses or other responses.                      I
     12      read responses to the complaint.
     13               Q.        How about any responses to
     14      interrogatories that Walgreens provided?
     15               A.        I can't recall, but I --
     16      probably.
     17                         I've gotten some responses,
     18      interrogatories but not all.
     19               Q.        Sitting here today, you just
     20      can't recall one way or the other?
     21               A.        Correct.
     22               Q.        In your report, there are
     23      references to the DEA and the DOJ; correct?
     24               A.        Yes.

    Golkow Litigation Services                                             Page 715
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further259Confidentiality
                                                           of 377. PageID #: 222431
                                                                               Review

      1               Q.        And specifically you refer to a
      2      settlement between Walgreens and the DOJ and
      3      the DEA; right?
      4               A.        Yes.
      5               Q.        Did you speak with any current
      6      or former members of the DEA or DOJ in the
      7      process of forming your opinions in this
      8      case?
      9               A.        No.
     10               Q.        Are you familiar with
     11      Dr. Joseph Rannazzisi?
     12               A.        Yes.
     13               Q.        Have you ever met him?
     14               A.        No.
     15               Q.        Other than discussions that you
     16      may have had with plaintiffs' lawyers and
     17      your students and staff, are there any
     18      discussions that you had with anyone that
     19      form the bases of any of your opinions in
     20      this case against Walgreens?
     21               A.        No.
     22               Q.        Earlier this morning, Mr. Blank
     23      went through some general questions with you
     24      regarding your experience with suspicious

    Golkow Litigation Services                                             Page 716
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further260Confidentiality
                                                           of 377. PageID #: 222432
                                                                               Review

      1      order monitoring systems.               You recall that
      2      generally; correct?
      3               A.        Yes.
      4               Q.        What I want to do is not
      5      retread those grounds, but I want to ask you
      6      specifically about your experience with the
      7      Walgreens specific order monitoring systems,
      8      okay?
      9               A.        Yes.
     10               Q.        I think it's true and you
     11      testified this morning you've never seen a
     12      live version of the Walgreens suspicious
     13      order monitoring system; right?
     14               A.        Yes.
     15               Q.        That's correct?
     16               A.        Yes.     I answered it yes.
     17               Q.        Yeah.     Okay.
     18                         And you also didn't evaluate
     19      any design documents for the Walgreens
     20      suspicious order monitoring system in
     21      arriving at your opinions in this case;
     22      correct?
     23               A.        I'm not sure that's correct.
     24      There's a PowerPoint I referred to, I think,

    Golkow Litigation Services                                             Page 717
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further261Confidentiality
                                                           of 377. PageID #: 222433
                                                                               Review

      1      that Walgreens implemented that effectively
      2      reduced OxyContin prescriptions, and that may
      3      have referred in part to SOM programs.
      4               Q.        Well, I'm not asking about
      5      documents that referred to the system.                     I'm
      6      asking about specific design documents for
      7      the system itself.
      8                         You didn't review any of those
      9      in reaching your opinions on the Walgreens --
     10               A.        I read something that said
     11      design.
     12               Q.        Can I finish my question,
     13      please?
     14               A.        Sure.
     15               Q.        I'm asking you about specific
     16      design documents for the Walgreens SOM system
     17      itself.       You didn't review any of those in
     18      reaching your opinions on Walgreens'
     19      suspicious order monitoring system; true?
     20               A.        I don't know if that's true or
     21      not.     I've read documents that review the
     22      Walgreens suspicious order monitoring system
     23      which included how it was or wasn't operating
     24      at different points in time.                That would have

    Golkow Litigation Services                                             Page 718
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further262Confidentiality
                                                           of 377. PageID #: 222434
                                                                               Review

      1      included elements of design.
      2               Q.        In the monitoring orders in the
      3      Walgreens suspicious order monitoring system,
      4      is that done at the store level or a
      5      distribution level?
      6               A.        I think it was done at the
      7      distribution level.            At least when the
      8      Jupiter fiasco occurred, that's what was
      9      done.     Whether it's changed now or not, I
     10      can't recall.
     11               Q.        Have you done any evaluation of
     12      whether the Walgreens suspicious order
     13      monitoring system has changed or evolved over
     14      time?
     15               A.        I'm sure it did after they paid
     16      the $80 million fine.
     17                         MR. SWANSON:         I'll move to
     18               strike that.
     19               Q.        (BY MR. SWANSON)           It's a
     20      yes-or-no question.
     21                         Have you done any evaluation of
     22      whether the Walgreens suspicious order
     23      monitoring system has changed or evolved over
     24      time?     "Yes" or "no."          Have you done that

    Golkow Litigation Services                                             Page 719
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further263Confidentiality
                                                           of 377. PageID #: 222435
                                                                               Review

      1      analysis?
      2               A.        Yes.
      3               Q.        Describe for me how the system
      4      or technology changed over time.
      5               A.        Oh, I don't remember the
      6      specific changes.
      7               Q.        Well, what evaluation did you
      8      do that you can testify about, sir?
      9               A.        Well, I think there was
     10      specific changes in the SOM system after the
     11      $80 million cite that I mentioned as part of
     12      the settlement agreement.
     13               Q.        What does the Walgreens
     14      suspicious order monitoring system track?                      Is
     15      it the dispensing of pharmaceuticals or
     16      orders or something else?
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         It depends on the
     19               point in time.         At one point in time,
     20               it looked at shipments from the
     21               distribution sites, although it didn't
     22               really look at them.            It was designed
     23               to look at them.          Walgreens is capable
     24               of looking at orders at the pharmacy

    Golkow Litigation Services                                             Page 720
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further264Confidentiality
                                                           of 377. PageID #: 222436
                                                                               Review

      1               level.      I don't -- at least until the
      2               Jupiter citation or payment, they
      3               didn't look at things at the pharmacy
      4               level.
      5                         At least to some extent, based
      6               on the program they implemented for
      7               OxyContin, they did look at the
      8               pharmacy level.
      9               Q.        (BY MR. SWANSON)           You're
     10      saying --
     11               A.        After that point in time.
     12               Q.        The suspicious order monitoring
     13      system did?        That's your testimony?
     14               A.        Well, Walgreens did.            I'm not
     15      sure if it was technically called part of the
     16      suspicious order monitoring system or if it's
     17      just something Walgreens was doing as part of
     18      its attempt to reduce OxyContin
     19      prescriptions.
     20               Q.        Okay.     My question is directed
     21      specifically to the suspicious order
     22      monitoring system.           Does that system track
     23      dispensing of pharmaceuticals or orders for
     24      pharmaceuticals or something else?                   If you

    Golkow Litigation Services                                             Page 721
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further265Confidentiality
                                                           of 377. PageID #: 222437
                                                                               Review

      1      know.
      2                         MS. CONROY:        Objection.
      3                         THE WITNESS:         It used to just
      4               track orders from the distribution
      5               sites, as I recall.
      6                         I think now they look at
      7               pharmacy works, at least in certain
      8               circumstances.         Whether that's
      9               included as part of SOM or the
     10               particular program that I talked
     11               about, I don't know.
     12               Q.        (BY MR. SWANSON)           Do you know
     13      how the thresholds or limits are set in the
     14      Walgreens suspicious order monitoring system?
     15                         MS. CONROY:        Objection.
     16                         THE WITNESS:         No.
     17               Q.        (BY MR. SWANSON)           Do you know
     18      that the plaintiffs' lawyers deposed several
     19      Walgreens individuals regarding the Walgreens
     20      suspicious order monitoring system?
     21               A.        Yes.
     22               Q.        Did you review any of that
     23      testimony to inform your opinions regarding
     24      the suspicious order monitoring system?

    Golkow Litigation Services                                             Page 722
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further266Confidentiality
                                                           of 377. PageID #: 222438
                                                                               Review

      1               A.        No.
      2               Q.        As you sit here today, do you
      3      believe that you have a better understanding
      4      of the Walgreens suspicious order monitoring
      5      system than the architects of that system?
      6               A.        No.
      7               Q.        Now, I want to ask you about a
      8      few of your opinions.             I'm not going to have
      9      time to go through all of them.
     10                         I'd like to begin with
     11      opinion 7.3.         Do you have your report in
     12      front of you so you can look at it?
     13               A.        I do.
     14               Q.        Okay.     And -- while we do that,
     15      it's on page 62.
     16                         Are you there?          7.3?
     17               A.        Yes.
     18               Q.        Okay.     Opinion 7.3 reads
     19      "Opinion.       Walgreens' systems could be
     20      manipulated to allow stores to circumvent
     21      quantity restrictions -- known issue -- this
     22      is how the system always worked."
     23                         Did I read that correctly?
     24               A.        No.

    Golkow Litigation Services                                             Page 723
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further267Confidentiality
                                                           of 377. PageID #: 222439
                                                                               Review

      1               Q.        I did not?
      2               A.        That's correct.
      3               Q.        Can you tell me what I read
      4      incorrectly?
      5               A.        You left the quotes off of
      6      "This is how the system always works."
      7               Q.        Okay.
      8               A.        That's a quote from the
      9      document.
     10               Q.        Okay.     That's fair.         I'll read
     11      it again.
     12                         Exhibit -- or opinion 7.3.
     13      "Opinion.       Walgreens systems could be
     14      manipulated to allow stores to circumvent
     15      quantity restrictions -- known issue -- quote
     16      This is how the system always worked, closed
     17      quote."
     18                         Is that your opinion?
     19               A.        Yes.
     20               Q.        And then you say "See Exhibit
     21      B3 hereto attached"; right?
     22               A.        Correct.
     23               Q.        So can we look at Exhibit B3?
     24      I have a copy or you can be provided with

    Golkow Litigation Services                                             Page 724
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further268Confidentiality
                                                           of 377. PageID #: 222440
                                                                               Review

      1      one.     It makes no difference to me.
      2               A.        Do you have a copy for me?
      3               Q.        Sure.     Or do you want --
      4                         Go ahead.
      5                         In support of your opinion 7.3,
      6      you cite a single document.                That's
      7      WAGFLDEA1032; correct?
      8               A.        Correct.
      9               Q.        And then, you excerpt from that
     10      document in your Exhibit B3; right?
     11               A.        Correct.
     12               Q.        Okay.     Now, you call Exhibit 73
     13      an opinion.        But what you're really doing is,
     14      as you're noted, you're pulling quotes from a
     15      Walgreens document; right?
     16                         MS. CONROY:        Objection.
     17                         THE WITNESS:         Part of it's a
     18               quote; part of it's an opinion.
     19               Q.        (BY MR. SWANSON)           Can you tell
     20      me what part of it, then, is an opinion?
     21               A.        "Walgreens' systems could be
     22      manipulated to allow stores to circumvent
     23      quantity restrictions."
     24               Q.        So that's your opinion in 7.3,

    Golkow Litigation Services                                             Page 725
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further269Confidentiality
                                                           of 377. PageID #: 222441
                                                                               Review

      1      and then the quote is -- is what, a fact?
      2                         MS. CONROY:        Objection.
      3                         THE WITNESS:         Well, the rest --
      4               the rest is the -- is the facts.
      5               Okay?
      6                         I mean, the quote -- the quote
      7               is a fact, and that's part of the
      8               basis of the opinion, but the basis of
      9               the opinion is the rest of the
     10               document.
     11               Q.        (BY MR. SWANSON)           Okay.     So
     12      when you refer to Walgreens' systems in your
     13      opinion, what systems are you referring to
     14      specifically?
     15               A.        Well, here the AS400 ordering
     16      system.
     17               Q.        Is that different from the SOMS
     18      system we were just talking about?
     19               A.        I don't know.
     20               Q.        I take it you've never seen the
     21      Walgreens ordering system that you are
     22      opining on in 7.3; correct?
     23               A.        If it's different from the
     24      ordering system, yes.

    Golkow Litigation Services                                             Page 726
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further270Confidentiality
                                                           of 377. PageID #: 222442
                                                                               Review

      1               Q.        What do you mean "If it's
      2      different from the ordering system."                    Do you
      3      mean if it's different from the SOMS system?
      4               A.        No.
      5                         This document refers to the
      6      ordering system.
      7               Q.        Correct.
      8               A.        Okay?     So if the suspicious
      9      order monitoring system is separate from the
     10      ordering system and not interact -- it does
     11      not interact with the ordering system, then
     12      you're correct.
     13               Q.        Right.      And I'm asking do you
     14      know if it does or does not?
     15               A.        Interact with the ordering
     16      system?
     17               Q.        Yes, sir.
     18               A.        I don't know.
     19               Q.        And you can't tell me how
     20      orders are entered into the Walgreens
     21      ordering system at the pharmacy level, that
     22      ordering system that's explained or described
     23      in 7.3; right?
     24               A.        No, this describes how they're

    Golkow Litigation Services                                             Page 727
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further271Confidentiality
                                                           of 377. PageID #: 222443
                                                                               Review

      1      enter -- or how the ordering system is
      2      circumvented.
      3               Q.        You personally have never
      4      entered orders into the Walgreens' system;
      5      right?
      6               A.        That's correct.
      7               Q.        So when you talk about the
      8      ability to manipulate, what you're doing is
      9      you're reading a quote from somebody else who
     10      has entered orders into that system; true?
     11               A.        No.     This is Christine Atwell
     12      who's describing how a particular store is
     13      manipulating the AS400 ordering system.
     14      She's not necessarily the person -- she's not
     15      the person manipulating the system or
     16      entering orders.
     17               Q.        I'm trying to understand what
     18      expertise you believe you bring to bear on
     19      this opinion.
     20                         You personally have never
     21      entered orders into a Walgreens ordering
     22      system; right?
     23               A.        That's correct.
     24               Q.        Okay.     And in 2011, you didn't

    Golkow Litigation Services                                             Page 728
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further272Confidentiality
                                                           of 377. PageID #: 222444
                                                                               Review

      1      know how to do it, and you personally didn't
      2      know how to quote/unquote manipulate the
      3      system; right?
      4               A.        That's correct.
      5               Q.        What you're doing instead is
      6      you're reading a quote from somebody at
      7      Walgreens, and you're offering that quote as
      8      your opinion.         True?
      9                         MS. CONROY:        Objection.
     10                         THE WITNESS:         That's correct.
     11               Q.        (BY MR. SWANSON)           Now, do you
     12      provide any analysis, expert analysis that
     13      would connect your opinion to the quote from
     14      the Walgreens employee?
     15               A.        The expert --
     16                         Yes.
     17               Q.        I'm sorry, I don't understand
     18      your answer.         The expert --
     19               A.        The answer was yes.
     20               Q.        And --
     21               A.        I cut my answer off to give you
     22      a yes.
     23               Q.        Thank you.        What --
     24               A.        No problem.

    Golkow Litigation Services                                             Page 729
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further273Confidentiality
                                                           of 377. PageID #: 222445
                                                                               Review

      1               Q.        What written analysis do you
      2      provide connecting your opinion in 7.3 to the
      3      document that you claim supports it?
      4               A.        None.
      5               Q.        When it comes to describing how
      6      the Walgreens ordering system works that's
      7      described in Exhibit B3, would you agree that
      8      the architects of that system are better able
      9      to explain how it works than you are?
     10               A.        I don't know.
     11               Q.        Do you know who Barb Martin is?
     12               A.        No.     She's the manager of
     13      inventory for drugstore in this document.
     14               Q.        Right.      And do you see that
     15      she's -- she is an author of the bottom
     16      e-mail in Exhibit B3?
     17               A.        Correct.
     18               Q.        And she's the one who is
     19      talking about how the system has always
     20      worked?
     21               A.        Yes.
     22               Q.        And do you know that Ms. Martin
     23      was deposed in this case?
     24               A.        No.

    Golkow Litigation Services                                             Page 730
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further274Confidentiality
                                                           of 377. PageID #: 222446
                                                                               Review

      1               Q.        Do you know who
      2      Christine Atwell is other than that she's the
      3      recipient of an e-mail?
      4               A.        Well, she's controlled
      5      substances function manager, apparently.
      6               Q.        Do you know what that means?
      7               A.        No.
      8               Q.        Do you know what her job --
      9               A.        I don't know what her job
     10      description is.
     11               Q.        Let me ask you about a related
     12      exhibit.       It's Exhibit 56, if you could,
     13      please.
     14               A.        Are you done with this one?
     15               Q.        I am.
     16                         So we can begin, I guess, by
     17      looking in your report at page -- page 70,
     18      you have opinion 7.56; correct?
     19               A.        Correct.
     20               Q.        "Opinion.       Walgreens knew
     21      pharmacists could manipulate quantities with
     22      the AS400 software, and they knew this could
     23      result in criminal not just civil actions."
     24                         Is that your opinion?

    Golkow Litigation Services                                             Page 731
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further275Confidentiality
                                                           of 377. PageID #: 222447
                                                                               Review

      1               A.        Correct.
      2               Q.        And then you direct us to
      3      Exhibit B56; right?
      4               A.        Yes.
      5               Q.        Are you ready?
      6               A.        I think so.
      7               Q.        Okay.     The --
      8                         MS. CONROY:        No.
      9               Q.        (BY MR. SWANSON)           The only
     10      document you cite as the basis for your
     11      opinion 56 is a Walgreens document Bates
     12      stamped WAGMDL658246; correct?
     13               A.        Correct.
     14               Q.        And is that the document that
     15      has been excerpted below the Bates number in
     16      the exhibit?
     17               A.        Yes.
     18               Q.        And you don't cite any
     19      deposition testimony or other testimony from
     20      any Walgreens employees regarding this
     21      opinion; true?
     22               A.        Correct.
     23               Q.        Do you know who Rex Swords is?
     24               A.        I don't know what his job title

    Golkow Litigation Services                                             Page 732
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further276Confidentiality
                                                           of 377. PageID #: 222448
                                                                               Review

      1      is.
      2               Q.        Okay.     Do you know if Rex
      3      Swords was deposed?
      4               A.        No.
      5               Q.        Do you know if Tasha Polster
      6      was deposed?
      7               A.        No.
      8               Q.        Do you know if Dwayne Pinon was
      9      deposed?
     10               A.        No.
     11               Q.        Do you know if Kermit Crawford
     12      was deposed?
     13               A.        No.
     14               Q.        You've never read the testimony
     15      of any of those individuals; is that true?
     16               A.        Correct.
     17               Q.        The -- Mr. Swords in this
     18      e-mail describes a meeting that he had with
     19      the -- with Mr. Rannazzisi; is that right?
     20               A.        Correct.
     21               Q.        And what you've done is you say
     22      your opinion is that "Walgreens knew this
     23      could result in criminal, not just civil
     24      actions"; right?

    Golkow Litigation Services                                             Page 733
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further277Confidentiality
                                                           of 377. PageID #: 222449
                                                                               Review

      1               A.        That's part of what my opinion
      2      is.
      3               Q.        Okay.     Well, let me ask you.
      4      Your initial -- the first part of your
      5      opinion is that "Walgreens knew pharmacists
      6      could manipulate quantities with the AS400
      7      software"; right?
      8               A.        Correct.
      9               Q.        Is there anything in this
     10      document that you cite as the sole basis for
     11      this opinion that relates to pharmacists'
     12      so-called ability to manipulate quantities?
     13               A.        No.     That's in the other
     14      document.
     15               Q.        The -- all right.           So I want to
     16      focus what's on the -- what's on the document
     17      that's in front of us.             Okay?
     18                         Do you see that Mr. Swords
     19      provides a bullet list of statements from a
     20      meeting that he had with Mr. Rannazzisi.
     21               A.        Yes.
     22               Q.        Now, you, in your opinion, you
     23      quote a -- one of the lines from that bullet
     24      point list; right?

    Golkow Litigation Services                                             Page 734
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further278Confidentiality
                                                           of 377. PageID #: 222450
                                                                               Review

      1               A.        Yes.
      2               Q.        And it's the last one.             "If
      3      this continues, they won't be accessing [sic]
      4      civil penalties.           There may be criminal
      5      penalties"; right?
      6               A.        Correct.
      7               Q.        Who made that statement?
      8               A.        Rannazzisi.
      9               Q.        And what's your basis for
     10      saying that Rannazzisi made that statement?
     11               A.        The lead sentence.           "Rannazzisi
     12      presented a large PowerPoint deck on
     13      prescription drug trafficking and abuse for
     14      approximately two hours."               Comments, quote.
     15               Q.        Right.      I understand.
     16                         The -- some of the bullet
     17      points have quotation marks around them;
     18      right?
     19               A.        Yes.
     20               Q.        And others don't; right?
     21               A.        Correct.
     22               Q.        Okay.     What's the difference
     23      between those in quotes and those that aren't
     24      in quotes?

    Golkow Litigation Services                                             Page 735
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further279Confidentiality
                                                           of 377. PageID #: 222451
                                                                               Review

      1               A.        That's it.        Some were in
      2      quotes.       I assume the ones in quotes were
      3      from the presentation, but I don't know.                      But
      4      they're all -- they were all things that, in
      5      my opinion, Rannazzisi presented.
      6               Q.        Well, it's not your opinion.
      7      It's your speculation; right?
      8                         MS. CONROY:        Objection.
      9                         THE WITNESS:         No.
     10               Q.        (BY MR. SWANSON)           Okay.     The --
     11      why do you not provide any written analysis
     12      connecting your opinion to the document that
     13      you claim supports it?
     14               A.        Because I think it's obvious on
     15      its face.       It's a quote from the document.
     16      And the other document's also obvious on its
     17      face.     It says "Someone's manipulating the
     18      system to increase orders appropriately."
     19      The document says that.              Okay.     I mean, I
     20      could write the document says that the AS400
     21      system can be manipulated to increase orders
     22      beyond those permissible.               And this document
     23      says "Rannazzisi told them that there could
     24      be civil and criminal penalties for that kind

    Golkow Litigation Services                                             Page 736
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further280Confidentiality
                                                           of 377. PageID #: 222452
                                                                               Review

      1      of activity."
      2               Q.        So what expertise do you then
      3      bring to bear on this document if all one
      4      needs to do is read the quote that you
      5      believe comes from Rannazzisi but can't
      6      confirm?
      7               A.        Well, the expertise is finding
      8      the document in the first place.                  Doing the
      9      analysis to find the document.                 Putting it in
     10      the context of everything else that was going
     11      on at the time with respect to Walgreens.
     12      Knowing about the Jupiter situation and the
     13      other associated e-mails and conduct.
     14                         So it's -- it's finding
     15      material and putting it in some kind of a
     16      context and then explaining it.                 And
     17      explaining the meaning of it.
     18               Q.        The -- all right.           So
     19      explaining the meaning and the context of the
     20      quote you've cited there, you know that
     21      Mr. Swords actually attended the meeting that
     22      he's writing about; correct?
     23               A.        Yes.
     24               Q.        So the best evidence of what

    Golkow Litigation Services                                             Page 737
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further281Confidentiality
                                                           of 377. PageID #: 222453
                                                                               Review

      1      happened at the meeting and what was stated
      2      at the meeting would come from Mr. Swords,
      3      not from you; right?
      4               A.        I don't know.
      5               Q.        Let me ask you -- you can put
      6      that one aside.
      7                         There's been a lot of -- you've
      8      given a lot of testimony about what you've
      9      called or termed "the venture," and I don't
     10      want to repeat that testimony.
     11                         Your opinion is that Walgreens
     12      is a member of what you call the venture;
     13      right?
     14               A.        Correct.
     15               Q.        And your report doesn't
     16      identify it, when it is that you claim
     17      Walgreens became a member of what you called
     18      the venture; right?
     19               A.        Correct.
     20               Q.        Do you know when Walgreens
     21      became a member of what you call the venture?
     22               A.        No.     There's no date specific.
     23               Q.        Do you have a year specific?
     24               A.        No.     Because the time goes

    Golkow Litigation Services                                             Page 738
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further282Confidentiality
                                                           of 377. PageID #: 222454
                                                                               Review

      1      forward and back, in my understanding of a
      2      bank robbery collective.
      3                         In other words, if I join a
      4      group of bank robbers today, and they've been
      5      robbing banks for 20 years, I'm responsible
      6      for the 20 years of bank robberies before I
      7      joined, and I'm responsible for anything
      8      after I join --
      9               Q.        I'm going to interrupt you.
     10      You gave your answer to a yes-or-no question
     11      as no, and I'll move to strike everything
     12      after that.
     13                         What act do you claim --
     14                         MS. CONROY:        Objection.
     15               Q.        (BY MR. SWANSON) --            was the
     16      act that brought Walgreens within what you
     17      call the venture?
     18                         What was the initial act?
     19               A.        I don't have an initial act.
     20               Q.        Do you claim that Walgreens
     21      remains a member of what you call the
     22      venture?
     23               A.        Yes.
     24               Q.        What was the last action that

    Golkow Litigation Services                                             Page 739
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further283Confidentiality
                                                           of 377. PageID #: 222455
                                                                               Review

      1      Walgreens took to maintain its status as a
      2      member of what you call the venture?
      3               A.        I don't know.
      4               Q.        You don't say anywhere in your
      5      report when Walgreens began distributing
      6      opioids to its pharmacies in Cuyahoga and
      7      Summit counties; right?
      8               A.        Correct.
      9               Q.        Do you know?
     10               A.        No.
     11               Q.        Do you know when Walgreens
     12      began distributing to any of its pharmacies
     13      in Cuyahoga or Summit counties?
     14               A.        No.
     15               Q.        Do you even know what decade it
     16      was?
     17               A.        Began?      No, I don't know.
     18               Q.        Is that something that you
     19      never tried to find out when you were
     20      coming -- putting together your opinions?
     21               A.        Correct.
     22               Q.        Do you know how many pharmacies
     23      Walgreens has in Summit County today?
     24               A.        No.

    Golkow Litigation Services                                             Page 740
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further284Confidentiality
                                                           of 377. PageID #: 222456
                                                                               Review

      1               Q.        Do you know how many it has in
      2      Cuyahoga County?
      3               A.        No.
      4               Q.        Okay.     I want to turn back to
      5      your opinions, and I want to ask you about
      6      opinion 7.155, which is on page 85.
      7               A.        Okay.
      8               Q.        Okay.     You say, "Opinion.
      9      Pharmacies could have reduced the opioid
     10      problem" and then you say "See Exhibit B155
     11      hereto attached."           Right?
     12               A.        Correct.
     13               Q.        Okay.     So can we look at
     14      Exhibit B155?
     15                         Okay.     So Exhibit B155 is your
     16      opinion that pharmacies could have reduced
     17      the opioid problem; right?
     18               A.        Correct.
     19               Q.        Correct.       And then the only
     20      document you cite in support of that opinion
     21      is the document WAGMDL655767; true?
     22               A.        In this opinion, but they have
     23      the whole PowerPoint with Walgreens reducing
     24      the sale of OxyContin and describing the

    Golkow Litigation Services                                             Page 741
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further285Confidentiality
                                                           of 377. PageID #: 222457
                                                                               Review

      1      entire program that they implemented
      2      elsewhere --
      3               Q.        Okay.
      4               A.        -- in the report.
      5               Q.        Let's focus on the page that
      6      you've excerpted in Exhibit B155.
      7                         You've put some -- or some of
      8      your helpers have put some arrows in the
      9      document; right?
     10               A.        Right.
     11               Q.        And it's a little difficult to
     12      read.     I'm going to try and you tell me if I
     13      get it right; is that fair?
     14               A.        Sure.
     15               Q.        This is titled "National
     16      Target, Good Faith Dispensing Checklist";
     17      right?
     18               A.        Correct.
     19               Q.        And then the first arrow points
     20      to a box that reads "Additional checklist
     21      requirements.         Every" --
     22               A.        Wait, wait, wait.           Are we
     23      looking at the same thing?
     24               Q.        I'm looking at B155?

    Golkow Litigation Services                                             Page 742
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further286Confidentiality
                                                           of 377. PageID #: 222458
                                                                               Review

      1               A.        Oh, you gave me 55.
      2               Q.        Oh.
      3               A.        Sorry.
      4               Q.        That's okay.         155, please.
      5               A.        That's a related document.
      6               Q.        Okay.     Now are we on the same
      7      page?
      8               A.        Now we're on the same page.
      9               Q.        And you are looking at a
     10      PowerPoint slide from WAGMDL655767; right?
     11               A.        Right.
     12               Q.        The Powerpoint slide is
     13      entitled "Target Drug GFD Checklist"; right?
     14               A.        Yeah.     The --
     15               Q.        I'm looking at B155.
     16               A.        The slide that's extracted,
     17      yes.
     18               Q.        This is the one you put in your
     19      report; right?
     20               A.        Well, I have the entire Bates
     21      document.
     22               Q.        I'm talking about what you put
     23      in your report.          It's the one slide.            Right?
     24      That's what I want to focus on with you.

    Golkow Litigation Services                                             Page 743
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further287Confidentiality
                                                           of 377. PageID #: 222459
                                                                               Review

      1                         MS. CONROY:        Objection.        The
      2               report contains the entire document.
      3                         THE WITNESS:         The report
      4               contains the entire document.                The
      5               entire Bates document is cited here.
      6               Q.        (BY MR. SWANSON)           Can you look
      7      at the slide on the exhibit you attached?
      8      That's what I want to ask you about.
      9               A.        Yeah.     I don't want you to --
     10      mislead you --
     11               Q.        I'm not misleading anyone, sir.
     12               A.        No, I said I didn't want to
     13      mislead you.
     14               Q.        Let's focus on it.
     15               A.        It says the entire document --
     16               Q.        We're good.
     17               A.        -- is the basis of the opinion.
     18               Q.        Got it.
     19                         The slide is entitled "Target
     20      Drug GFD Checklist"; right?
     21               A.        Correct.
     22               Q.        And then either you or your
     23      helper has put in a couple of red arrows;
     24      right?

    Golkow Litigation Services                                             Page 744
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further288Confidentiality
                                                           of 377. PageID #: 222460
                                                                               Review

      1               A.        Correct.
      2               Q.        And I want to focus on the red
      3      arrow on the right and what it points to.
      4               A.        Okay.
      5               Q.        It says "Additional checklist
      6      requirements.         Every quote/unquote no is a
      7      red flag.       Use your professional judgment to
      8      assess the prescription."
      9               A.        Correct.
     10               Q.        Okay.     And then underneath it
     11      says -- there's a line 4; right?
     12               A.        Correct.
     13               Q.        It says "The patient has
     14      received the prescription from Walgreens
     15      before."
     16               A.        Correct.
     17               Q.        And if that's checked no, then
     18      it directs the pharmacist to use his or her
     19      professional judgment to assess the
     20      prescription; right?
     21               A.        Correct.
     22               Q.        And then the same goes from the
     23      other criteria that are underneath it; right?
     24               A.        Any no goes to that bolded

    Golkow Litigation Services                                             Page 745
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further289Confidentiality
                                                           of 377. PageID #: 222461
                                                                               Review

      1      language.
      2               Q.        Now, I take it you don't take
      3      issue with Walgreens for instructing its
      4      pharmacists to exercise their professional
      5      judgment; right?
      6               A.        No, I -- I say this is a very
      7      good program.         That's what I cite it for.
      8               Q.        Okay.     And that was going to be
      9      my next question you got there.                 You've cited
     10      this Walgreens document because you believe
     11      that Walgreens' good faith dispensing
     12      checklist was a valuable program that helped
     13      reduce opioid overprescriptions; right?
     14               A.        Exactly.
     15               Q.        Okay.     And the -- you don't
     16      cite any documents that describe or discuss
     17      how Walgreens instructed its pharmacists
     18      before this document was created; right?
     19               A.        That's correct.
     20               Q.        Okay.     Do you know what
     21      Walgreens policies or procedures were with
     22      respect to dispensing prior to the good faith
     23      dispensing checklist that you've identified
     24      in Exhibit 155?

    Golkow Litigation Services                                             Page 746
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further290Confidentiality
                                                           of 377. PageID #: 222462
                                                                               Review

      1               A.        No.     I only know the results.
      2               Q.        But you don't know, for
      3      example, if before 2013, it was Walgreens'
      4      policy to direct their pharmacists to use
      5      their professional judgment in assessing
      6      prescriptions that they were asked to fill;
      7      right?
      8               A.        I'm sure that general language
      9      was somewhere in Walgreens' policy book.
     10               Q.        Now -- well, and do you know if
     11      prior to 2013, pharmacists at Walgreens had
     12      different practices when it came to filling
     13      prescriptions for opioids?               Do you know that
     14      just one way or the other?
     15               A.        Yes.
     16               Q.        There were different practices
     17      within Walgreens before 2013; is that your
     18      testimony?
     19                         MS. CONROY:        Objection.
     20                         THE WITNESS:         That's my belief.
     21               Q.        (BY MR. SWANSON)           But I want to
     22      know what your testimony -- what you know,
     23      not what you believe.             Do you know if there
     24      were different practices at Walgreens before

    Golkow Litigation Services                                             Page 747
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further291Confidentiality
                                                           of 377. PageID #: 222463
                                                                               Review

      1      2013?
      2               A.        Yes.
      3               Q.        What were the policies at
      4      Walgreens with regard to dispensing -- good
      5      faith dispensing prior to 2013?
      6               A.        I don't know what they were.                I
      7      just know what the effect was.
      8               Q.        You're not a pharmacist; right?
      9               A.        Correct.
     10               Q.        You've never been trained as a
     11      pharmacist?
     12               A.        Correct.
     13               Q.        You haven't offered any
     14      opinions and don't intend to offer any
     15      opinions on the specific rules and
     16      regulations that govern the pharmacy
     17      profession; right?
     18               A.        Correct.
     19               Q.        You've testified a few times in
     20      the deposition that you have prescribed
     21      opioids to your patients in the past; right?
     22               A.        Yes.
     23               Q.        And when you prescribe these
     24      opioids to your patients, you expect

    Golkow Litigation Services                                             Page 748
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further292Confidentiality
                                                           of 377. PageID #: 222464
                                                                               Review

      1      pharmacists to review your prescription and
      2      fill it; right?
      3               A.        Yes.
      4               Q.        And in general, it would be a
      5      problem for you if your patients -- and for
      6      your patients if the pharmacist didn't fill
      7      your legitimate prescriptions; right?
      8                         MS. CONROY:        Objection.
      9                         THE WITNESS:         Not necessarily.
     10               Q.        (BY MR. SWANSON)           Well, as a
     11      physician, sir, do you expect a pharmacist to
     12      fill a legitimate prescription that you write
     13      based on your assessment of patient's need;
     14      right?
     15               A.        Not by itself, no.
     16               Q.        What did you mean "not by
     17      itself"?
     18               A.        I mean the pharmacy -- there's
     19      a physician role and there's a pharmacist
     20      role.     The pharmacist may have additional
     21      information that I don't have about the
     22      patient.       And that -- you don't even restrict
     23      that to opioids.           For example, a patient may
     24      be on --

    Golkow Litigation Services                                             Page 749
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further293Confidentiality
                                                           of 377. PageID #: 222465
                                                                               Review

      1               Q.        Let me withdraw the question,
      2      then, and restrict it to opioids so we're
      3      keeping on focus here.
      4                         As a physician, you expect a
      5      pharmacist to fill a legitimate prescription
      6      for opioids that you write based on your
      7      assessment of your patient's need; right?
      8               A.        No.
      9               Q.        Why not?
     10               A.        Because they have an
     11      independent responsibility to evaluate
     12      whether or not that's an appropriate drug for
     13      that patient.         They have independent
     14      information that I don't have access to to
     15      evaluate that question.
     16               Q.        Let me ask a slightly more
     17      nuanced question.
     18                         As a physician, you expect a
     19      pharmacist to exercise his or her
     20      professional judgment to evaluate whether to
     21      fill a legitimate opioid description that you
     22      write based your assessment of a patient's
     23      needs; right?
     24               A.        That's a beginning, yes.              I

    Golkow Litigation Services                                             Page 750
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further294Confidentiality
                                                           of 377. PageID #: 222466
                                                                               Review

      1      expect more than that.
      2               Q.        What more do you expect of a
      3      pharmacist than that he or she exercises his
      4      or her professional judgment?
      5               A.        I expect the pharmacist to
      6      check to see what other drugs that person is
      7      on.     What other prescriptions they've been
      8      getting.       Whether they've been getting
      9      similar prescriptions from other
     10      practitioners in the current era.
     11                         I expect the pharmacist to
     12      check to see whether that patient has been
     13      getting drugs from other pharmacies not
     14      related to his or her pharmacy in a way that
     15      would lead to abuse or addiction.
     16               Q.        And those are the sorts of
     17      assessments that Walgreens documented in its
     18      target drug good faith dispensing checklist
     19      that you recommended; correct?
     20               A.        In 2015, correct.
     21               Q.        In what year?
     22               A.        In 2015, I think.           Wasn't it?
     23               Q.        It's your opinion.
     24               A.        No, it's a fact.           Can we look

    Golkow Litigation Services                                             Page 751
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further295Confidentiality
                                                           of 377. PageID #: 222467
                                                                               Review

      1      at a document?
      2               Q.        There are facts that aren't
      3      opinions.
      4               A.        If I got the year wrong, I'll
      5      correct the year.
      6               Q.        All right.
      7               A.        No.     This is 2013.
      8                         Why don't we take a break.
      9               Q.        You know, I might be done, or I
     10      might have one or two more questions.
     11               A.        Well, if you're done, then we
     12      get a break.         No problem.
     13                         You know, they've called me
     14      experienced.         The one thing I'm experienced
     15      with --
     16               Q.        You know when you're about
     17      done?
     18               A.        No, I know when a attorney says
     19      "One more question," it's usually 25 to 30
     20      questions.
     21                         MR. SWANSON:         I'll pass the
     22      witness.
     23                         THE WITNESS:         Why don't we take
     24               a break.

    Golkow Litigation Services                                             Page 752
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further296Confidentiality
                                                           of 377. PageID #: 222468
                                                                               Review

      1                         THE VIDEOGRAPHER:           Going off
      2               the record at 4:11.
      3                         (Recess taken, 4:10 p.m. to
      4               4:35 p.m.)
      5                         THE VIDEOGRAPHER:           We are back
      6               on the record at 4:36.
      7                               EXAMINATION
      8      BY MR. HYNES:
      9               Q.        Good afternoon again.             My name
     10      is Paul Hynes.          I represent CVS Indiana LLC
     11      and CS Rx Services, Inc.              Those are the CVS
     12      entities who are defendants in this case.
     13      And I want to as a preliminary question ask
     14      whether your opinions where you state CVS, do
     15      they relate to one or both of those entities?
     16               A.        That would be my assumption,
     17      yes.
     18               Q.        That's your assumption.
     19                         We can refer, throughout my
     20      examination, to those entities as CVS, if
     21      that's easier.
     22               A.        Right.      There may be an
     23      exception to that.           I think I make reference
     24      to that.       I think I make reference to the CVS

    Golkow Litigation Services                                             Page 753
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further297Confidentiality
                                                           of 377. PageID #: 222469
                                                                               Review

      1      PBM that did the formularies for Summit and
      2      Cuyahoga County.
      3               Q.        Can you tell me where you refer
      4      to the CVS PBM in your report?
      5               A.        I think it's mentioned.
      6               Q.        You think it's mentioned?
      7               A.        I think so.
      8               Q.        Can you point me to a section
      9      or a page number or an exhibit?
     10               A.        No.     But there's one opinion
     11      that's wrong that's titled "EBMs"                  thanks for
     12      reminding me.
     13                         For the Medicaid, the state
     14      Medicaid did not use an external EBM for its
     15      formulary.        It used a -- its own formulary
     16      committee.
     17                         The Cuyahoga and Summit County
     18      used CVS, and two others.               I think I've got a
     19      list of them here.           And there's a deposition
     20      testimony of Woods in the case of Cuyahoga
     21      County, at least I think referenced in the
     22      report.
     23               Q.        Okay.
     24                         MR. HYNES:        Can we go off the

    Golkow Litigation Services                                             Page 754
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further298Confidentiality
                                                           of 377. PageID #: 222470
                                                                               Review

      1               record for one minute?
      2                         THE VIDEOGRAPHER:           Sure.     Off
      3               the record at 4:38.
      4                         (Recess taken, 4:37 p.m. to
      5               4:38 p.m.)
      6                         THE VIDEOGRAPHER:           We are back
      7               on the record at 4:39.
      8                         MR. HYNES:        And just for the
      9               record, I will reserve some time to
     10               address that opinion later in the day,
     11               time permitting.
     12               Q.        (BY MR. HYNES) Dr. Egilman, can
     13      you please turn to page 134 of your report?
     14               A.        Okay.
     15               Q.        Showing you Section 7.479
     16      states that "CVS's suspicious order
     17      monitoring program did not monitor suspicious
     18      orders."
     19                         Is that an opinion that you're
     20      rendering in this case?
     21               A.        Yes.
     22               Q.        Did you consult with any
     23      plaintiffs' lawyers in arriving at this
     24      opinion?

    Golkow Litigation Services                                              Page 755
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further299Confidentiality
                                                           of 377. PageID #: 222471
                                                                               Review

      1               A.        No.
      2               Q.        Okay.     The next sentence states
      3      "CVS's SOM policy specified that if multiple
      4      orders for the same store are flagged during
      5      the same month, all orders after that first
      6      order will not be investigated and will be
      7      released based on the release of the first
      8      order."
      9                         Did read that correctly?
     10               A.        No.
     11               Q.        What did I not read correctly?
     12               A.        The last phrase where it's got
     13      the word "automatically."
     14               Q.        Okay.     "Will be automatically
     15      released based on the release of the first
     16      order."       Is that what you're referring to?
     17               A.        Yes, that's the part that you
     18      read incorrectly.
     19               Q.        Okay.     That statement refers to
     20      CVS's SOM policy; correct?
     21               A.        Correct.
     22               Q.        You don't cite any CVS SOM
     23      policies in support of this opinion, do you?
     24               A.        Can I see 479?

    Golkow Litigation Services                                             Page 756
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further300Confidentiality
                                                           of 377. PageID #: 222472
                                                                               Review

      1               Q.        Sure.     Do you have it?
      2               A.        Just let me be clear, here,
      3      when you say "do I have it," in the notice of
      4      this deposition, I was not asked to bring a
      5      single piece of paper.             But I have it.
      6               Q.        Okay.     Well, then let's look at
      7      it.
      8               A.        You're welcome.
      9               Q.        Is the document in front of you
     10      a CVS SOM policy?
     11               A.        I don't have the whole --
     12                         Do you have the whole document?
     13                         I don't know.         I have to look
     14      at the whole document.
     15               Q.        Are you aware that CVS has
     16      policies governing its suspicious order
     17      monitoring system?
     18               A.        Yes.
     19               Q.        Did you review any of those
     20      policies in preparing the report?
     21               A.        Yes.
     22               Q.        Which policies did you review?
     23               A.        I don't recall.
     24               Q.        To the best of your

    Golkow Litigation Services                                             Page 757
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further301Confidentiality
                                                           of 377. PageID #: 222473
                                                                               Review

      1      recollection, is the document that you
      2      excerpted in Exhibit B.479 a CVS SOM policy?
      3               A.        I have to look at it.             I don't
      4      remember.
      5               Q.        To the best of your
      6      recollection?
      7               A.        To the best of my recollection,
      8      I need to look at the document.
      9               Q.        I will represent to you that
     10      document that you've excerpted there is an
     11      attachment to a November 2012 e-mail from
     12                         .
     13                         Do you know who prepared that
     14      document?
     15               A.        The document that you're not
     16      showing me that I don't have?                 No.
     17               Q.        Okay.     Do you know who
     18      Mr.               is?
     19               A.        No.
     20               Q.        Do you know whether he was a
     21      member of CVS's suspicious order monitoring
     22      team?
     23               A.        No.
     24               Q.        Do you know what his position

    Golkow Litigation Services                                             Page 758
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further302Confidentiality
                                                           of 377. PageID #: 222474
                                                                               Review

      1      at CVS was?
      2               A.        No.
      3               Q.        Do you know if he was deposed
      4      in this case?
      5               A.        No.
      6               Q.        Did you attempt to review any
      7      deposition testimony about that document that
      8      is excerpted in that exhibit?
      9               A.        No.
     10               Q.        How did you find that document?
     11               A.        Through a search.
     12               Q.        Who performed the search?
     13               A.        I did or my staff did.
     14               Q.        What did you do to confirm that
     15      the excerpted language from that document
     16      accurately reflected how CVS's suspicious
     17      order monitoring system operated?
     18                         MS. CONROY:        Objection.
     19                         THE WITNESS:         We looked for
     20               other documents around that document
     21               in the search.
     22               Q.        (BY MR. HYNES)          Did you find
     23      any?
     24               A.        I don't think so.

    Golkow Litigation Services                                             Page 759
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further303Confidentiality
                                                           of 377. PageID #: 222475
                                                                               Review

      1               Q.        Okay.     Are you familiar with
      2      CVS's suspicious order monitoring system?
      3               A.        Not specifically, no.
      4               Q.        So you're not familiar with the
      5      algorithms that were used to flag orders?
      6               A.        Correct.       Except to the extent
      7      that they're mentioned here.
      8               Q.        So is that the only document
      9      you recall reviewing related to CVS's
     10      suspicious order monitoring system?
     11               A.        No.
     12               Q.        What documents did you review?
     13               A.        I can't recall.
     14               Q.        How many documents related to
     15      CVS's suspicious order monitoring system did
     16      you review?
     17               A.        I can't recall.
     18               Q.        What's your best guess?
     19               A.        No guess.
     20               Q.        Less than 100?
     21               A.        No guess.
     22               Q.        Are you familiar with the
     23      report called the "Item Review Report"?
     24               A.        No.     Not by name.

    Golkow Litigation Services                                             Page 760
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further304Confidentiality
                                                           of 377. PageID #: 222476
                                                                               Review

      1               Q.        Are you --
      2               A.        If you could show it to me.
      3               Q.        Are you familiar --
      4               A.        Could I finish?          If you show it
      5      to me, I may be familiar with it.
      6               Q.        Understood.
      7               A.        I can't recall it by name.
      8               Q.        Are you familiar with CVS's SOM
      9      policies?
     10               A.        Not in detail --
     11               Q.        Can you tell me --
     12               A.        -- without looking at them.
     13               Q.        Can you tell me what they said
     14      about how to perform due diligence on orders?
     15               A.        Not without looking at them.
     16               Q.        Are you familiar with what
     17      information CVS staff had available to them
     18      to do due diligence on flagged orders?
     19               A.        Not without looking at the
     20      procedures, no.
     21               Q.        Are you familiar with the micro
     22      strategy database?
     23               A.        No.
     24               Q.        The infomatic database?

    Golkow Litigation Services                                             Page 761
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further305Confidentiality
                                                           of 377. PageID #: 222477
                                                                               Review

      1               A.        Not at -- not by memory.
      2               Q.        The store metrics report?
      3               A.        No.
      4               Q.        Did you review any documents
      5      relating to training that CVS SOM team
      6      members received on SOM?
      7               A.        I think so.
      8               Q.        What can you tell me about the
      9      training they received?
     10               A.        Nothing without looking at the
     11      documents.
     12               Q.        Okay.     Can you identify any
     13      suspicious orders of prescription opioids
     14      that CVS shipped to Summit or Cuyahoga
     15      County?
     16               A.        No.
     17               Q.        Do you even know what
     18      prescription opioids CVS shipped to Cuyahoga
     19      and Summit counties?
     20               A.        I don't think I have a list of
     21      them in my possession, but I could find that
     22      out through the ARCOS database that we have
     23      access to.
     24               Q.        Well, sitting here today,

    Golkow Litigation Services                                             Page 762
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further306Confidentiality
                                                           of 377. PageID #: 222478
                                                                               Review

      1      what's your best recollection?
      2               A.        I don't have a recollection.
      3               Q.        Do you know whether CVS shipped
      4      oxycodone to CVS retail pharmacies in Summit
      5      and Cuyahoga County?
      6               A.        I do not have a recollection.
      7               Q.        Do you know whether they
      8      shipped fentanyl?
      9               A.        I do not know.
     10               Q.        Do you know whether they
     11      shipped hydrocodone combination products?
     12               A.        I do not know.
     13               Q.        Do you know the names of the
     14      people who staffed CVS's SOM team?
     15               A.        No.
     16               Q.        Do you know who managed the
     17      team?
     18               A.        No.
     19               Q.        Do you know where the team was
     20      located?
     21               A.        No.
     22               Q.        Did you attempt to review
     23      depositions of any staff members who worked
     24      on CVS's SOM team?

    Golkow Litigation Services                                             Page 763
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further307Confidentiality
                                                           of 377. PageID #: 222479
                                                                               Review

      1               A.        No.
      2               Q.        I want to talk about the
      3      venture that's discussed in your report.
      4                         Your opinion states that -- or
      5      is your opinion that CVS joined the venture?
      6      Or was a member of the venture?
      7               A.        Yes.
      8               Q.        Which CVS entities in your
      9      opinion were a member of the venture?
     10               A.        I didn't distinguish any.               So.
     11                         I'm talking about -- when I
     12      talk about CVS, I'm talking about the
     13      corporate parent.           I didn't break it into
     14      subsidiaries.
     15               Q.        So your opinion is not that CVS
     16      Indiana LLC was a member of the venture?
     17               A.        My opinion is that CVS and its
     18      subsidiaries were a member of the venture.
     19               Q.        Your report doesn't state when
     20      CVS and its subsidiaries became members of
     21      the venture, does it?
     22               A.        Correct.
     23               Q.        It also doesn't state when
     24      Walmart became a member of the venture, does

    Golkow Litigation Services                                             Page 764
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further308Confidentiality
                                                           of 377. PageID #: 222480
                                                                               Review

      1      it?
      2               A.        Correct.
      3               Q.        And it doesn't state when
      4      Rite Aid became a member of the venture, does
      5      it?
      6               A.        Correct.
      7               Q.        Do you have an opinion on when
      8      CVS or its subsidiaries became members of the
      9      venture?
     10               A.        No.
     11               Q.        Do you have an opinion of when
     12      Walmart became a member of the venture?
     13               A.        No.
     14               Q.        Same question for Rite Aid.
     15               A.        Same answer.
     16               Q.        Your report doesn't cite any
     17      evidence indicating that CVS agreed to become
     18      a member of the venture, does it?
     19               A.        I'm not sure what you mean by
     20      that.
     21               Q.        You don't cite any evidence or
     22      any conduct showing that CVS agreed,
     23      voluntarily agreed to become a member of the
     24      venture, do you?

    Golkow Litigation Services                                             Page 765
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further309Confidentiality
                                                           of 377. PageID #: 222481
                                                                               Review

      1               A.        Well, they were members of the
      2      HDMA, and the HDMA was one of the
      3      organizations that was part of the venture.
      4               Q.        Does your report cite any
      5      documents or testimony indicating that CVS
      6      was a member of HDMA?
      7               A.        I think so.        I think I have a
      8      list of members of the HDMA.
      9               Q.        And that's your only basis for
     10      concluding that a CVS entity was a member of
     11      the venture?
     12                         MS. CONROY:        Objection.
     13                         THE WITNESS:         No.    CVS did --
     14                         No.
     15               Q.        (BY MR. HYNES)          Okay.     What
     16      other conduct do you believe CVS took -- or
     17      undertook as a member of the venture?
     18               A.        CVS contributed to the
     19      overprescription of opioids in these two
     20      counties.
     21               Q.        And what did it do to
     22      contribute to the overprescription of opioids
     23      in these two counties?
     24               A.        It filled prescriptions for

    Golkow Litigation Services                                             Page 766
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further310Confidentiality
                                                           of 377. PageID #: 222482
                                                                               Review

      1      those drugs.
      2               Q.        Would you agree that filling
      3      prescriptions is part of the normal business
      4      activity for CVS?
      5               A.        Yes.
      6               Q.        Would you agree that it happens
      7      every day?
      8               A.        Yes.
      9               Q.        Would you agree that it may
     10      happen even with respect to prescriptions
     11      that you have written for your patients?
     12               A.        Yes.
     13               Q.        Would you agree that there is
     14      nothing inherently wrong with filling
     15      prescriptions for prescription opioids?
     16               A.        Yes.
     17               Q.        You testified earlier that you
     18      read the complaint in this case; right?
     19               A.        Correct.
     20               Q.        Are you familiar with
     21      plaintiffs' claims against CVS?
     22               A.        I don't -- I haven't separated
     23      them out, no.
     24               Q.        Are you aware that plaintiffs'

    Golkow Litigation Services                                             Page 767
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further311Confidentiality
                                                           of 377. PageID #: 222483
                                                                               Review

      1      claims against CVS do not relate to its
      2      dispensing of prescription opioids?
      3               A.        Yes.
      4               Q.        So you know that its claims --
      5      plaintiffs' claims relate only to CVS's
      6      distribution of prescription opioids?
      7               A.        Yes.
      8               Q.        Is it -- besides joining HDMA
      9      and filling prescriptions for prescription
     10      opioids, are you aware of any -- or is it
     11      your opinion that CVS did anything else or
     12      took any other action in furtherance of the
     13      so-called venture?
     14               A.        Yes.
     15               Q.        What else?
     16               A.        It remained silent as to the
     17      nature of the opioid epidemic, the
     18      overprescription of opioids and the addiction
     19      epidemic.
     20               Q.        So --
     21               A.        CVS failed to act on the
     22      information available to it about upstream
     23      orders, downstream sales, physician -- CVS,
     24      unlike some other distributors, had the

    Golkow Litigation Services                                             Page 768
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further312Confidentiality
                                                           of 377. PageID #: 222484
                                                                               Review

      1      ability to get data all the way down to the
      2      patient level.          So CVS had the capability,
      3      which they did not use, to determine which
      4      physicians were overprescribing and which
      5      patients were over -- being overprescribed.
      6      CVS failed to take action on it.
      7               Q.        And how do you know CVS had
      8      access to that data?
      9               A.        Because that data is
     10      available -- because, first of all, CVS
     11      participates in selling that data to IMS and
     12      other entities.          So they certainly have data
     13      on what they sell.
     14                         CVS can get data from IMS
     15      that's broader than just its own sales, so
     16      they can look at IMS data over the entirety
     17      of these two counties and determine how many
     18      prescriptions for opioids are going out the
     19      door.     They can determine from their own data
     20      on their own patients how many of those
     21      patients are getting prescriptions from
     22      multiple pharmacies, multiple physicians.
     23      They can see which physicians are
     24      overprescribing from their pharmacy data

    Golkow Litigation Services                                             Page 769
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further313Confidentiality
                                                           of 377. PageID #: 222485
                                                                               Review

      1      downstream.
      2                         So while all of the
      3      distributors could do that and track orders
      4      right down to the pharmacy level out the
      5      door, CVS, because it was a vertically
      6      oriented distributor pharmacy operation, had
      7      more access to that data, more easily
      8      acquired, and more easily used than some of
      9      the distributors would have had to take it an
     10      extra step.
     11               Q.        But none of those opinions are
     12      reflected in your report, are they?
     13               A.        No, I think they are.
     14               Q.        Where?
     15               A.        I think the whole idea that
     16      the --
     17                         Well, first of all, they had
     18      that general opinion that we went through
     19      before.       That had any of the participants in
     20      the venture --
     21               Q.        Sir, your opinion you just
     22      stated about CVS's failure to act based on
     23      information it had at its disposal is not
     24      stated in your report; is that right?

    Golkow Litigation Services                                             Page 770
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further314Confidentiality
                                                           of 377. PageID #: 222486
                                                                               Review

      1                         MS. CONROY:        Objection.
      2               Q.        (BY MR. HYNES)          That's a
      3      yes-or-no question.
      4               A.        I answered it.
      5               Q.        You --
      6               A.        Your last question was where,
      7      okay?
      8                         I answered that question
      9      before.       You asked, and I said, "No, I think
     10      they are."
     11                         Your next question was "Where"?
     12      I was answering the "where" question which
     13      you interrupted, which is perfectly --
     14               Q.        Can you point me to the section
     15      number?
     16               A.        -- which is perfectly fine.                I
     17      have no problem with you interrupting my
     18      answer.       That's what the judge ruled.               It
     19      just means my answer is incomplete.
     20               Q.        That's fine.         Your answer is
     21      incomplete.
     22                         Can you point me to a section
     23      or page number where that opinion is stated
     24      in your report?

    Golkow Litigation Services                                             Page 771
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further315Confidentiality
                                                           of 377. PageID #: 222487
                                                                               Review

      1               A.        The opinion -- I cannot without
      2      looking at the report give you the page
      3      number and the opinion number.                 I can tell
      4      you generally, for example, the opinion that
      5      I discussed --
      6               Q.        I don't need to hear --
      7                         That's fine.
      8               A.        Okay.     My opinion is
      9      incomplete.
     10               Q.        That's fine.
     11               A.        My answer is incomplete.
     12               Q.        Sir, your opinion at
     13      Exhibit B.489 cites a DEA settlement CVS
     14      entered into on March 28, 2013.                 Is that
     15      correct?
     16               A.        What opinion number is it?
     17               Q.        Exhibit No. B.489.
     18               A.        What page?
     19               Q.        I'll just show it to you.
     20               A.        That's correct.
     21               Q.        Did you review that settlement
     22      agreement?
     23               A.        Yes.
     24               Q.        Are you aware that it relates

    Golkow Litigation Services                                             Page 772
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further316Confidentiality
                                                           of 377. PageID #: 222488
                                                                               Review

      1      to conduct occurring in Oklahoma?
      2               A.        Yes.
      3               Q.        So you're aware that it
      4      relates -- that it does not relate to conduct
      5      occurring in Cuyahoga or Summit County?
      6                         MS. CONROY:        Objection.
      7                         THE WITNESS:         Well, the
      8               citation's specific to Oklahoma.
      9               Q.        (BY MR. HYNES)          Okay.
     10               A.        That's correct.
     11               Q.        Are you aware the settlement
     12      relates to conduct occurring at CVS retail
     13      pharmacies?
     14               A.        Yeah, let me look at it so I
     15      don't make any mistakes.
     16                         MS. CONROY:        What's the number,
     17               4.89?
     18                         MR. HYNES:        B.489.
     19               Q.        (BY MR. HYNES)          Sir, while
     20      we're looking for the document, I'll ask some
     21      questions.        We're short on time.
     22                         On the course of your --
     23               A.        Do you want to withdraw the
     24      previous question?

    Golkow Litigation Services                                             Page 773
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further317Confidentiality
                                                           of 377. PageID #: 222489
                                                                               Review

      1               Q.        Yeah.     I'll go back to it.
      2               A.        Do you want to withdraw it?
      3               Q.        It's withdrawn.
      4                         In the course of your work on
      5      this engagement, did you review any DEA
      6      settlements with CVS related to distribution
      7      of prescription opioids to Cuyahoga or Summit
      8      County?
      9               A.        No.
     10                         MR. HYNES:        We're good, then.
     11                         THE VIDEOGRAPHER:           Off the
     12               record at 4:57.
     13                         MR. HYNES:        Pass the witness.
     14                         (Recess taken, 4:56 p.m. to
     15               4:58 p.m.)
     16                         THE VIDEOGRAPHER:           We are back
     17               on the record at 4:59.
     18                               EXAMINATION
     19      BY MS. MCENROE:
     20               Q.        Dr. Egilman, I have very little
     21      time with you, so I'm going to try and just
     22      do some "yes" or "no" questions like you did
     23      with some of my colleagues earlier today.
     24                         You're a medical doctor;

    Golkow Litigation Services                                             Page 774
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further318Confidentiality
                                                           of 377. PageID #: 222490
                                                                               Review

      1      correct?
      2               A.        Yes.
      3               Q.        And you testified earlier today
      4      or yesterday about a specific patient you had
      5      who was addicted to opioids to whom you
      6      prescribed opioids; is that correct?
      7                         That's a yes-or-no question.
      8                         MS. CONROY:        While he's
      9               answering, could you identify who you
     10               represent on the record.
     11                         MS. MCENROE:         Yes,
     12               Elisa McEnroe from Morgan Lewis for
     13               Rite Aid.
     14                         THE WITNESS:         Yes.
     15               Q.        (BY MS. MCENROE)           If the
     16      pharmacy had refused to fill that
     17      prescription for that particular patient,
     18      could that have brought that patient harm?
     19               A.        Anything is possible.             I don't
     20      think so.
     21               Q.        You wrote those prescriptions
     22      for that addicted patient because you said
     23      that he needed them because of his withdrawal
     24      symptoms; correct?

    Golkow Litigation Services                                             Page 775
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further319Confidentiality
                                                           of 377. PageID #: 222491
                                                                               Review

      1               A.        No.
      2               Q.        Okay.     The record will stand
      3      with what you testified to yesterday.
      4                         Today you're going to be asked
      5      some questions about Rite Aid of Maryland,
      6      Inc., doing business as Mid Atlanta Customer
      7      Support Center.          I'm going to call that
      8      Rite Aid.       Okay?
      9               A.        Yes.
     10               Q.        You understand that's the
     11      Rite Aid entity that's been sued in this
     12      litigation?
     13               A.        I'll take your word for it.
     14               Q.        Okay.
     15               A.        I have no independent
     16      understanding of that.
     17               Q.        Have you read the complaint in
     18      this case?
     19               A.        Yes.
     20               Q.        I'd like to direct your
     21      attention to Exhibit 1F.              I think that's your
     22      report.       You have it in front of you.
     23               A.        I do.
     24               Q.        And in particular to opinion

    Golkow Litigation Services                                             Page 776
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further320Confidentiality
                                                           of 377. PageID #: 222492
                                                                               Review

      1      487.
      2               A.        What page?
      3               Q.        On page 135.
      4               A.        Okay.
      5               Q.        You'll see it says "Opinion.
      6      Rite Aid provided marketing services to
      7      Teva," and then there's a cite to
      8      Exhibit B487.         Do you see that?
      9               A.        I do.
     10               Q.        Did I read that correctly?
     11               A.        You did.
     12                         (Whereupon, Deposition Exhibit
     13               Egilman 50, B.487, was marked for
     14               identification.)
     15               Q.        (BY MS. MCENROE)           We're handing
     16      you what's been marked as Exhibit 50 which is
     17      also Exhibit B487 from your report.                   You've
     18      been handed two folders; a green folder and a
     19      Redweld.       Can you describe to me what's in
     20      front of you?
     21                         MS. CONROY:        Do you have a copy
     22               of the exhibit for me?
     23                         MS. MCENROE:         Oh, I do.       Two,
     24               if you want.

    Golkow Litigation Services                                              Page 777
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further321Confidentiality
                                                           of 377. PageID #: 222493
                                                                               Review

      1                         MS. CONROY:        One is fine.
      2                         MS. MCENROE:         Great.
      3               Q.        (BY MS. MCENROE)           What is in
      4      front of you, Dr. Egilman, that was handed to
      5      you by plaintiffs' counsel?
      6               A.        Same exhibits.
      7               Q.        Is there anything different
      8      about the documents you were handed in those
      9      folders?
     10               A.        It doesn't appear to be.
     11               Q.        And do you have a copy of that
     12      exhibit for which you have handwriting or
     13      sticky notes like you described yesterday in
     14      the box that you have brought with you?
     15                         MS. CONROY:        There are no notes
     16               or stickers on the document.
     17                         MS. MCENROE:         Great.     Okay.
     18               Q.        (BY MS. MCENROE)           So that's the
     19      only exhibit you have with respect to opinion
     20      487 regarding Rite Aid; correct?
     21               A.        Correct.
     22               Q.        Do you have any other opinions
     23      naming Rite Aid in your report?
     24               A.        I don't recall.

    Golkow Litigation Services                                             Page 778
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further322Confidentiality
                                                           of 377. PageID #: 222494
                                                                               Review

      1               Q.        If you had, would that have
      2      been included in the material plaintiffs just
      3      handed you?
      4               A.        Not necessarily.
      5               Q.        Would you expect that it would
      6      have been?
      7               A.        No.
      8               Q.        Can you identify for me any
      9      other single opinion that identifies Rite Aid
     10      in your report as we sit here today?
     11               A.        No.
     12               Q.        Taking a look at the attachment
     13      you have or the exhibit that you have for
     14      opinion 487, you'll see that the top says
     15      "Teva Fentanyl Patches IVR, Statement of
     16      Work."      Do you see that?
     17               A.        Yes.
     18               Q.        Okay.     Did you read this
     19      document before?
     20               A.        Yes.
     21               Q.        Did you pick this document out
     22      of the database?
     23               A.        Well, I picked it to be in the
     24      report.       I don't think I did the search that

    Golkow Litigation Services                                             Page 779
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further323Confidentiality
                                                           of 377. PageID #: 222495
                                                                               Review

      1      found the document.
      2               Q.        Did you actually type the words
      3      into your report, "Opinion.                Rite Aid
      4      provided marketing services to Teva"?                    Did
      5      you type those words?
      6               A.        I think so, yes.
      7               Q.        Did you do that based on this
      8      exhibit?
      9               A.        Yes.
     10               Q.        Did you do it based on anything
     11      else?
     12               A.        Not that I can recall.
     13               Q.        Can you identify anything else
     14      as we sit here today that you did that on
     15      behalf of?
     16               A.        No.
     17               Q.        Take a look at the last page of
     18      this document.
     19               A.        Right.
     20               Q.        It's unsigned; correct?
     21               A.        Correct.
     22               Q.        Have you ever seen a signed
     23      copy?
     24               A.        No.

    Golkow Litigation Services                                              Page 780
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further324Confidentiality
                                                           of 377. PageID #: 222496
                                                                               Review

      1               Q.        Do you have any other evidence
      2      supporting your opinion that Rite Aid
      3      provided marketing services to Teva?
      4               A.        No.
      5               Q.        You testified a little bit
      6      earlier that each defendant in this case is
      7      100% responsible for the opioid crisis; is
      8      that correct?
      9               A.        Yes.
     10               Q.        So you're taking the opinion
     11      that Rite Aid is 100% responsible for the
     12      opioid crisis on the basis of one unsigned
     13      contract; is that right?
     14               A.        No.
     15               Q.        What other evidence have you
     16      provided with your report that says that
     17      Rite Aid is responsible for 100% of the
     18      opioid crisis?
     19               A.        All of the evidence that I
     20      provided in my report relates to what was
     21      known or knowable by Rite Aid with respect to
     22      the venture.
     23               Q.        And that was true of yourself
     24      at the same time; correct, Dr. Egilman?

    Golkow Litigation Services                                             Page 781
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further325Confidentiality
                                                           of 377. PageID #: 222497
                                                                               Review

      1               A.        Let me just say my answer is
      2      incomplete.
      3               Q.        Fine.     That's fine.
      4               A.        Now you can interrupt and ask
      5      the other question.
      6               Q.        That's true of yourself as
      7      well, right, just as much as it's true of
      8      Rite Aid?
      9                         MS. CONROY:        Objection.
     10                         THE WITNESS:         Which is true?
     11               Q.        (BY MS. MCENROE)           The
     12      information that you said was available to
     13      Rite Aid was equally available to yourself to
     14      make it 100 percent responsible for the
     15      opioid crisis.
     16               A.        No, it wasn't.
     17               Q.        Do you know what, if any,
     18      opioids Rite Aid distributed into Cuyahoga or
     19      Summit counties?
     20               A.        I don't know which ones they
     21      distributed, no.
     22               Q.        Do you know if they ever did
     23      distribute opioids into Cuyahoga or Summit
     24      County?       For a fact?

    Golkow Litigation Services                                             Page 782
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further326Confidentiality
                                                           of 377. PageID #: 222498
                                                                               Review

      1               A.        For a fact?        I assume they did.
      2               Q.        You assume so, but do you know
      3      that?
      4               A.        I haven't seen the data on
      5      their sales --
      6               Q.        Okay.
      7               A.        -- into the county.
      8               Q.        Do you know --
      9               A.        But if they didn't sell, I
     10      would assume you wouldn't be sitting there.
     11      It's an easy summary judgment motion.
     12               Q.        So you testified earlier that
     13      you did not base your opinions on any
     14      assumptions; is that correct?
     15               A.        Correct.
     16               Q.        But you have made some
     17      assumptions at the very least; correct?
     18               A.        Do you mean that last one?
     19               Q.        Question withdrawn.
     20               A.        That you -- that you're -- that
     21      Rite Aid is still in the case?
     22               Q.        Well, I'm just trying --
     23               A.        And I don't think that's --
     24               Q.        I withdrew my question.

    Golkow Litigation Services                                             Page 783
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further327Confidentiality
                                                           of 377. PageID #: 222499
                                                                               Review

      1      There's no question pending.
      2                         I just want to understand your
      3      knowledge base for my client Rite Aid, and it
      4      seems to extend just as one unsigned
      5      contract.       So I'm hoping that you can tell me
      6      a little bit more about what you know
      7      specifically about Rite Aid, if anything, and
      8      I'm not seeing anything else in your report.
      9               A.        Well.
     10               Q.        Is there anything else in your
     11      report --
     12               A.        Is that a question?
     13               Q.        Yeah.     Is there anything else
     14      in your report about Rite Aid?
     15               A.        That specifically mentioned
     16      Rite Aid?
     17               Q.        Correct.
     18               A.        I don't think so.
     19                         MS. MCENROE:         I have no further
     20               questions.
     21                         Can we go off the record?
     22                         THE VIDEOGRAPHER:           Off the
     23               record at 5:06.
     24                         (Recess taken, 5:06 p.m. to

    Golkow Litigation Services                                             Page 784
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further328Confidentiality
                                                           of 377. PageID #: 222500
                                                                               Review

      1               5:07 p.m.)
      2                         THE VIDEOGRAPHER:           We are back
      3               on the record at 5:08.
      4                               EXAMINATION
      5      BY MS. FUMERTON:
      6               Q.        Good afternoon, Dr. Egilman.
      7      My name is Tara Fumerton, and I represent
      8      Walmart in this litigation.
      9               A.        Good afternoon.
     10               Q.        Do you have your report in
     11      front of you?
     12               A.        I do.
     13               Q.        And could you please turn to
     14      page 134 of your report, and I'm going to
     15      focus you on opinion 7.480.
     16               A.        Okay.
     17               Q.        And so opinion 7.480 is that,
     18      quote, Walmart helped Actavis market opioids.
     19      End quote; correct?
     20               A.        Correct.
     21               Q.        And this is your only
     22      Walmart-specific opinion in your report;
     23      correct?
     24               A.        I don't know.

    Golkow Litigation Services                                             Page 785
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further329Confidentiality
                                                           of 377. PageID #: 222501
                                                                               Review

      1               Q.        How would you answer that
      2      question, then?
      3                         In other words, you don't know
      4      the answer as to whether or not you have
      5      other Walmart-specific opinions in your
      6      report?
      7               A.        For the Walmart specifically
      8      mentioned, you could search the report.                     I
      9      haven't done that by every company.
     10               Q.        You haven't.         So you have a
     11      folder back there that's specific to Walmart.
     12      Should we -- would that help you determine
     13      whether or not there are other
     14      Walmart-specific opinions?
     15                         MS. CONROY:        Objection.
     16                         THE WITNESS:         You know more
     17               than I do.        Those are not my
     18               documents.        Those are the plaintiff
     19               documents that they brought to the
     20               deposition.        So I don't know if they
     21               have a folder named Walmart or not.
     22               Q.        (BY MS. FUMERTON)           Sitting
     23      here, can you identify any other
     24      Walmart-specific opinions in your report?

    Golkow Litigation Services                                               Page 786
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further330Confidentiality
                                                           of 377. PageID #: 222502
                                                                               Review

      1               A.        No.
      2               Q.        And to conclusively answer my
      3      question as to whether or not there were any
      4      other Walmart-specific questions -- or
      5      specific opinions in your report, you would
      6      need time to review your report; is that
      7      right?
      8               A.        No.     I'd need to do a search in
      9      a PDF.
     10               Q.        And so if I did a search in the
     11      PDF and Walmart did not show up in any of the
     12      titles in your report, could we conclude that
     13      opinion 7.480 is the only opinion that is
     14      Walmart specific in your report?
     15               A.        It's the only opinion that
     16      names Walmart in the opinion, yes.
     17               Q.        So how would you do the search
     18      of the PDF to determine whether or not there
     19      were any other Walmart-specific opinions in
     20      your report?
     21               A.        Well, I'd search it for Walmart
     22      first, and then there's a Walmart coding
     23      because Walmart documents may have been used
     24      for other opinions.            And then you could do a

    Golkow Litigation Services                                             Page 787
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further331Confidentiality
                                                           of 377. PageID #: 222503
                                                                               Review

      1      search, you know, whatever the code is,
      2      asterisk, and then find any other Walmart
      3      documents that were cited in the report.
      4               Q.        So if there's any Walmart
      5      documents cited in the report, is it your
      6      testimony that that, then, is referring to a
      7      Walmart opinion?
      8               A.        I don't know.         I'd have to look
      9      at them.
     10               Q.        So I'll go back to my original
     11      question.       In order to determine whether
     12      there were any other Walmart-specific
     13      opinions in your report, you'd have to review
     14      not just the report but all of the documents?
     15               A.        Yeah.     The report is the report
     16      and the documents, correct.
     17               Q.        All right?
     18               A.        You'd have to read the whole
     19      thing.
     20               Q.        Let's look at page 134 of your
     21      report.       You cite Exhibit B.480 in support of
     22      your opinion that Walmart helped Actavis
     23      market opioids; correct?
     24               A.        Right.

    Golkow Litigation Services                                             Page 788
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further332Confidentiality
                                                           of 377. PageID #: 222504
                                                                               Review

      1               Q.        Do you have a copy?            I do have
      2      a copy.       I didn't want to mark it as another
      3      exhibit, but I can do so if we need to.
      4               A.        I've probably got it in this
      5      box here.
      6               Q.        And I also just wanted to
      7      confirm that I think it's worthwhile to get
      8      that to make sure that your copy of
      9      Exhibit B.480 is the same that I have.
     10                         So why don't we go ahead and
     11      just mark this, then, as an exhibit?
     12                         (Whereupon, Deposition Exhibit
     13               Egilman 51, Opinion-Walmart helped
     14               Actavis Market Opioids, was marked for
     15               identification.)
     16               Q.        (BY MS. FUMERTON)           Dr. Egilman,
     17      is what we just marked as Exhibit 51 the same
     18      thing as Exhibit B.480 in your report?
     19               A.        Yes.
     20               Q.        And is Exhibit B.480 the best
     21      evidence that you saw to support your opinion
     22      that Walmart helped Actavis market opioids?
     23               A.        Yes.
     24               Q.        In fact, there was no other

    Golkow Litigation Services                                             Page 789
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further333Confidentiality
                                                           of 377. PageID #: 222505
                                                                               Review

      1      evidence that you relied on as the basis of
      2      your opinion 7.480; correct?
      3               A.        Correct.
      4               Q.        Now, Exhibit B.480 is a
      5      PowerPoint slide deck dated May 2014 titled
      6      "Joint Business Planning" and was produced by
      7      ANDA; correct?
      8               A.        Correct.
      9               Q.        There are no references to
     10      marketing opioids in this document; correct?
     11               A.        Not correct.
     12               Q.        And where are there references
     13      to marketing opioids in this document?
     14               A.        Bates No. 1126042.
     15                         That's one place.
     16               Q.        And --
     17               A.        And then 1126043.           And then
     18      1126049.
     19                         [Document review.]
     20               Q.        (BY MS. FUMERTON)           I'm going
     21      to, just because I'm so short on time, stop
     22      you with those examples right now and we can
     23      discuss them.         If we need to go to more, we
     24      can do so.

    Golkow Litigation Services                                             Page 790
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further334Confidentiality
                                                           of 377. PageID #: 222506
                                                                               Review

      1               A.        Okay.     Can I just make a record
      2      that the answer is incomplete.
      3               Q.        Sure.     So let's go back to
      4      page 6042, which I think is the first
      5      instance that you indicated referenced
      6      marketing opioids; is that right?
      7               A.        Correct.
      8               Q.        And where do you see the words
      9      "marketing" on this page?
     10               A.        The word "marketing" is not on
     11      this page.
     12               Q.        And so nowhere in this page
     13      does it discuss marketing opioids; correct?
     14                         MS. CONROY:        Objection.
     15                         THE WITNESS:         Not true.
     16               Q.        (BY MS. FUMERTON)           Is it your
     17      opinion that because this page references
     18      sales of opioids that that is the same thing
     19      as marketing opioids?
     20               A.        No, not exactly.
     21               Q.        So explain to me how this page
     22      refers to marketing of opioids.
     23               A.        This says -- it says planned
     24      unit growth to translate in sales and gross

    Golkow Litigation Services                                             Page 791
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further335Confidentiality
                                                           of 377. PageID #: 222507
                                                                               Review

      1      profit, or GP, improvements.
      2                         And it indicates estimated
      3      increases in sales, and it includes
      4      specifically hydromorphone and buprenorphine
      5      analogs as part of the drugs that are going
      6      to increase gross profit.
      7               Q.        And whose gross profit is being
      8      referred to there, do you know?
      9               A.        Well, it's a joint business
     10      planning, so it appears to be both companies.
     11               Q.        And you're just basing that off
     12      of the title of the document; correct?
     13               A.        That's true.         I'm basing it on
     14      the title of the document, and I think
     15      there's other --
     16                         That's not necessarily true.
     17                         I think there's other documents
     18      in here that indicate increases in gross
     19      profit that may segregate out who's
     20      specifically --
     21                         Yeah, for example, if you look
     22      at page 6 of the document, 1126044.
     23                         Strategy one, products either
     24      launched or have been pushed out to Walmart.

    Golkow Litigation Services                                             Page 792
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further336Confidentiality
                                                           of 377. PageID #: 222508
                                                                               Review

      1      Fiscal 2015, and that's indicating an
      2      increase.       So if you're pushing out more
      3      sales to Walmart by Actavis, presumably
      4      that's being done to increase Actavis'
      5      profits.
      6               Q.        And so let me ask you --
      7               A.        And of course if -- and
      8      similarly, if Walmart is -- what goes -- what
      9      gets pushed from Actavis to Walmart doesn't
     10      get stuck in Walmart.             It gets sold by
     11      Walmart into the community.                Otherwise there
     12      would be a big backup of opioids at the
     13      Walmart stores.
     14               Q.        In that lengthy explanation
     15      that you just gave you did not once use the
     16      term "market"; correct?              Or "marketing";
     17      correct?
     18               A.        That's true.
     19               Q.        And in reaching your opinion,
     20      based solely on the single document, that
     21      Walmart helped Actavis market opioids, you
     22      did not consider the testimony of the Walmart
     23      employees who testified that Walmart did not
     24      market opioids; correct?

    Golkow Litigation Services                                             Page 793
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further337Confidentiality
                                                           of 377. PageID #: 222509
                                                                               Review

      1               A.        That's correct.
      2               Q.        And you also did not consider
      3      in formulating your opinion the testimony of
      4      Patsy Little, where she described these joint
      5      business planning meetings to be a program
      6      that was just in place for a couple of years
      7      for the purpose of trying to get a lower cost
      8      of goods and get supply on items that were
      9      hard to supply in the market; correct?
     10               A.        Correct.
     11                         MS. FUMERTON:         So I'm going to
     12               pass the witness at this time.                 I
     13               think that -- I want to put on the
     14               record an objection that I think the
     15               time that has been allocated to each
     16               defendant has been woefully deficient,
     17               given the lengthy opinions and the
     18               fact that specifically to Walmart, the
     19               witness was unable to answer the
     20               question as to whether or not there
     21               were any other additional
     22               Walmart-specific opinions in his
     23               report.      But given the amount of time
     24               that we've been allocated, I have to

    Golkow Litigation Services                                             Page 794
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further338Confidentiality
                                                           of 377. PageID #: 222510
                                                                               Review

      1               pass the witness so that other
      2               defendants can ask questions as well.
      3                         Let's go off the record.
      4                         MS. CONROY:        No, I'm not ready
      5               to go off the record.             Objection, the
      6               plaintiffs did not allocate the time
      7               among the defendants.             You did that
      8               yourselves.        So we are not responsible
      9               for that.
     10                         MS. FUMERTON:         So are you
     11               agreeing to expand the deposition
     12               beyond 14 hours?
     13                         MS. CONROY:        Absolutely not.
     14               You go to the Court and seek an
     15               additional -- any additional time.
     16               But we did not allocate time among the
     17               defendant or determine how much time
     18               Walmart would have versus another
     19               defendant.
     20                         MS. FUMERTON:         And my objection
     21               stands, and let's go off the record.
     22                         THE VIDEOGRAPHER:           Off the
     23               record.      5:21.
     24                         (Recess taken, 5:20 p.m. to

    Golkow Litigation Services                                             Page 795
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further339Confidentiality
                                                           of 377. PageID #: 222511
                                                                               Review

      1               5:21 p.m.)
      2                         THE VIDEOGRAPHER:           We are back
      3               on the record at 5:22.
      4                         THE WITNESS:         I have to start
      5               with the plaintiff time.
      6                         The opinion that I wrote for
      7               453 was incorrect.           The opinion should
      8               be "Ohio Medicaid had its own
      9               formulary committee."
     10                         Off plaintiff time.
     11                               EXAMINATION
     12      BY MR. PODOLL:
     13               Q.        Good afternoon, Dr. Egilman.
     14      Josh Podoll on behalf of Cardinal Health from
     15      Williams and Connolly.
     16               A.        Oh, good afternoon.
     17               Q.        Sir, could you turn to page 63
     18      of your report?
     19               A.        Sure.
     20               Q.        You opine in opinion 7.12 that
     21      "Cardinal Health failed to take action for
     22      suspicious orders"; correct?
     23               A.        Correct.
     24               Q.        You don't provide any written

    Golkow Litigation Services                                             Page 796
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further340Confidentiality
                                                           of 377. PageID #: 222512
                                                                               Review

      1      analysis regarding how you reached that
      2      opinion; correct?
      3               A.        Can I see B12?
      4                         MS. CONROY:        Sure.
      5                         MR. PODOLL:        That's B12 there
      6               if you want a copy, here's a copy.
      7                         MS. CONROY:        Thank you.
      8                         THE WITNESS:         Well, I provide
      9               the excerpt of a document that
     10               basically -- that says that.
     11               Q.        (BY MR. PODOLL)          Beyond the
     12      excerpt of the document that you cite in B12,
     13      you don't provide any written analysis
     14      regarding how you came to that opinion;
     15      right?
     16               A.        Correct.
     17               Q.        You don't provide any written
     18      analysis regarding how the cited document
     19      supports your opinion; correct?
     20               A.        No.     I've got all kinds of
     21      arrows showing you what new document supports
     22      the opinion.
     23               Q.        That was my next question.
     24                         Are the arrows in the opinion

    Golkow Litigation Services                                             Page 797
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further341Confidentiality
                                                           of 377. PageID #: 222513
                                                                               Review

      1      the portions of this document that you
      2      believe support your opinion?
      3               A.        They're the -- the whole
      4      document supports the opinion.
      5                         MS. CONROY:        It's the rest of
      6               that.
      7                         THE WITNESS:         The whole
      8               document supports the opinion, but
      9               certainly the arrows point to the most
     10               salient parts of the document that
     11               support the opinion.
     12               Q.        (BY MR. PODOLL)          Aside from the
     13      documents excerpted in B12, you cite no other
     14      documents to support your opinion that
     15      Cardinal failed to take action for suspicious
     16      orders; correct?
     17               A.        In this opinion, you mean?
     18               Q.        Correct.
     19               A.        That's correct.          But there are,
     20      I think, other documents including Cardinal's
     21      fines paid, et cetera, that are cited
     22      elsewhere.
     23                         MR. PODOLL:        Move to strike
     24               everything after -- oh, our live feed

    Golkow Litigation Services                                             Page 798
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further342Confidentiality
                                                           of 377. PageID #: 222514
                                                                               Review

      1               is gone.       Move to strike at --
      2                         Let's go off the record and fix
      3               the live feed.
      4                         THE VIDEOGRAPHER:           Off the
      5               record at 5:25.
      6                         (Recess taken, 5:25 p.m. to
      7               5:25 p.m.)
      8                         THE VIDEOGRAPHER:           We are back
      9               on the record at 5:27.
     10                         MR. PODOLL:        Move to strike
     11               everything in the prior answer after
     12               "That's correct."
     13               Q.        (BY MR. PODOLL)          You cite no
     14      deposition testimony to support the opinion
     15      that Cardinal failed to take action for
     16      suspicious orders; correct?
     17               A.        Correct.
     18               Q.        You don't say what methodology
     19      you used to reach the opinion that Cardinal
     20      failed to take action for suspicious orders;
     21      correct?
     22               A.        No.
     23               Q.        In Exhibit B12, you don't say,
     24      in writing, what methodology you use to

    Golkow Litigation Services                                             Page 799
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further343Confidentiality
                                                           of 377. PageID #: 222515
                                                                               Review

      1      support the opinion that Cardinal failed to
      2      take action for suspicious orders; correct?
      3               A.        Correct.
      4               Q.        You created the -- what is
      5      Exhibit B12 to your report; correct?
      6               A.        Correct.
      7               Q.        You did that by copying and
      8      pasting from a document?
      9                         MS. CONROY:        Objection.
     10               Q.        (BY MR. PODOLL)          From two
     11      documents?
     12               A.        And putting the box and arrows
     13      on it.
     14               Q.        Fair enough.         And putting in
     15      boxes and arrows.
     16                         The first box that I see on the
     17      page is around a quotation under the
     18      signature block of Kimberly Anna-Soisson; is
     19      that right?
     20               A.        Correct.
     21               Q.        Do you know who Kimberly
     22      Anna-Soisson is?
     23               A.        At the time she was the manager
     24      of regulatory management.

    Golkow Litigation Services                                             Page 800
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further344Confidentiality
                                                           of 377. PageID #: 222516
                                                                               Review

      1               Q.        Do you know what her
      2      responsibilities were with respect to
      3      Cardinal's suspicious order monitoring system
      4      at the time of this e-mail?
      5               A.        I don't know what her job
      6      description was at the time of this e-mail,
      7      no.
      8               Q.        Did you even try and find out?
      9               A.        I don't think there were any
     10      job descriptions or personnel files in any of
     11      the production.
     12               Q.        Did you ask to read her
     13      deposition?
     14               A.        No.
     15               Q.        Did you read her deposition?
     16               A.        No.
     17               Q.        The excerpts cited in
     18      Exhibit B12 refer to a K-Mart store.
     19                         Do you see that?
     20               A.        Correct.
     21               Q.        Do you know where that K-Mart
     22      store is located?
     23               A.        No.
     24               Q.        Do you know what that K-Mart

    Golkow Litigation Services                                             Page 801
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further345Confidentiality
                                                           of 377. PageID #: 222517
                                                                               Review

      1      store's thresholds are?
      2               A.        No.
      3               Q.        Exhibit B12 does not mention
      4      any specific order of opioids; correct?
      5                         I'll withdraw the question.
      6                         Do you know whether Cardinal
      7      today has a suspicious order monitoring
      8      system?
      9               A.        Yes, they do.
     10               Q.        Do you know when that system
     11      was put in place?
     12               A.        The current system?
     13               Q.        Yes.
     14               A.        No, I do not.
     15               Q.        Do you know when any suspicious
     16      order monitoring system was put in place for
     17      Cardinal Health?
     18               A.        Sometime after 2007, 2008.
     19               Q.        Do you know whether Cardinal
     20      Health had a suspicious order monitoring
     21      system before 2007 or 2008?
     22               A.        Not the one that was effective.
     23      Maybe a paper program.
     24                         MR. PODOLL:        Move to strike.

    Golkow Litigation Services                                             Page 802
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further346Confidentiality
                                                           of 377. PageID #: 222518
                                                                               Review

      1               Q.        (BY MR. PODOLL) Do you know
      2      whether Cardinal Health had any system to
      3      monitor suspicious orders before 2007 and
      4      2008, "yes" or "no"?
      5               A.        Not a functioning system.
      6               Q.        Is it your testimony that
      7      Cardinal Health had no system to monitor
      8      suspicious orders before 2007 or 2008?
      9               A.        No.
     10               Q.        Is it your testimony that
     11      Cardinal Health did have a system to monitor
     12      suspicious orders before 2007 or 2008?
     13               A.        Yes.     Not a functioning system.
     14                         MR. PODOLL:        Move to strike
     15               everything after "Yes."
     16               Q.        (BY MR. PODOLL)          Do you know
     17      how Cardinal Health flagged suspicious orders
     18      at any time?
     19               A.        They had a baseline, and if you
     20      went over the baseline by a certain amount,
     21      they get a flagged order.
     22               Q.        Do you know what criteria
     23      Cardinal Health used to set that baseline?
     24               A.        Well, that's changed over time,

    Golkow Litigation Services                                             Page 803
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further347Confidentiality
                                                           of 377. PageID #: 222519
                                                                               Review

      1      but the answer is I don't recall it for any
      2      particular point in time.
      3               Q.        Do you know who was --
      4                         MS. CONROY:        There are
      5               handwritten notes on the exhibit that
      6               you -- that are already marked as
      7               Exhibit 28.
      8                         MR. PODOLL:        Thank you,
      9               Counsel.       Could I see that?
     10                         THE WITNESS:         And there's
     11               actually new stuff in this one.
     12                         It's the Brown alumni folder.
     13                         MR. PODOLL:        All right.        I am
     14               going to reserve some time to deal
     15               with this, but I'm going to keep going
     16               for now.       Thank you, Counsel.
     17                         MS. CONROY:        Let me put it back
     18               in the exhibit, then.
     19                         MR. PODOLL:        I appreciate it.
     20               Q.        (BY MR. PODOLL)          Do you know
     21      who was responsible for Cardinal Health's
     22      suspicious order monitoring system in 2012?
     23               A.        The CEO.
     24               Q.        Do you know which employee had

    Golkow Litigation Services                                              Page 804
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further348Confidentiality
                                                           of 377. PageID #: 222520
                                                                               Review

      1      direct supervisory responsibility for
      2      Cardinal Health's suspicious order monitoring
      3      system in 2012?
      4                         Strike that.
      5                         Do you know which Cardinal
      6      Health employee had day-to-day responsibility
      7      for Cardinal Health's suspicious order
      8      monitoring system in 2012?
      9               A.        No.
     10                         Can we stop for a second
     11      because mine is not working?
     12               Q.        Yes.     Let's go off the record.
     13                         THE VIDEOGRAPHER:           Off the
     14               record at 5:32.
     15                         (Recess taken, 5:31 p.m. to
     16               5:32 p.m.)
     17                         THE VIDEOGRAPHER:           We are back
     18               on the record at 5:33.
     19               Q.        (BY MR. PODOLL)          Do you know
     20      which Cardinal Health employee had day-to-day
     21      responsibility for Cardinal Health's
     22      suspicious order monitoring system in 2016?
     23               A.        No.
     24               Q.        Do you know how many employees

    Golkow Litigation Services                                             Page 805
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further349Confidentiality
                                                           of 377. PageID #: 222521
                                                                               Review

      1      had day-to-day responsibility -- how many
      2      Cardinal Health employees had day-to-day
      3      responsibility for suspicious order
      4      monitoring at any time?
      5               A.        No.
      6               Q.        Did you review the deposition
      7      testimony of Cardinal Health employees who
      8      were responsible day to day for suspicious
      9      order monitoring?
     10               A.        No.
     11               Q.        Did you review the deposition
     12      testimony of any Cardinal Health employees?
     13               A.        No.
     14               Q.        I'd like you to turn to
     15      page 106 of your report.              And tell me when
     16      you're there.
     17               A.        I am there.
     18               Q.        Your opinion 7.299 is "The
     19      wholesale or performance agreement between
     20      Purdue and Cardinal was a concerted action to
     21      sell and promote opioids."
     22                         Is that right?
     23               A.        Correct.
     24               Q.        Your support for that is

    Golkow Litigation Services                                             Page 806
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further350Confidentiality
                                                           of 377. PageID #: 222522
                                                                               Review

      1      Exhibit B299; right?
      2                         Opinion B 299; correct?              Which
      3      I am handing you.
      4               A.        Right.
      5                         Can you hand me the whole Bates
      6      number document?
      7               Q.        Sure.     Here is the entire
      8      document.
      9               A.        Okay.     Great.      Thanks.
     10                         I've got the whole thing.
     11                         Very good.
     12                         Brown alumni have good lawyers.
     13               Q.        I wish I'd gone to Brown.               I
     14      went to a rival school.
     15               A.        No problem.
     16                         He's on the Brown board of
     17      trustees.       President of Cardinal.
     18               Q.        You're not a lawyer; correct?
     19               A.        Correct.
     20                         I don't play one on TV.
     21               Q.        You're not offering a legal
     22      opinion related to the meaning of concerted
     23      action; correct?
     24               A.        Correct.

    Golkow Litigation Services                                              Page 807
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further351Confidentiality
                                                           of 377. PageID #: 222523
                                                                               Review

      1               Q.        You've never consulted with
      2      respect -- with an industry -- with Cardinal
      3      Health, Purdue, or any other distributor or
      4      manufacturer with respect to wholesaler
      5      performance agreements; correct?
      6               A.        Correct.
      7               Q.        The excerpt from the document
      8      that -- your opinion B99 doesn't mention
      9      opioids, does it?
     10                         Withdrawn.
     11                         I'd like to point you to the
     12      sentence above the key terms that you've
     13      boxed in red.         Are you there?
     14               A.        Correct.
     15               Q.        That sentence says:            Set forth
     16      below are the key proposed financial terms
     17      that may form the basis of any future
     18      distributor agreements between the parties.
     19      Open parenthesis, collectively, quote, term
     20      sheet, closed quote, closed parenthesis.
     21                         Did I read that correctly?
     22               A.        Yes.
     23               Q.        Do you know whether any such
     24      agreements in fact were entered?

    Golkow Litigation Services                                             Page 808
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further352Confidentiality
                                                           of 377. PageID #: 222524
                                                                               Review

      1               A.        No.
      2               Q.        Do you know the terms of any
      3      agreements between Purdue and Cardinal Health
      4      that were in fact entered?
      5               A.        Well, there are other marketing
      6      agreement documents, as I recall, that are
      7      elsewhere in the report.              And I think they're
      8      Cardinal-Purdue documents.
      9               Q.        Can you point me, sitting here
     10      today, to the terms of any -- of any
     11      distributor performance agreement between
     12      Cardinal Health and Purdue?
     13               A.        No.
     14               Q.        Do you have any knowledge about
     15      this agreement that I couldn't get by
     16      performing the searches you performed and
     17      reading the documents you read?
     18               A.        No.
     19                         MR. PODOLL:        All right.        Let's
     20               go off the record.
     21                         THE VIDEOGRAPHER:           Off the
     22               record at 5:38.
     23                         (Recess taken, 5:37 p.m. to
     24               5:37 p.m.)

    Golkow Litigation Services                                             Page 809
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further353Confidentiality
                                                           of 377. PageID #: 222525
                                                                               Review

      1                         MR. PODOLL:        I just want to
      2               make the record that we object to the
      3               amount of time allotted for this
      4               deposition.        So we can just note that
      5               on the stenographic record.
      6                         THE WITNESS:         I just say,
      7               anyone's free to call me up anytime
      8               you want.       Ask me any questions you
      9               want.     Chat any time.
     10                         MR. PODOLL:        Appreciate it.
     11                         THE WITNESS:         My pleasure.
     12                         (Whereupon, Deposition Exhibit
     13               Egilman 52, Opinion-Ohio Medicaid
     14               depended on the PBMs for formulary
     15               drug selection/handwritten notations
     16               "had its own committee," was marked
     17               for identification.)
     18                         (Recess taken, 5:39 p.m. to
     19               5:40.
     20                         THE VIDEOGRAPHER:           We are back
     21               on the record at 5:40:
     22                         MS. CONROY:        This is Jayne
     23               Conroy.      We're going to be marking as
     24               Exhibit 52, opinion B453, which was

    Golkow Litigation Services                                             Page 810
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further354Confidentiality
                                                           of 377. PageID #: 222526
                                                                               Review

      1               corrected on the record by
      2               Dr. Egilman.
      3                               EXAMINATION
      4      BY MS. FINGER:
      5               Q.        Dr. Egilman, my name is Anna
      6      Finger.       I'm at Locke Lord, and I represent
      7      Henry Schein, Incorporated and Henry Schein
      8      Medical Facility, Incorporated.                 I'm going to
      9      refer to them herein as Henry Schein or the
     10      Henry Schein defendants.              Is that okay?
     11               A.        Sure.
     12               Q.        And so you had access to review
     13      all documents produced by Henry Schein in
     14      this litigation; correct?
     15               A.        Right.      I think they came in
     16      late, though.         So I didn't have that much
     17      time on those documents.
     18               Q.        Okay.     But you had access to
     19      all of their documents; correct?
     20               A.        Right.      At some point in time.
     21               Q.        Okay.     And you do not list any
     22      opinions in your report that specifically
     23      mention Henry Schein; correct?
     24               A.        Correct.

    Golkow Litigation Services                                             Page 811
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further355Confidentiality
                                                           of 377. PageID #: 222527
                                                                               Review

      1               Q.        And Henry Schein is not
      2      specifically identified as a member in what
      3      you call "the venture"; correct?
      4               A.        Correct.
      5                         MS. FINGER:        That's all I have.
      6               I'll pass the witness.
      7                         THE WITNESS:         Great job.
      8                               EXAMINATION
      9      BY MS. SAULINO:
     10               Q.        Dr. Egilman, it's Jennifer
     11      Saulino for McKesson again.                I'm back.
     12               A.        Welcome back.
     13               Q.        Thank you.
     14                         So first, because you've kindly
     15      made this offer to us several times, I'd like
     16      to ask you, on the record, whether you are
     17      willing to sit for additional hours of the
     18      deposition so that all of the defendants can
     19      have sufficient time to explore your numerous
     20      opinions.
     21               A.        No.     Unless ordered by the
     22      judge.
     23               Q.        Okay.     So you are only willing
     24      to talk by telephone with us?

    Golkow Litigation Services                                             Page 812
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further356Confidentiality
                                                           of 377. PageID #: 222528
                                                                               Review

      1               A.        Or in person.
      2               Q.        Or in person?
      3               A.        If you want to buy me dinner,
      4      I'd be glad to go to dinner with you.
      5               Q.        Okay.
      6               A.        Particularly if it's one of the
      7      Italian restaurants in Federal Hill.                    Or one
      8      of my staff seems to like Chicken McNuggets,
      9      but I have a more expensive palate than she
     10      does.
     11               Q.        Okay.     And --
     12               A.        And yet I would be glad to talk
     13      to you without.          And I don't drink, so that's
     14      a cheap date in terms of alcohol.
     15               Q.        Would it be all right if we
     16      brought a court reporter to the dinner?
     17               A.        I'd prefer not.
     18               Q.        Okay.     But that's something we
     19      could talk about, then?
     20               A.        Correct.
     21               Q.        So your objection is just to a
     22      formal notice of deposition?                Is that --
     23               A.        My objection is to a formal
     24      proceeding that --

    Golkow Litigation Services                                             Page 813
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further357Confidentiality
                                                           of 377. PageID #: 222529
                                                                               Review

      1                         I don't know if you know this
      2      or not, but I've been here for about 14 hours
      3      straight, and -- well, I've enjoyed myself.
      4      It is a little bit tiring and stressful.                      And
      5      so I prefer a more informal setting and
      6      conversation and a back-and-forth.
      7                         This involves a question and an
      8      answer, unidirectional and not a discussion.
      9                         So I think discussions are
     10      generally more fruitful in terms of figuring
     11      out what really is going on, what my opinions
     12      really are, et cetera.
     13                         But, you know, that's just --
     14      that's my view about how things work.
     15               Q.        You'd agree with me, Doctor,
     16      wouldn't you, that we just haven't had
     17      sufficient time to explore what's really
     18      going on with your opinions and what your
     19      opinions really are?
     20               A.        No.
     21                         MS. CONROY:        Objection.
     22                         THE WITNESS:         I think you had
     23               plenty of time to do that.               I don't
     24               think you came quite prepared to do

    Golkow Litigation Services                                             Page 814
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further358Confidentiality
                                                           of 377. PageID #: 222530
                                                                               Review

      1               it, but you had plenty of time to do
      2               it.
      3               Q.        (BY MS. SAULINO)           You'd agree
      4      with me that we have not discussed every
      5      single one of your 490 opinions in the last
      6      two days, have we?
      7               A.        Not specifically, correct.
      8               Q.        You'd also agree with me,
      9      Doctor, that unless specifically referenced
     10      in an opinion, you have not reviewed
     11      deposition testimony for any particular
     12      opinion, unless it's specifically referenced
     13      in your -- in your report.
     14               A.        No.
     15                         MS. CONROY:        Objection.
     16               Q.        (BY MS. SAULINO)           You would
     17      agree with me, however, that there's no way
     18      for us to know what deposition testimony you
     19      may have reviewed for any particular opinion
     20      unless you cite it?
     21                         MS. CONROY:        Objection.
     22                         THE WITNESS:         No.
     23               Q.        (BY MS. SAULINO)           There is a
     24      way for us to know?

    Golkow Litigation Services                                             Page 815
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further359Confidentiality
                                                           of 377. PageID #: 222531
                                                                               Review

      1               A.        Well, there was a way for you
      2      to know.       It's called a depo notice.               The
      3      depo notice could include a request for me to
      4      give you a list of all the depositions I
      5      reviewed.       You didn't do that.            So I didn't
      6      bring the list of all of the depositions I
      7      reviewed because you didn't ask for it.
      8               Q.        Well, Doctor --
      9               A.        I did bring lot of other
     10      things, but I didn't bring that.
     11               Q.        Dr. Egilman, in fact, in your
     12      report you say that you reviewed all of the
     13      depositions.
     14               A.        No, I don't.         I say I reviewed
     15      depositions.         I didn't say all of the
     16      depositions.
     17               Q.        Are you now agreeing to provide
     18      a list of each deposition that you reviewed
     19      with respect to each opinion?
     20               A.        No.     I'm not agreeing to
     21      anything.
     22               Q.        Okay.     And you would agree --
     23               A.        You asked a different question.
     24      You asked if there was a way you could have

    Golkow Litigation Services                                             Page 816
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further360Confidentiality
                                                           of 377. PageID #: 222532
                                                                               Review

      1      found out what depositions I reviewed before
      2      the deposition.          And there was.         You could do
      3      a notice of deposition.              You could make that
      4      request, and I would have complied with that
      5      request.
      6                         You didn't do that.
      7               Q.        You would agree with me that
      8      that is not anywhere listed in your report
      9      except for particular opinions that do -- a
     10      few particular opinions that do cite
     11      depositions; right?
     12               A.        The "no" there is depositions I
     13      reviewed?       Correct.       The question is
     14      ambiguous.        I just cleared it up in my
     15      answer.
     16               Q.        All right.        Dr. Egilman, just
     17      so we're clear, on the record, you would
     18      agree with me that there is nowhere in your
     19      report where you have listed with respect to
     20      any particular opinion that a deposition was
     21      something that you reviewed for that opinion
     22      except for the few opinions where you do cite
     23      to a deposition.           Right?
     24               A.        That's correct.

    Golkow Litigation Services                                             Page 817
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further361Confidentiality
                                                           of 377. PageID #: 222533
                                                                               Review

      1               Q.        Okay.     And you would agree with
      2      me, Dr. Egilman, that in none of your
      3      individual opinions do you provide specific
      4      information for that opinion about how you
      5      retrieved the document or documents that you
      6      list as support for that opinion; right?
      7               A.        That's correct.          I didn't give
      8      you the complete trail of iterative searches
      9      for each document.
     10               Q.        And you would agree with me,
     11      that in none of your individual opinions do
     12      you provide specific information about how
     13      you determined what constituted the best
     14      evidence for that particular opinion; right?
     15               A.        Correct.       It's the best
     16      evidence that I could find that supported the
     17      opinion.
     18               Q.        Okay.     Just so I make sure I
     19      understand what you're saying, the evidence
     20      that you provide in support of any particular
     21      opinion is your best evidence for that
     22      opinion?
     23               A.        It's the best evidence --
     24                         Well, a lot of the opinions

    Golkow Litigation Services                                             Page 818
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further362Confidentiality
                                                           of 377. PageID #: 222534
                                                                               Review

      1      relate to each other.             So the report has to
      2      be taken as a -- as a package.                 And we've
      3      gone through this over the past two days, and
      4      I --
      5               Q.        I know.
      6               A.        -- I've said this many times.
      7      So there are opinions that relate to each
      8      other that support each other.                 So for any
      9      particular opinion, there's other --
     10      generally other opinions that support that
     11      opinion.
     12               Q.        And as you and I have discussed
     13      previously, you didn't provide us any
     14      cross-referencing for those opinions that
     15      support each other; right?
     16               A.        That's correct.          You'd have to
     17      read the whole report.
     18               Q.        And figure it out for
     19      ourselves; right?
     20                         MS. CONROY:        Objection.
     21                         THE WITNESS:         Well, I think --
     22               that's correct.          You would have to
     23               read and understand the report.
     24               Q.        (BY MS. SAULINO)           Okay.     But

    Golkow Litigation Services                                             Page 819
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further363Confidentiality
                                                           of 377. PageID #: 222535
                                                                               Review

      1      you did not provide us with any documentation
      2      about which opinions you believe support one
      3      another; right?
      4                         Would you like me to add the
      5      word "specifically"?            Would that help?
      6               A.        Yeah, sure.        If you add
      7      "specific," I can give you an easier answer.
      8               Q.        Okay.
      9               A.        That's a yes.
     10               Q.        Okay.
     11               A.        Can we just take a quick break?
     12               Q.        Sure.     We only have a couple of
     13      minutes left.
     14               A.        How many have you got?
     15               Q.        Like five.
     16               A.        Go ahead.
     17               Q.        Okay.     I mean, if you need a
     18      break, Doctor.
     19               A.        I understand.         Go ahead.
     20                         It was a smaller cup of coffee.
     21               Q.        Okay.
     22               A.        If it was another tall, okay?
     23      But I can give you another five with a
     24      smaller cup.

    Golkow Litigation Services                                             Page 820
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further364Confidentiality
                                                           of 377. PageID #: 222536
                                                                               Review

      1               Q.        Okay.     So, Doctor, in -- you
      2      recall that in 2013, you presented at an FDA
      3      public hearing on chronic opioid therapy?
      4               A.        I do.
      5               Q.        And that was an opportunity to
      6      reach doctors, scientists, FDA officials and
      7      even the public?
      8               A.        Well, some of them, yes.
      9               Q.        At no point during that
     10      presentation did you sound the alarm about
     11      the role of distributors or pharmacies in the
     12      opioid epidemic, did you?
     13               A.        That's correct.
     14               Q.        You've also served as an expert
     15      in litigation involving opioids; right?
     16               A.        Correct.
     17               Q.        You've written expert reports
     18      and you've given depositions; right?
     19               A.        Correct.
     20               Q.        But until you were retained as
     21      an expert in this case, you never offered an
     22      opinion that any distributors' or pharmacies'
     23      marketing led to the abuse or misuse of any
     24      opioid medication; right?

    Golkow Litigation Services                                             Page 821
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further365Confidentiality
                                                           of 377. PageID #: 222537
                                                                               Review

      1               A.        Until I saw the documents that
      2      were produced in this litigation, correct.
      3               Q.        In 2006 you published a book
      4      chapter about anti-warnings that contained a
      5      discussion about opioids; right?
      6               A.        Correct.
      7               Q.        And you did not place any blame
      8      on any distributor or any pharmacy for what
      9      you called the opioid public health problem;
     10      right?
     11               A.        Correct.
     12                         MS. SAULINO:         So, Doctor, right
     13               now I'd like to put on the record a
     14               standing objection on behalf of all of
     15               the defendants in this litigation,
     16               that we were limited to 14 hours total
     17               of time.       And while we did allocate
     18               that time amongst ourselves, it was
     19               not sufficient time for us
     20               collectively to each sufficiently
     21               explore all of your opinions, all 490
     22               of your opinions in your report, plus
     23               the additional bases that you've
     24               provided to us over the last couple of

    Golkow Litigation Services                                             Page 822
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further366Confidentiality
                                                           of 377. PageID #: 222538
                                                                               Review

      1               days.
      2                         And so on behalf of all
      3               defendants, we object to the time
      4               that's been allotted, and we'd like to
      5               keep this deposition open in order to
      6               have sufficient time to explore your
      7               opinions so that we can understand all
      8               of the many, many bases and your
      9               criteria for your opinions that you
     10               yourself have admitted during this
     11               deposition is not specifically listed
     12               anywhere in your report.
     13                         THE WITNESS:         Is that a
     14               question?
     15                         Was that a question?
     16                         MS. SAULINO:         No.    It was not.
     17                         Further, Dr. Egilman, we will
     18               note for the record that you have
     19               26 boxes behind you filled with
     20               materials.        You came with additional
     21               bases that you evidently created the
     22               night before the deposition that are
     23               stacked in front of us and are now
     24               marked as Exhibit 28.             We were given

    Golkow Litigation Services                                             Page 823
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further367Confidentiality
                                                           of 377. PageID #: 222539
                                                                               Review

      1               no notice of the additional bases and
      2               opinions, unless and until we happened
      3               upon them when we were asking
      4               questions.
      5                         And so on behalf of all of the
      6               defendants, I will also object to that
      7               issue.
      8                         THE WITNESS:         Is that a
      9               question for me?
     10                         MS. SAULINO:         No, it is not,
     11               Dr. Egilman.
     12                         THE WITNESS:         So are we done,
     13               then?
     14                         MS. SAULINO:         If you can give
     15               me one moment, Dr. Egilman.
     16                         MS. FUMERTON:         Can we just mark
     17               those boxes?
     18                         MS. SAULINO:         The court
     19               reporter is going to kill us.
     20                         I do want to -- sorry, are we
     21               back on the record?
     22                         I do want to confirm,
     23               Dr. Egilman, that the box that we
     24               marked as Exhibit 26 is the

    Golkow Litigation Services                                             Page 824
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further368Confidentiality
                                                           of 377. PageID #: 222540
                                                                               Review

      1               entirety -- plus Exhibit 28, which is
      2               the folders in front of you -- is the
      3               entirety of things that you have
      4               written notes on in order to bring to
      5               the deposition?
      6                         MS. CONROY:        It's the opposite.
      7               28, and then 26 are the folders here.
      8                         MS. SAULINO:         I apologize.
      9               Thank you for correcting that.
     10                         But those two exhibits are all
     11               of what you wrote notes on in order to
     12               bring to this deposition?
     13                         THE WITNESS:         No.    They were
     14               all I wrote notes on.
     15                         It had nothing to do with
     16               bringing it to the deposition.                 I
     17               wrote notes on them, and I brought
     18               them to the deposition because I
     19               thought it would facilitate the
     20               deposition.
     21               Q.        (BY MS. SAULINO)           Did you bring
     22      any --
     23               A.        Make it go fast.
     24               Q.        Did you bring anything else

    Golkow Litigation Services                                             Page 825
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further369Confidentiality
                                                           of 377. PageID #: 222541
                                                                               Review

      1      that you thought would facilitate the
      2      deposition that maybe you didn't write notes
      3      on that we haven't marked as an exhibit?
      4               A.        Yeah, the only thing you didn't
      5      mark are the appendices to the Perry report.
      6                         Oh, and the J&J bad acts boxes.
      7                         And the books.          I brought
      8      books.      You didn't mark the books.
      9                         MS. SAULINO:         All right.       With
     10               all of that said, I have no more
     11               questions today.
     12                         MS. CONROY:        We do --
     13               plaintiffs' counsel, we do not agree
     14               to keep this deposition open until
     15               there is a court order that there
     16               would be any additional time with
     17               Dr. Egilman.
     18                         With respect to the boxes, that
     19               was my law firm that brought the
     20               copies of exhibits, and the documents
     21               to Dr. Egilman's report.              And as far
     22               as I could tell, counsel here for the
     23               most part did not have copies of
     24               either the report or the exhibits that

    Golkow Litigation Services                                             Page 826
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further370Confidentiality
                                                           of 377. PageID #: 222542
                                                                               Review

      1               related to them.          They're all here,
      2               and they were available for both the
      3               doctor and for counsel.
      4                         MS. SAULINO:         Okay.     Just to
      5               correct the record on that, we did
      6               mark, actually, at the very beginning
      7               of the first day, binders with all of
      8               his opinions and the support that we
      9               had been given, at least, but those
     10               were a little unwieldy.              You had your
     11               staff back there, and so we took him
     12               up on the offer to hand the exhibits
     13               to him.      But we did have them.
     14                         THE WITNESS:         Excuse me.       Just
     15               not to interrupt this, and I know I'm
     16               enjoying it, but can we go off the
     17               video record?         I think I'm done.
     18               Right?
     19                         MS. CONROY:        I'm just about
     20               done.
     21                         THE WITNESS:         The time is up.
     22                         MS. CONROY:        It did not have
     23               the full documents.            It just had
     24               the -- it did not have the full Bates

    Golkow Litigation Services                                             Page 827
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further371Confidentiality
                                                           of 377. PageID #: 222543
                                                                               Review

      1               documents printed in those notebooks.
      2                         MS. SAULINO:         And Dr. Egilman
      3               did not provide any indication in his
      4               report that those were -- those full
      5               Bates documents that were simply cited
      6               under the opinions were intended to be
      7               considered a part of his report as he
      8               defined for me later yesterday.
      9                         MS. CONROY:        I think it's quite
     10               clear that that's not true.
     11                         THE WITNESS:         Okay.     So I --
     12               we're done time-wise, right?
     13                         MS. SAULINO:         Do you have any
     14               questions, Ms. Conroy?
     15                         THE WITNESS:         We're over 14
     16               hours.
     17                         MS. SAULINO:         Ms. Conroy, do
     18               you have any questions?
     19                         MS. CONROY:        I have no
     20               questions.
     21                         MS. SAULINO:         If she has
     22               questions, then she's allowed to use
     23               more time.
     24                         THE WITNESS:         I know.      That's

    Golkow Litigation Services                                             Page 828
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further372Confidentiality
                                                           of 377. PageID #: 222544
                                                                               Review

      1               why I asked.
      2                         THE VIDEOGRAPHER:           That
      3               concludes today's deposition.                The
      4               time is 5:56 p.m.
      5                         (Proceedings recessed at
      6               5:56 p.m.)
      7                                  --o0o--
      8

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    Golkow Litigation Services                                             Page 829
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further373Confidentiality
                                                           of 377. PageID #: 222545
                                                                               Review

      1                       CERTIFICATE
      2                 I, DEBRA A. DIBBLE, Registered
             Diplomate Reporter, Certified Realtime
      3      Reporter, Certified Realtime Captioner,
             Certified Court Reporter and Notary Public,
      4      do hereby certify that prior to the
             commencement of the examination, DAVID S.
      5      EGILMAN, M.D., MPH was duly sworn by me to
             testify to the truth, the whole truth and
      6      nothing but the truth.
      7                 I DO FURTHER CERTIFY that the
             foregoing is a verbatim transcript of the
      8      testimony as taken stenographically by and
             before me at the time, place and on the date
      9      hereinbefore set forth, to the best of my
             ability.
     10
                        I DO FURTHER CERTIFY that pursuant
     11      to FRCP Rule 30, signature of the witness was
             not requested by the witness or other party
     12      before the conclusion of the deposition.
     13                 I DO FURTHER CERTIFY that I am
             neither a relative nor employee nor attorney
     14      nor counsel of any of the parties to this
             action, and that I am neither a relative nor
     15      employee of such attorney or counsel, and
             that I am not financially interested in the
     16      action.
     17
     18
     19      __________________________________
             DEBRA A. DIBBLE, RDR, CRR, CRC
     20      NCRA Registered Diplomate Reporter
             NCRA Certified Realtime Reporter
     21      Certified Court Reporter
     22
             Dated: 1 May 2019
     23
     24

    Golkow Litigation Services                                             Page 830
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further374Confidentiality
                                                           of 377. PageID #: 222546
                                                                               Review

      1                      INSTRUCTIONS TO WITNESS
      2

      3                      Please read your deposition over
      4      carefully and make any necessary corrections.
      5      You should state the reason in the
      6      appropriate space on the errata sheet for any
      7      corrections that are made.
      8                      After doing so, please sign the
      9      errata sheet and date it.
     10                      You are signing same subject to
     11      the changes you have noted on the errata
     12      sheet, which will be attached to your
     13      deposition.
     14                      It is imperative that you return
     15      the original errata sheet to the deposing
     16      attorney within thirty (30) days of receipt
     17      of the deposition transcript by you.                    If you
     18      fail to do so, the deposition transcript may
     19      be deemed to be accurate and may be used in
     20      court.
     21

     22

     23

     24

    Golkow Litigation Services                                             Page 831
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further375Confidentiality
                                                           of 377. PageID #: 222547
                                                                               Review

      1                                  ERRATA
      2      PAGE     LINE     CHANGE
      3      ____     ____     _________________________________
      4               REASON: _______________________________
      5      ____     ____     _________________________________
      6               REASON: _______________________________
      7      ____     ____     _________________________________
      8               REASON: _______________________________
      9      ____     ____     _________________________________
     10               REASON: _______________________________
     11      ____     ____     _________________________________
     12               REASON: _______________________________
     13      ____     ____     _________________________________
     14               REASON: _______________________________
     15      ____     ____     _________________________________
     16               REASON: _______________________________
     17      ____     ____     _________________________________
     18               REASON: _______________________________
     19      ____     ____     _________________________________
     20               REASON: _______________________________
     21      ____     ____     _________________________________
     22               REASON: _______________________________
     23      ____     ____     _________________________________
     24               REASON: _______________________________

    Golkow Litigation Services                                             Page 832
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further376Confidentiality
                                                           of 377. PageID #: 222548
                                                                               Review

      1                   ACKNOWLEDGMENT OF DEPONENT
      2

      3

      4                      I, DAVID S. EGILMAN, MD, MPH, do
             hereby certify that I have read the foregoing
      5      pages and that the same is a correct
             transcription of the answers given by me to
      6      the questions therein propounded, except for
             the corrections or changes in form or
      7      substance, if any, noted in the attached
             Errata Sheet.
      8

      9

     10

     11

     12      ___________________________________________
               DAVID S. EGILMAN, M.D., MPH                            DATE
     13

     14

     15      Subscribed and sworn to before me this
     16      _______ day of _______________, 20 _____.
     17      My commission expires: _______________
     18

     19      _______________________________
     20      Notary Public
     21

     22

     23

     24

    Golkow Litigation Services                                             Page 833
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-2
               Confidential           Filed:to07/24/19
                                Subject         Further377Confidentiality
                                                           of 377. PageID #: 222549
                                                                               Review

      1                            LAWYER'S NOTES
      2

      3      PAGE        LINE
      4      ____        ____        _____________________________
      5      ____        ____        _____________________________
      6      ____        ____        _____________________________
      7      ____        ____        _____________________________
      8      ____        ____        _____________________________
      9      ____        ____        _____________________________
     10      ____        ____        _____________________________
     11      ____        ____        _____________________________
     12      ____        ____        _____________________________
     13      ____        ____        _____________________________
     14      ____        ____        _____________________________
     15      ____        ____        _____________________________
     16      ____        ____        _____________________________
     17      ____        ____        _____________________________
     18      ____        ____        _____________________________
     19      ____        ____        _____________________________
     20      ____        ____        _____________________________
     21      ____        ____        _____________________________
     22      ____        ____        _____________________________
     23      ____        ____        _____________________________
     24      ____        ____        _____________________________

    Golkow Litigation Services                                             Page 834
